     Case 8:21-cv-01225 Document 1 Filed 07/16/21 Page 1 of 122 Page ID #:1




 1 Gary S. Pancer (SBN 160223)
   Daniel J. Taylor (SBN 241404)
 2
   WILSON ELSER MOSKOWITZ
 3 EDELMAN & DICKER LLP
   555 S. Flower Street, Suite 2900
 4
   Los Angeles, California 90071
 5 Tel.: (213) 443-5100
   Fax: (213) 443-5101
 6
 7 Attorneys for Defendant,
   University Health Alliance
 8
 9
10
                              UNITED STATES DISTRICT COURT
11
                             CENTRAL DISTRICT OF CALIFORNIA
12
13
   THE REGENTS OF THE                              CASE NO.: 8:21-cv-01225
14 UNIVERSITY OF CALIFORNIA, a
   public trust corporation, on behalf of          NOTICE OF REMOVAL TO
15 University of California, Irvine Medical        FEDERAL COURT BY
   Center,                                         DEFENDANT UNIVERSITY
16                                                 HEALTH ALLIANCE PURSUANT
                 Plaintiff,                        28 U.S.C. §§ 1331, 1332, 1441 AND
17                                                 1446 (Diversity and Federal
         vs.                                       Question - ERISA)
18
   UNIVERSITY HEALTH ALLIANCE,
19 a Hawaii mutual benefit society; and
   DOES 1 THROUGH 25, INCLUSIVE,
20
                 Defendants.
21
22            TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
23            PLEASE TAKE NOTICE that Defendant, University Health Alliance,
24 (“Defendant”) hereby removes to this Federal Court the State Court action described
25 below.
26            1.     On June 6, 2021, Plaintiff, The Regents of the University of California,
27 (“Plaintiff”) filed a complaint in the Superior Court of the State of California in and
28 for the County of Orange, entitled The Regents of the University of California v.

      256646925v.1
                                        NOTICE OF REMOVAL
     Case 8:21-cv-01225 Document 1 Filed 07/16/21 Page 2 of 122 Page ID #:2




 1 University Health Alliance, Case No. 30-2021-01204435. True, correct, and
 2 complete copies of all pleadings, served on Defendant are attached hereto as Exhibit
 3 A.
 4            2.     Plaintiff served Defendant with the complaint attached in Exhibit A on
 5 June 18, 2021; therefore, this notice is timely.
 6            3.     Plaintiff’s claims are removable based on diversity of citizenship
 7 between Plaintiff and Defendant pursuant to 28 U.S.C. § 1332, which confers
 8 original jurisdiction of “all civil actions where the matter in controversy exceeds the
 9 sum or value of $75,000, exclusive of interest and costs, and is between … citizens
10 of different States and in which citizens or subjects of a foreign state are additional
11 parties[.]”
12            4.     Plaintiff’s claims against Defendant seek $87,220.65 in damages.
13 (Complaint, at ¶15.) Thus, the amount-in-controversy exceeds the sum of $75,000.
14            5.     Plaintiff alleges it is a public trust corporation established and
15 recognized pursuant to the Condition of the State of California. Plaintiff’s medical
16 facility for UC Irvine Health has its principle place of operation in the City of
17 Orange, County of Orange, California. (Complaint, at ¶1.)
18            6.     Plaintiff alleges that Defendant is a mutual benefit society organized
19 and existing pursuant to the laws of the State of Hawaii with its principal place of
20 business in the city of Honolulu, Hawaii. (Complaint, at ¶2.)
21            7.     The Plaintiff and Defendant are the only parties to this litigation.
22 Because the amount in controversy exceeds $75,000 and the parties are citizens of
23 different States, this Court has original subject matter jurisdiction over the matter
24 pursuant to 28 U.S.C. § 1332 and removal is proper.
25            8.     In addition to diversity, Plaintiff’s claims against Defendant are also
26 removable to this Court because Plaintiff seeks recovery of benefits under an
27 employee welfare benefit plan and such claims for benefits are completely
28 preempted by the Employee Retirement Income Security Act of 1974, 29 U.S.C.
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      256646925v.1
                                         NOTICE OF REMOVAL
     Case 8:21-cv-01225 Document 1 Filed 07/16/21 Page 3 of 122 Page ID #:3




 1 § 1001, et seq. (“ERISA”). Any civil action brought in state court may be removed
 2 to federal court if the federal court has original jurisdiction over the action. 28
 3 U.S.C. § 1441(a). Federal courts have original jurisdiction over cases that arise
 4 under federal laws. 28 U.S.C. § 1331. When an action contains a claim arising
 5 under federal law, the entire action is removable to federal court. 28 U.S.C.
 6 § 1441(c)(1). Upon removal, this Court can sever and remand any claims over
 7 which it does not possess original or supplemental jurisdiction. 28 U.S.C.
 8 § 1441(c)(2). Thus, if any of Plaintiff’s claims arise under federal law, removal is
 9 proper.
10            9.     Plaintiff alleges that it provided services to a patient covered by an
11 employee health plan that Defendant “provided, sponsored, administered, and/or
12 paid for.” (Complaint, at ¶¶ 7–15.) A true and correct copy, with redactions for
13 protected health information, of a Renewal Contract for the plan is attached as
14 Exhibit B. A true and correct copy, with redactions for protected health
15 information, of the Medical Benefits Guide, for the plan is attached as Exhibit C.
16            10.    Defendant is the administrator of the Maui Divers of Hawaii Limited’s
17 Health Plan (“the Plan”). (Exhibit B, at p. 6, section 11; Exhibit C, pp. 69-71.) The
18 Plan is an employee welfare benefit plan governed by ERISA. (Exhibit B, at p. 6,
19 section 11; Exhibit C, pp. 69-71.)
20            11.    Plaintiff contends that it billed Defendant for hospital goods and
21 services provided to the Plan’s participant, but Defendant did not pay the full
22 amount it owed to Plaintiff. (Complaint, at ¶¶7–15.) Plaintiff admits it was paid
23 $10,785.60 by the Plan, but Plaintiff nevertheless seeks additional payment from the
24 Plan in the amount of $87,220.65. (Complaint, at ¶15.) Plaintiff alleges the
25 existence of an “Implied-In-Fact Contract” for Defendant to pay the charges billed
26 by Plaintiff. (Complaint, at ¶¶16–24.) However, only the Plan documents govern
27 the amounts that the Plan must pay to Plaintiff for hospital goods and services
28 provided to Plan participants and beneficiaries.
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      256646925v.1
                                         NOTICE OF REMOVAL
     Case 8:21-cv-01225 Document 1 Filed 07/16/21 Page 4 of 122 Page ID #:4




 1            12.    Plaintiff asserts two causes of action predicated on the Defendant’s
 2 alleged failure to pay the benefits due under the Plan documents. In Count I,
 3 Plaintiff seeks additional payment from Defendant in the amount of $87,220.65 on
 4 the theory of implied-in-fact contract. In Count II, Plaintiff seeks $87,220.65 based
 5 on the theory of quantum meruit.
 6            13.    ERISA governs employee benefit plans that are established or
 7 maintained by an employer for the purposes of providing benefits to its employees.
 8 29 U.S.C. § 1003(a)(2). An employee welfare benefit plan is “any plan, fund or
 9 program which was heretofore or is hereafter established or maintained by an
10 employer or by an employee organization, or by both, to the extent that such plan,
11 fund, or program was established or is maintained for the purpose of providing for
12 its participants or their beneficiaries, through the purchase of insurance or otherwise,
13 (A) medical, surgical, or hospital care or benefits, or benefits in the event of
14 sickness, accident, disability, death . . . .” 29 U.S.C. § 1002(1).
15            14.    Here, Plaintiff alleges that the Plan is sponsored, administered, and
16 financed by Defendant. (Complaint, at ¶ 10.) The Plan documents confirm that the
17 Plan is funded by Maui Divers of Hawaii Limited. (Exhibit B, at p. 6, section 11;
18 Exhibit C, pp. 69-71.) The Plan is clearly governed by ERISA. (Exhibit B, at p. 6,
19 section 11; Exhibit C, pp. 69-71.)
20            15.    While the well-pleaded complaint rule generally controls whether an
21 action arises under federal law, ERISA is an exception to the well-pleaded
22 complaint rule. Aetna Health Inc. v. Davila, 542 U.S. 200, 207–08 (2004). The
23 civil enforcement provisions contained in ERISA provide the exclusive vehicle for
24 actions to recover benefits under an ERISA plan. See Pilot Life Insurance Co. v.
25 Dedeaux, 481 U.S. 41 (1987); Metropolitan Life Ins. Co. v. Taylor, 481 U.S. 58
26 (1987). ERISA’s civil enforcement mechanism has “such extraordinary pre-emptive
27 power that it converts an ordinary state common law complaint into one stating a
28 federal claim for purposes of the well-pleaded complaint rule.” Davila, 542 U.S. at
                                                 4
      256646925v.1
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     Case 8:21-cv-01225 Document 1 Filed 07/16/21 Page 5 of 122 Page ID #:5




 1 209. Causes of action within the scope of 29 U.S.C. § 1132(a) are removable to
 2 federal court. Taylor, 481 U.S. at 66. “[I]f an individual brings a suit complaining
 3 of a denial of coverage for medical care, where the individual is entitled to such
 4 coverage only because of the terms of an ERISA-regulated employee benefit plan,
 5 and where no legal duty (state or federal) independent of ERISA or the plan terms is
 6 violated, then the suit falls within the scope of ERISA.” Davila, 542 U.S. at 210.
 7            16.    ERISA authorizes a civil action to recover benefits due under the terms
 8 of the plan or enforce rights under the terms of the plan. 29 U.S.C. § 1132(a)(1)(B).
 9 ERISA also permits an action to obtain other appropriate relief, including injunctive
10 relief, to redress violations of the plan or ERISA or to enforce any provision of
11 ERISA. 29 U.S.C. § 1132(a)(3). Health care providers, like Plaintiff, may bring a
12 civil action under ERISA. Spinedex Physical Therapy USA Inc. v. United
13 Healthcare of Ariz., Inc., 770 F.3d 1282, 1291 (9th Cir. 2014).
14            17.    Plaintiff’s claims against Defendant fall within the scope of ERISA and
15 are completely preempted. Plaintiff’s claims are simple, straightforward claims for
16 ERISA benefits. Plaintiff alleges that Defendant was obligated to pay Plaintiff by
17 virtue of the terms of the ERISA Plan (Complaint, at ¶¶ 7–14), and Defendant did
18 not pay the proper amount. (Complaint, at ¶¶ 13, 14, 22.) Plaintiff could have
19 brought its claims for benefits under ERISA, and these claims are not supported by
20 any legal duty arising outside of the ERISA Plan. See Davila, 542 U.S. at 210.
21 Accordingly, Plaintiff’s claims are completely preempted and this action is
22 removable to this Court.
23 / / /
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      256646925v.1
                                       NOTICE OF REMOVAL
     Case 8:21-cv-01225 Document 1 Filed 07/16/21 Page 6 of 122 Page ID #:6




 1            18.    Defendant will promptly file a copy of this Notice of Removal in the
 2 Superior Court of the State of California in and for Orange County.
 3
 4 DATED: July 16, 2021                     Wilson Elser Moskowitz Edelman & Dicker
                                            LLP
 5
 6                                          By:         /s/ Gary S. Pancer
                                                  Gary S. Pancer
 7
                                                  Daniel J. Taylor
 8                                                Attorneys for Defendant,
                                                  University Health Alliance
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      256646925v.1
                                       NOTICE OF REMOVAL
Case 8:21-cv-01225 Document 1 Filed 07/16/21 Page 7 of 122 Page ID #:7




               EXHIBIT “A”
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NOTICETO DEFENDANT: UNIVERSITY HEALTH ALLIANCE, a
(AVISO AL DEMANDADO).' Hawaii mutual- benef it society;
and DOES 1 THROUGH 25t INCLUSIVE




 YOU ARE BEING SUED BY PLAINTIFF: THE REGENTS OF THE
 GO ESTA DEMANDANDO EL DEMANDANTE): UNIVERS]TY OF
 CALIFORNIA, a public trust corporation, on behaff of
 University of California, Irvine Medica1 Center
 NOTICEI You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
 below.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the_court to hear your
 case. There m'ay be a court form that you can use for your iesponse. You can find these court forms and more information at the California Courts
 Online Self-Hel[ Center (www.courtinio.ca.gov/selfhelp), your county law library, or the courthouse nearest you. lf you cannot pay the filing fee, ask
 the court clerk ior a fee waiver form. lf you do not file youi response on time, you may lose the case by default, and your wages, money, and property
 may be taken without further warning from the court.
    There are other legal requirements. You may want to call an attorney right away. lf you do not know an,attorney, you may want to- call an attorney
 referral service. lf yoi cannbt afford an attorney, you may be eligible for free legal services from a nonprofit legal services qro.glqnl. You can locate
 these nonprofit grdups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
 (www.couirtinfo.-ca.gbv/selfhetp), or by con[acting your local court or county bar association. NOTE: The court has a statutory lier for waived fees and
 iosts on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
  iAVISOI Lo'han demandado. Si no responde dentro de 30 dlas, la cofte puede decidir en su contra sln escucharsu versi6n. Lea la informaci6n a
 continuaci6n




     name          ress       cou                                                                        CASE NUMBER:
(El nombre y direcci6n de Ia corte es):                                                                  (Nlmero det   caso):   30 _A0 Z f _0 1A 0 449 5 -CU -B C -CJ C
Orange County Superior Court
700 Civic Center Drive West                                                                                                Judge Charles lt4rrgines
Santa Ana, CA 9210I
Central Justice Center
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(EI nombre, la direcci6n y el n(tmero de tet6fono del abogado del demandante, o del demandante que no tiene abogqdo,                                  esl:      _
Sarkis S. Yeretsian, Esq. (SBN 327625)             818-559-4411 818-559-5484
Law Offices of Stephenson, Acquisto & Colman, Inc.
303 N. Gl-enoaks BIvd., Suite 700
Burbank, cA                 91502                                Jessica Duarte
                                                                         ffi'W@p-
                                                       *.n-    *,," 33*"?J,o,
(Forproof of seruiceof thissummonguseProof of Serviceof Summons (formPOS-010).)
                                                                                                                                                             '7o"jlll,o,

(Para prueba de entrega de esfa citati6n use el formulario Proof of Service of Summons , (POS-010)).
                               NOTICE TO THE PERSON SERVED: You are served
 ISEAL'                        1         as an individual defendant.
              !li.i rri.
                               2         as the person sued under the fictitious name of (specify)

                                     ^ I xx'
                                     3'                   I'     -
                                                              , .:4.\.
                                                on Denart oI' (spectry):
                                                                           UNIVERSITY HEALTH ALLIANCE'
                                         -                                 a Hawaii mutual benefit society
                                         under:    f_l    CCP 41 6.1 0 (corporation)                               CCP 416.60 (minor)
                                                          CCP 416.20 (defunct corporation)                         CCP 41 6.70 (conservatee)
                                                   lXXl   CCP 416.40 (association or partnership)                  CCP 416.90 (authorized person)
                                                          other (specify):
                                    4.                rsonal d          on                                                                                           1ol   1


Form Adopted for Mandatory Use                                        SUMMONS                                                      Code of civil Procedure   SS 412.20, 465
  Judicial council of California
 SUM-100 [Rev. July 1, 2009]                                                                                                       Exhibit A - Page 7
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                      Case 8:21-cv-01225
        30-2021 -01204435-CU-BC-CJC       - ROA # Document
                                                  3 - DAVID H .1YAMASAKI,
                                                                   Filed 07/16/21      Page
                                                                             Clerk of the    9 By
                                                                                          Court of Jessica
                                                                                                   122 Page         ID #:9
                                                                                                              Duarte,
    ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address);                                                              FOR COURT USE ONLY

-Sahkis S. Yeretsian, Esq. (SBN 3276251
 Law Offices of Stephenson, Ac qu isto e Colman, Inc.
 303 N. Glenoaks Blvd., Suite 't0 0
    Burbank, CA 91502
            TELEPHONE NO.:         818-559-44'17                       raxuo.,
    ATT.}RNFY FOR /Nrmal:        THE REGENTS OF THE T'NIVERSITY OF CALIFORNIA
    supERroR couRT oF cALrFoRNtA,                     couNw or   Orange
          STREETADDRESS'   700 Civic Center Drive West
          MAILING ADDRESS:
         crryANDztPcoDE: santa Ana    92'7 0I
              BMNCH NAME:Central .lustice     Center
    CASE     NAME: THE REGENTS OF                                THE   UN]VERSITY OF CALIFORNIA
    V. UNIVERSITY HEALTH ALLIANCE
                                                                          Complex Case Designation                         cAsE NUMBER: g0-z0z
     c IVIL CASE COVER SHEET                                                                                                                   I-0 la044g5-cu-Bc-cJc

 txl Unlimited
     (Amount                               Limited
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                                                                            Gounter          Joinder
                                                                       Filed with first appearance by defendant
           demanded         demanded is                                    (Cal. Rules of Court, rule 3.402)
                                                                                                                           'uoot' 1udg. Eharles
                                                                                                                            DEPT:
                                                                                                                                                          l*,'largines
           exceeds $25,000) $25,000 or less)
                                  Items 1-6 below must be                 see instructions on
 1. Check one box below for the case type that best describes this case
    Auto         Tort                           Contract
                                                    -l
                                                                                            Provislonally Complex Civil Litigation
         Auto (22)                              fX     Breach of contracUwarranty (06)      (Cal. Rules of Court, rules 3.400-3.403)
                 Uninsured motorist (46)                                    Rule 3.740 collections (09)                     AntitrusVTrade regulation (03)
        Other Pl/PD/WD (Personal lnjury/Property                            Other collections (09)                          Construction defect (10)
        DamageMrongful Death) Tort                                          lnsurance coverage (1 8)                        Mass tort (40)
                 Asbestos (04)                                              Other contract (37)                             Securities litigation (28)
                 Product liability (24)                                Real Property                                        Environmental/Toxic tort (30)
                 Medical malpractice (45)                                   Eminent domain/lnverse                          lnsurance coverage claims arising from the
             Other Pl/PDiWD (23)
                                                                            condemnation (14)                               above listed provisionally complex case
                                                                            Wrongful eviction (33)                          types (41)
        Non-Pl/PDM/D (Other) Tort
             Business torVunfair business practice (07)                     Other real property (26)                 Enforcement of Judgment
                 Civil rights (08)                                     Unlawful Detainer                             f_l    Enforcement of judgment (20)
                 Defamation (13)                                            Commercial (31)                          Miscetlaneous Civil Complaint
                 Fraud (16)                                                  Residential (32)                               Rrco (27)
                 lntellectual property (19)                                  Drugs (38)                                     Other complaint (not specified above) (42)
                 Professional negligence (25)                          Judiclal Review                               Miscellaneous Civil Petltion
                 Other non-Pl/PD/WD tort (35)                               Asset forfeiture (05)                           Partnership and corporate governance (21)
        Employment                                                          Petition re: arbitration award   (1 1)          Other petition (not specified above) (43)
         f__-l   Wrongful termination (36)                                  Writ of mandate (02)
                 Other em            ent    5)                              Other judicial review (39)
                                                 -l
2.      This case                  is
                                  [X is not complex under rule 3.400 of the California Rules of Court. lf the case is complex, mark the
        factors fequiring exceptional judicial management:
        a.  L     Large number of separately represented parties d         Large number of witnesses
        b.  f   l Extensive motion practice raising difficult or novel e.                  [ l
                                                                           Coordination with related actions pending in one or more courts
                  issues that will be time-consuming to resolve            in other counties, states, or countries, or in a federal court
        c.  f   l Substantial amount    of              evidence       f   Substantial  postjudgment judicial su pervision
3.      Remedies sought (check all that apply): a            monetary b.                   f l
                                                                          nonmonetary; declaratory or injunctive relief c.           punitive                      f-l
4 Number of causes of action (specify): Two
                             -l
5 This case              f ] is
                         [x is                         not
                                        a class action suit.
b lf there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
    June 7, 2021-
Date:                                                                                                            -9a.rkts -S Verexst'an
Sarkis S. Yeretsian, Esq.              (TYPE OR PRINT NAME)
                                                                 (SBN 327625\
                                                                                                                           OF PARTY OR ATTORNEY FOR PARTY)

                                                                                       NOTICE
    r
    Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
    under the Probate Code, Family Code, or Welfire and lnstitutions Code). (Cal. Rules of Court, ru\e3.220.) Failure to file may result
    in sanctions.
  r File this cover sheet in addition to any cover sheet required by local court rule.
  o lf this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
    other parties to the action or proceeding.
  o Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                                     2

                                                                                                                             Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3,740;
Form Adopted for Mandatory Use
  Judicial council of California
                                                                         CIVIL CASE COVER SHEET                                      Cal. Standards ofJudicial Administration, std. 3.10
   CM-010 [Rev. July 1,20071
                                                                                                                                                           Exhibit A - Page 8
             Case 8:21-cv-01225 Document 1 Filed 07/16/21 Page 10 of 122 Page ID #:10
                                                                                                    FOR COURT USE ONLY
SUPERIOR COURT OF CALIFORNIA, COUNTY OF QRANGE'
$TREET AdDRESS: 700 W. Civic Center DRTVE
MAILING ADDRESS: 700 W. Civic Center Drive
                                                                                                        FI    LED
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CITY AND ZIP CODE: Santa Ana 92701                                                                 COUN'ryOFORA^'68

BRANCH NAME: Central Justice Center
PLANTIFF:THE REGENTS OF THE UNIVERSITY OF CALIFORNIA
                                                                                                    Jun 8,2021
DEFENDANT: UNIVERSITY HEALTH ALLIANCE
                                                                                                         Clerk d lhe court
                                                                                                By Jessica OusrF, Deputy
ShoTt Tit|e: THE REGENTS OF THE UNIVERSITY OF CALIFORNIA VS. UNIVERSIry HEALTH
          ALLIANCE



                                                                                     CASE NUMBER:
                            NOTICE OF HEARING                                         30 -2021 -0   1   20443 5-C U- BC -C J C
                      CASE MANAGEMENT CONFERENCE



  Please take notice that a(n), Case Management Conference has been scheduled for hearing
  on 11l}gt2121at 09:00:00 AM in Department C20 of this court, located at Central Justice
  Center.

  Plaintiff(s)/Petitioner(s) to provide notice to all defendant(s)/respondent(s). Parties who file pleadings
  that add new parties to the proceeding must provide notice of the Case Management Gonference to the
  newly added parties.


    IMPORTANT: Prior to your hearing           date, please check the Court's website for the most current instructions
    regarding lror.v to appear for yoru' hearing  and access services that ate available to ansrver your questions.
    Civil Matters - https//wrwv.occourts.orglmedia-relations/{rivil.html
    ProbateAvlental Health - httpsflwrvw.occourts.orglrnedia-relations/probate-mental.health.lrtml


    IMPORTANTE: Antes          de la fecha de su audiencia, visite el sitio web de la Corte para saber cudles son las
    instrucciones miis actuales para participar en la audiencia y tener acceso a los servicios disponibles para
    responder a sus pregrntas.
    Casos Civiles - https y'/wrrrw.occourJs.oldmedia-relations/civil.html
    Casos de Probate y Salud Mental - https/iwrvw'occourts'ordmedia-relations/prcbate-mental-heahh'lrtml



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                                             Clerk of the Court, By:             fr,WP-                                        Deputy



                                                                                                                               Page:   I
                                                       NOTICE OF HEARING
                                                                                                                      Exhibit A - Page 9
             Case 8:21-cv-01225 Document 1 Filed 07/16/21 Page 11 of 122 Page ID #:11

  '   supdntoR couRT oF cALtFoRNtA, couNTY oFoRANGE
      CentralJustice Center
      700 W. Civic Center DRIVE
      Santa Ana92701

      SHORT TITLE: THE REGENTS OF THE UNIVERSITY OF CALIFORNIA VS. UNIVERSITY HEALTH
                       ALLIANCE


                                                                                              CASE NUMBER:
             CLERK'S CERTIFICATE OF SERVICE BY MAIL                                   30 -2021 -0 1 20/M35-C U -B C -CJ C


       I certify that I am not a party to this cause. I certify that a true copy of the above Notice of Hearing has been
       placed for collection and mailing so as to cause it to be mailed in a sealed envelope with postage fully prepaid
       pursuant to standard court practices and addressed as indicated below. The certification occurred at Santa Ana,
       ialifornia, on 06108t2021. Following standard court practice the mailing will occur at Sacramento, Q.alifolnjA on
       0610912021.




                                            Clerk of the Court, by:   fr'W+                                                , Deputy
       LAW OFFICES OF STEPHENSON, ACQUISTO &
       COLMAN, INC.
       3O3NGLENOAKS#7OO
       BURBANK, CA 91502




                                                                                                                                  Page:2
                                       CLERK'S CERTIFICATE OF SERVICE BY MAIL
V3 1013a (June 2004)                                                                                    Code of Civil Procedure , $ CCP1013(a)

                                                                                                           Exhibit A - Page 10
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30-2021-01   Case 8:21-cv-01225
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                                    # 2 - DAVTD H. Filed 07/16/21
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                                                                      the eourt of Jessica
                                                                                   122 Page     IDDeputy
                                                                                           Duarte, #:12 Cle



       1     LAW OFFICES OF STEPHENSON, ACQUISTO &
             COLMAN, TNC.
       2
             JOY STEPHENSON-LAWS, ESQ. (SBN 1137ss)
       J     RTCHARD A. LOVICH, ESQ.          (SBN. 113472)
             SARKIS S. YERETSIAN, ESQ. (SBN. 327625)
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       5     Burbank, CA9I502
             Telephone: (818) 559-4477
       6
             Facsimile: (818) 559-5484
       7
             Attorneys for Plaintiff,
       8
             THE REGENTS OF THE UNIVERSITY OF CALIFORNIA
       9

      10
                                          SUPERIOR COURT OF CALIFORNIA
      11
                                             FOR THE COUNTY OF ORANGE
      t2
                                                 TINLIMITED JURISDICTION
      13

      t4
             THE REGENTS OF THE UNIVERSITY case No.: 30-202 1-0 It04435-CU-EC-CJC
      15                                             *:rfgn*d fcr Ali Furpoc**
             OF CALIFORNIA, a public trust
      r6     corporation, on behalf of University of                   Judge Charles lt4rrgines
             California, Irvine Medical Center,                         FOR DAMAGES
                                                                                OMPLAINT
      T7
                                        Plaintiff,                               R:
      18
                                                                            1         BREACH OF IMPLIED.IN-
      t9               VS
                                                                                      FACT; AND
      20     UNIVERSITY HEALTH ALLIANCE,                            A

             Hawaii mutual benefit society; and                                       QUANTUM MERUIT
      2l
             DOES 1 THROUGH 25, INCLUSIVE,
      22
                                         Defendants.
      23

      24

      25

      26

      27

      28
             FC27655                                                             COMPLAINT FOR DAMAGES FOR: I. BREACH OF
                                                                        1
                                                                                 IMPLIED-IN-FACT CONTRACT ; 2, QUANTUM
                                                                                 MERUIT
                                                                                                        Exhibit A - Page 11
     Case 8:21-cv-01225 Document 1 Filed 07/16/21 Page 13 of 122 Page ID #:13



 1
                                                  PARTIES
 2

 J                   1.     Plaintiff The Regents of the University of California (the "Regents") is     a

 4   public trust corporation established and recognized pursuant to the Constitution of the State of

 5   California, Article 9, section 9, with full powers of organization and government. The Regents

 6   authorized to administer various medical facilities within the University of Califomia system,

 7   including the University of Califomia, Irvine Medical Center ("UC hvine Health") (Regents and

 8   UC Irvine Health shall be collectively referred to as "UC Irvine Health"). UC Irvine Health has

 9   its principal place of operation in the City of Orange, County of Orange, California. UC Irvine

     Health provides medical care to patients.
10

11

t2
                    2.       Defendant University Health Alliance is a mutual benefit society that is

     organizedand existing pursuant to the laws of the State of Hawaii   ("UHA"). UHA     has its
13
     principal place of business in the City of Honolulu, County of Honolulu, State of Hawaii.
T4
     Among other things, UHA sponsors and administers health plans.
15

t6
                    3.      UC Irvine Health is unaware of the true names and capacities, whether
t7
     corporate, associate, individual, partnership or otherwise of defendants Does 1 through 25,
18
     inclusive, and therefore sues such defendants by such fictitious names. UC Irvine Health       will
L9
     seek leave of the Court to amend this complaint to allege their true names and capacities when
20   ascertained.
2T

22                  4.      UHA, and Does 1 through 25, inclusive, shall be collectively referred to
23   *[JHA,

24
25                  5.      Defendants, and each of them, at all relevant times, have transacted

26   business in the State of California. The violations alleged within this complaint have been and

27   are being carried out in the State of California.

28
     FC 27655                                            -2-   COMPLAINTFORDAMAGES FOR: I. BREACH OF
                                                               IMPLIED-IN-FACT CONTRACT ; 2. QUANTUM
                                                               MERUIT
                                                                                   Exhibit A - Page 12
     Case 8:21-cv-01225 Document 1 Filed 07/16/21 Page 14 of 122 Page ID #:14



 1
                         6.     At all relevant times   each of the defendants, including the defendants
 2   named "Doe," was and is the agent, employee, employer,              joint venturer, representative, alter
 J   subsidiary, and/or partner of one or more of the other defendants, and was, in performing the

 4   complained of herein, acting within the scope of such agency, employment, joint venture, or

 5   partnership authority, and/or is in some other way responsible for the acts of one or more of the

 6   other defendants.

 7

 8                                   COMMON FACTU AL BACKGROUND

 9

10                       7.     UC Irvine Health, between the dates of May 3,2019, through May 6,

     2}Ig,provided the patient set forth in Exhibit A1 to this Complaint and incorporated herein by
11
     this reference as though set forth in fuIl, medically necessary services. At all relevant times, the
I2
     patient listed on Exhibit A ("Patient") was an enrollee of UHA's health plan.
13

T4
                         8.     UC Irvine Health made       a telephone   call to UHA. UHA stated to UC
15
     Health that Patient had medical coverage and provided UC Irvine Health with the authorization
t6
     number     7   014287 0000 1 9833.
t7
18
                         9.     Where appropriate, UC Irvine Health contacted UHA and/or its agents to
t9
     ascertain whether or not      UHA or its principal was responsible for the costs associated with the
20
     medically necessary services, supplies and/or equipment rendered to Patients. In response,
21   UHA'    agent verified to UC Irvine Health the relevant insurance verification and insurance
22   coverage       eligibility information for Patients under UHA' health plan.
23

24                       10.    UC Irvine Health are informed and believe and thereon allege that at all
25

26   I UC Irvine Health has limited the disclosure of patient identification information here pursuant to the privacy
     provisions of the federal Health Insurance Portability & Accountability Act ("HIPAA"),42 U.S.C. $$ 1320(d) et
27   seq,,andthe Califomia Constitution, art. l, $ 1

28
                                                                     COMPLAINT FOR DAMAGES FOR: I. BREACH OF
     FC 27655                                               -3   -   IMPLIED-IN-FACT CONTR ACT; 2. QUANTUM
                                                                     MERUIT
                                                                                                   Exhibit A - Page 13
     Case 8:21-cv-01225 Document 1 Filed 07/16/21 Page 15 of 122 Page ID #:15



     relevant times, UHA provided, sponsored, administered, and/or paid for the health benefits plan
 1


 2   of which the Patients were enrollees.
 J

 4                    11.   There was no contract or agreement between the parties granting UHA

 5   any discount from its publicly published charge description master ("Chargemaster"), which sets

 6   forth a "menu" of prices for each item appearing on its bills, for the services rendered. The

 7   Chargemaster is posted on the Office of Statewide Health Planning and Development

 8   ("OSHPD"), a governmental website. The charges posted on OSHPD for the services, supplies

     and,/or equipment rendered to the Patients amounted to $98,006.25.    UHA to date has paid
 9

10   $10,785.60.

11

I2
                      12.   UC Irvine Health timely and properly submitted to UHA, and/or its agent,

     at the address provided by   UHA its bill for the medically necessary services, supplies and/or
I3
     equipment rendered to the Patients, for payment by UHA.
14

15
                      13.   There was no contract or agreement between the parties granting UHA
r6
     any discount from its publicly published charge description master ("Chargemaster"), which sets
t7
     forth a "menu" of prices for each item appearing on its bills, for the services rendered. The
18
     Chargemaster is posted on the Office of Statewide Health Planning and Development
I9   ("OSHPD"), a governmental website. The charges posted on OSHPD for the services, supplies
20   and/or equipment rendered to the Patients amounted to $98,006.25. UHA to date has paid
2l   $   10,785.60.

22

23                    14.   UC Irvine Health has now exhausted all available administrative remedies
24   to appeal UHA' refusal to pay the total amount due for the medically necessary care rendered to

25   the Patients.

26

27                    15.   Despite timely demand for fuIl payment, UHA refused and continues to

28   refuse to properly pay UC kvine Health for the medically necessary services, supplies and/or

     FC27655                                         -4-     COMPLAINT FOR DAMAGES FOR: I. BREACH OF
                                                             IMPLIED-IN-FACT CONTR ACT ; 2. QUANTUM
                                                             MERUIT
                                                                                     Exhibit A - Page 14
     Case 8:21-cv-01225 Document 1 Filed 07/16/21 Page 16 of 122 Page ID #:16



 1
     equipment UC Irvine Health rendered to the Patients. As a result, UC Irvine Health suffered
 2   damages    in an amount to be established attrialbut no less than the sum of $87,220.65, exclusive
 J   of interest.
 4
 5                                       FIRST             OF'ACTION

 6                                     (Breach of Implied-In-Fact Contract)

 7                                          (Against Defendant UHA)

 8                                         (and/or Does   I through 25)

 9

10                    16.      UC Irvine Health incorporates by reference and re-alleges paragraphs     1



     through 15 here as though set forth in full.
11

T2

13
                      17   .   Prior to the treatment rendered by UC hvine Health, UC Irvine Health and

     UHA expressly agreed and understood that UC Irvine Health would render medically necessary
T4
     care to   UHA enrollees, submit bills for such care to UHA, and that UHA would pay UC Irvine
15
     Health at the provider's reasonable and customary value of its posted charges for the medically
t6
     necessary services provided to the Patients.
t7
18
                      18.      UC Irvine Health performed all conditions required on its part to be
t9
     performed in accordance with the terms and conditions of that implied-in-fact contract. UC
20
     Irvine Health reasonably relied on UHA' promises and conduct to pay for medical services and
2I   continued treating the Patients in reliance on those promises and upon such conduct.
22
23                    19.      By way of its words and/or conduct, UHA and/or its agents acknowledged
24   the need for medical care for the Patients and requested that UC Irvine Health provide medically

25   necessary services to the Patients.

26

27                    20.      Once UC Irvine Health was made aware that UHA was the proper payor,

28   it contacted UHA to notify it of the Patient's services. UHA provided the relevant insurance
     FC 27655                                          -5-     COMPLAINTFORDAMAGES FOR: 1. BREACH OF
                                                               IMPLIED-IN-FACT CONTR ACT ; 2. QUANTUM
                                                               MERUIT
                                                                                          Exhibit A - Page 15
     Case 8:21-cv-01225 Document 1 Filed 07/16/21 Page 17 of 122 Page ID #:17



 1
     verification and insurance coverage eligibility concerning the Patient. Under UHA's health
 2   plans, UHA authorized UC kvine Health to provide care to the Patient.
 a
 J

 4                  21.     UC Irvine Health's usual and customary total billed charges for rendering
 5   the medically necessary care to the Patient amounted to $98,006.25. UHA to date has paid

 6   $10,785.60, leaving a balance of $87,220.65.

 7

 8                  22.     UC Irvine Health rendered all medically necessary services to the Patient

 9   and performed all conditions, covenants, and promises required on its part to be performed in

10   accordance with the terms and conditions of the above-described implied-in-fact contract.

11

12
                    23.     UHA breached the above-described implied-in-fact contract by
     underpaying UC Irvine Health for the medically necessary services, supplies andlor equipment
13
     rendered or supplied to the Patients.
T4

15
                    24.     As   a   result of the breach of the implied-in-fact contract, UC kvine Health
16
     suffered damages in an amount to be established at trial but not less than$,87,220.65, exclusive
tl
     of interest.
18

t9
                                         SECOND CAUSE OF ACTION
20                                               (Quantum Meruit)
2l                                           ((Against defendant UHA)
22                            (and/or including Does 1 through 25, inclusive))
23

24                  25.     UC Irvine Health incorporate by reference and re-alleges paragraphs           1



25   through 24here as though set forth in fuIl.

26

27                  26.     For the period of time between May 3, 2019 through May 6,20t9,

28   inclusive, by its words and/or conduct, UHA requested that UC Irvine Health provide the
     FC27655                                           -6-     COMPLAINT FOR DAMAGES FOR: BREACH OF
                                                               IMPLIED-IN-FACT CONTRACT; 2. QUANTUM
                                                               MERUIT
                                                                                    Exhibit A - Page 16
     Case 8:21-cv-01225 Document 1 Filed 07/16/21 Page 18 of 122 Page ID #:18



 1
     Patients set forth in Exhibit   A with medically necessary, emergency services, supplies and/or
 2   equipment.
 a
 J

 4                   27   .    Based upon   UHA's and/or UHA's enrollee's express special request and
 5   insistence, UC Irvine Health rendered medical care to Patient as described herein. The usual and

 6   customary value of the medical care so rendered was $98'006.25.

 7

 8                   28.       UHA benefitted from UC Irvine Health's provision of services because

 9   UC Irvine Health's provision of services to UHA's member allowed UHA to discharge its

10   contractual obligations to its member which arise from UHA's collection of premiums from the

     patient.
11

12

13
                     29.       For rendering the medically necessary, emergency services, supplies

     and/or equipment to the Patients, UC kvine Health expected reimbursement at the reasonable
14
     and customary value of its charges.
15

I6
                     30.       As stated above, UC Irvine Health's publicly published charges on
17
     OSHPD for the medically necessary services, supplies and/or equipment it rendered to the
18
     Patients set forth in Exhibit A was $98,006.25.
T9

20
                     31.       Within the past two years, UC Irvine Health demanded UHA to pay for
2l   the medically necessary, emergency services, supplies and/or equipment it rendered to the
22   Patients but to date,    UHA has only made payments in the amount of $10,785.60.
23

24                   32.        As a result of the Defendants' misconduct, UC Irvine Health have
25   suffered damages in an amount to be proven established at trial according to proof but not less

26   than $87,220.65.
27

28
                                                                                      FOR: I.BREACHOF
     FC27655                                           -7     COMPLAINTFOR
                                                              IMPLIED-IN-FACT CONTRACT ; 2. QUANTUM
                                                              MERUIT
                                                                                    Exhibit A - Page 17
     Case 8:21-cv-01225 Document 1 Filed 07/16/21 Page 19 of 122 Page ID #:19



 I                                             PRAYER FOR RELIEF
 2
     WHEREFORE, UC Irvine Health prays for judgment                 as   follows:
 J

 4   For the First Cause of Action:

 5
                        l.       for the principal sum to be established at trial but not less than $87,220.65
 6

 7                     2.        for interest on such principal sum at the rate of l5Yo per annum, pursuant

 8   to Cal. Health & Safety Code $ l37I; or, in the alternative, for interest on such principal sum at

 9   the rate    of I\Yo per atrnum, pursuant to Cal. Civ. Code $ 3289;

10
     For the Second Cause of Action:
11

l2                     3.        for the principal sum to be established at trial but not less than $87 ,220.65;

13   For   All   Causes of   Action:
t4
                       4.        for all costs of suit incurred herein; and,
15

t6                     5.        for such other and further relief as the Court deems just and proper.

t7
     Dated: 7 J:une202l
18

t9                                                       LAW OFFICES OF STEPHENSON, ACQUISTO
                                                                    & COLMAN, TNC.
20

2l                                                                          Sarku S. Yaretsian
22                                                                SARKIS S. YERETSIAN, ESQ
                                                                       Attorneys for Plaintiff
23
                                                           THE REGENTS OF THE UNIVERSITY OF
24                                                         CALIFORNIA, a public trust corporation, on
                                                         behalf of University of California, Irvine Medical
25                                                                                  Center

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27

28
     FC27655                                              -8-     COMPLAINT FOR DAMAGES FOR: 1, BREACH OF
                                                                  IMPLIED-IN-FACT CONTR ACT ; 2. QUANTUM
                                                                  MERUIT
                                                                                    Exhibit A - Page 18
     Case 8:21-cv-01225 Document 1 Filed 07/16/21 Page 20 of 122 Page ID #:20



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                       EXHIBIT A
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     FC27655                              -9-   COMPLAINT FOR DAMAGES FOR: 1. BREACH OF
                                                IMPLIED-IN-FACT CONTRACT ; 2. QUANTUM
                                                MERUIT
                                                                    Exhibit A - Page 19
           Case 8:21-cv-01225 Document 1 Filed 07/16/21 Page 21 of 122 Page ID #:21



                                     UNIVERSITY OF CALIFORNIA, IRVINE HEALTHCARE V. UHA
                                                              Exhlblt A

FC 27655
No.        Patient    File Number     Admit Date     Discharge        Patient ID Total Charges    Total Paid         Underpaid
           Initials                                     Date
                      050005522158   sl3l20t9      \t6l)019          12304308801     $98.006.25     $10.785.6(           s87.220.65
  1         F. C.
                                                                                                       TOTAL             $87.220.65




                                                                                                                 Exhibit A - Page 20
Case 8:21-cv-01225 Document 1 Filed 07/16/21 Page 22 of 122 Page ID #:22




                 EXHIBIT “B”
   Case 8:21-cv-01225 Document 1 Filed 07/16/21 Page 23 of 122 Page ID #:23




October 31, 2018



Maui Divers Of Hawaii Limited
1520 Liona St

Honolulu, HI 96814

Re:       Congratulations on Your Anniversary!

Dear                  :

Congratulations on the renewal of your UHA health plan! We appreciate your loyalty and continued support.

Your renewal rates will be reflected on your JANUARY billing statement. If you notice any discrepancies,
please contact us immediately. Enclosed is a copy of your group’s contract effective January 1, 2019.
Please review the contract and Attachment C Underwriting Rules and retain these copies for your records.
Your group’s current contract number is EMP_CON-0123-022618.

If there have been any changes to your group’s medical plan in the middle of the calendar year, some
members may experience possible overpayments beyond their Annual Maximum Out-of-Pocket (MOOP)
during the transition. Should this occur, UHA has a process in place to ensure that adjustments are made
accordingly.

If you have any questions, please contact your dedicated Account Representative at (808) 532-4000,
extension 358 or via email at ClientServices@uhahealth.com.

Mahalo,


Sarah Hosaka
Employer Services Manager

Enclosures

EMP_CON-0158-033018




                                                                                       Exhibit B - Page 21
          Case 8:21-cv-01225 Document 1 Filed 07/16/21 Page 24 of 122 Page ID #:24
                            RENEWAL OF UHA HEALTH PLANS

  Employer Name:                     MAUI DIVERS OF HAWAII LIMITED
  Employer Number:
  Contract Period:                   January 1, 2019 through December 31, 2019
      Renewal Health Plan Benefits

                                         Medical Plan                Drug                     Vision
                                         UHA 3000                   Plan S                   Plan 100                                                                       Total
          Single
          Two Party
          Family



                                         Medical Plan                Drug                     Vision
                                          UHA 600                   Plan S                   Plan 100                                                                       Total
          Single
          Two Party
          Family


      Other Rider Options
                                        Active and Fit
          Single
          Two Party
          Family

                                         HDS Dental              HDS Dental
                                          $1,000                  $1,500
          Single
          Two Party
          Family



      EMPLOYER USE - For Plan Changes Only
           Change Medical or Add Optional Riders:
                 Medical                                                                 Drug
                 Vision                                                                  Dental
                 Active and Fit                                                          REMOVE Dental*



         Authorized Representative                               Authorized Representative Signature                                                    Date
           Name (Please Print)

                         Sign and return to: UHA   700 Bishop Street Suite 300   Honolulu, Hawaii 96813   or   Fax: 877.222.3198


  Your medical benefits program with UHA will be renewed effective January 1, 2019 through December 31, 2019 at the renewal rates shown above. The above rates are based on
  UHA being offered as the exclusive plan unless otherwise expressed by UHA. If you are planning to make any allowed benefits changes with your scheduled renewal or if you have
  any questions or concerns, please contact your assigned Account Representative prior to November 15, 2018. UHA's Agreement for Group Health Plan EMP_CON-0123-022618
  and Group Administrator's Handbook EMP_CON-0163-020918 contain the terms and conditions of membership and benefits of your Plan(s).

  Member Group agrees to promptly distribute to all its Eligible Employees and Enrollees at open enrollment, upon special enrollment, or upon request, copies of the Medical Benefits
  Guide, any applicable benefit summaries, and any riders thereto, provided to the Member Group by UHA. Any notice of modification to the benefit summary provided to Member
  Group by UHA must also be provided to employees and enrollees immediately upon request.

  If member group has fifty or fewer Full Time Equivalent employees as defined by the Affordable Care Act, benefits must include Medical, Drug, Pediatric Vision and Pediatric Dental
  to be compliant with the Patient Protection and Affordable Care Act.
  *The undersigned attests that they have greater than fifty Full Time Equivalent employees as defined by the Affordable Care Act or have purchased stand-alone pediatric dental
  coverage offered by an Exchange-certified stand-alone dental plan on or off the Exchange, and therefore are eligible to purchase a medical plan that excludes pediatric dental
  coverage. The undersigned acknowledges that the Patient Protection and Affordable Care Act requires that pediatric dental be included as an essential health benefit for customers of
  small group and individual health insurance policies.

  Rates are inclusive of all applicable taxes and fees imposed by the Affordable Care Act currently in effect. Rates do not include additional taxes or fees that may be imposed by the
  Affordable Care Act in the future.


      UHA USE                                                                                                                 10/12/2018
      Employer Services Review                                                                                    Date
             Renew current plan(s) with renewal rates (Employer did not submit Renewal Form)




                                                                                                                                                            Exhibit B - Page 22

RKM-0080-122916                                                                        uhahealth.com                                                                        8/22/2018 3:50 PM
         Case 8:21-cv-01225 Document 1 Filed 07/16/21 Page 25 of 122 Page ID #:25

                        STANDARD AGREEMENT FOR GROUP HEALTH PLAN

THIS AGREEMENT FOR GROUP HEALTH PLAN, hereinafter the “Agreement,” is between UNIVERSITY HEALTH
ALLIANCE, a Hawaii mutual benefit society, hereinafter “UHA,” and Group, hereinafter, the “Member Group,” a Hawaii
business whose name is identified in Attachment A to this Agreement. The Effective Date of this Agreement shall be as
stated on Attachment A hereto, as accepted by both UHA and Member Group (hereinafter the “Parties”).

                                                          WITNESSETH

WHEREAS, UHA is a nonprofit, mutual benefit society organized under Chapter 432, Hawaii Revised Statutes; and

WHEREAS, Member Group has undertaken to provide certain health care benefits for its employees and their dependents;
and

WHEREAS, UHA is willing to provide the health care benefits defined herein to Member Group's Eligible Employees
and their Qualified Dependents.

NOW, THEREFORE, in consideration of the promises and the mutual covenants set forth below, the Parties agree as
follows:

ARTICLE 1. THIS AGREEMENT:

1.01       This Agreement between the Parties includes:

            (a) this Standard Agreement for Group Health Plan, as may be amended from time to time;

            (b) Attachments A-D of this Standard Agreement described below, as may be amended from time to time;

                 i. Attachment A: Premium Rates and Schedule of Benefits

                 ii. Attachment B: Plan Benefits, Addendums, Endorsements and/or Riders, and Benefit Summaries

                 iii. Attachment C: Underwriting Rules

                 iv. Attachment D: Notice of Privacy Practices

            (c) the Group Administrator’s Handbook published by UHA on its website (uhahealth.com), as it may be amended
                from time to time;

            (d) all enrollment form(s) and employer application(s) submitted by the Member Group or any of Member Group’s
                Enrollees;

           (e) any Amendment made pursuant to Article 16 of this Agreement; and

           (f) any Premium Rate Adjustment issued by UHA pursuant to the terms of this Agreement.

           All of these documents are incorporated within this Agreement by reference and are fully binding upon the Parties.
           In the event of any inconsistency between these documents, the Standard Agreement for Group Health Plan and
           any Amendments and Premium Rate Adjustments shall govern over the Group Administrator’s Handbook and
           Medical Benefits Guide.

1.02       The Member Group’s Health Plan created by this Agreement is hereinafter referred to as the “Plan.”



EMP_CON-0123-022618
Agreement for Group Health Plan                                                                             Exhibit B - Page 23
Page 1 of 12
         Case 8:21-cv-01225 Document 1 Filed 07/16/21 Page 26 of 122 Page ID #:26
ARTICLE 2. PREMIUM RATES, BENEFITS AND ELIGIBILITY FOR COVERAGE:

2.01       The Premium Rates and Schedule of Benefits for this Agreement are set forth in Attachment A hereto. Group shall
           timely pre-pay to UHA the Premium Rates specified in Attachment A, for each of Member Group’s Enrollees for
           each applicable month, so that the Premium Rate payments are received in full by UHA on or before the 1st day of
           each and every month to which the payments pertain. Premium Rates are calculated by multiplying the number of
           Enrollees in each category of Premium Rates for each month (i.e., one party, two party or family party rates), by the
           amount of Premium Rates for that category. The Premium Rates include the premium for UHA’s standard group
           health benefits and any addendums, endorsements and/or riders chosen by Member Group for any supplemental
           health-related benefits (such as drug, dental, or vision), and applicable taxes, as reflected in Attachment A.
           Premium Rates shall include any Premium Rate Adjustment described in this Agreement or its Attachments. All
           Premium Rates and Premium Rate Adjustments charged by UHA are governed by Hawaii’s Rate Regulation law.

2.02       Premium Rates for this Agreement shall be adjusted by UHA on or about the Anniversary Date of this Agreement
           and every Anniversary Date thereafter, or as soon thereafter as may be allowed by any state approval process
           required for Premium Rate Adjustments or as may be provided by UHA following the Anniversary Date, pursuant to
           a notice of Premium Rate Adjustment. Prior to such Anniversary Date, UHA shall have the right to request Member
           Group and its Enrollees to submit updated information to UHA. UHA shall also provide the Member Group notice of
           any modifications of benefits or terms of the Medical Benefits Guide and any addendums, endorsements and/or
           riders (Attachment B) to be implemented at the time of the annual Premium Rate Adjustment. UHA shall notify
           Member Group in writing of the proposed annual Premium Rate Adjustment and Member Group shall have thirty
           (30) days following the date of such notice to reject the proposed Premium Rate Adjustment by written notice to
           UHA. Member Group’s timely written rejection shall thereby constitute effective notice of termination of this
           Agreement, effective thirty (30) days after UHA’s notice of Premium Rate Adjustment. If no such written notice of
           rejection is received by UHA within such thirty (30) day period, Member Group shall be deemed to have accepted
           the proposed Premium Rate Adjustment, and shall thereafter timely pay to UHA the Premium Rate as adjusted.
           Notwithstanding anything to the contrary contained in this Agreement, UHA reserves the right to adjust the Premium Rates
           (effective immediately or as of the date specified in any notice of such adjustment provided by UHA to Member Group) to the
           extent (a) the Premium Rates are not approved by the state; and/or (b) the state or federal government imposes fees, taxes
           and/or assessments related to UHA’s plan offerings that were not taken into account when calculating the Premium Rates.

2.03       Eligible Persons for coverage under this Agreement shall consist of Member Group’s Eligible Employees and their
           Qualified Dependents, as defined in UHA’s Underwriting Rules (hereinafter “Underwriting Rules”) set forth in
           Attachment C hereto. Member Group agrees to abide by those Underwriting Rules and to enroll only Eligible
           Employees of Member Group and their Qualified Dependents pursuant to those Underwriting Rules, unless
           expressly approved by UHA in a written Amendment referencing this Agreement. Eligible Persons timely enrolled
           for coverage under this Agreement shall be known as Enrollees. Prior to submitting an enrollment form for each
           Enrollee, Member Group shall confirm and certify to UHA via an enrollment form, that each proposed Enrollee
           qualifies as an Eligible Person in compliance with UHA’s Underwriting Rules. Member Group shall timely enroll in
           the Plan each Eligible Employee in the Member Group who has worked at least 20 hours a week for four
           consecutive weeks, unless the Eligible Employee has a current signed waiver form in compliance with HRS §393-
           21 (the Hawaii Prepaid Health Care Act). The Member Group shall promptly notify UHA in writing by the end of the
           month in any month in which an Enrollee ceases to meet the eligibility criteria to be an Eligible Employee or
           Qualified Dependent, and such person shall be disenrolled (terminated) from the Plan effective at the end of that
           month.

2.04       The Plan Benefits are set forth in Attachment B (the “Medical Benefits Guide”) hereto. UHA Underwriting Policies
           are set forth in Attachment C hereto. Both are incorporated herein by reference.

ARTICLE 3. ACCOUNTING, RECORDS AND AUDITS:

3.01       UHA will, in a timely manner, perform such accounting and produce such reports as UHA is required by federal or
           state law or regulation to perform and/or produce.




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3.02       Member Group shall prepare and maintain accurate and complete records demonstrating eligibility of all its
           Enrollees in accordance with UHA’s Underwriting Rules. Such records shall be retained and produced upon
           request to UHA at anytime during the term of this Agreement and for three years following termination of this
           Agreement. Such records shall include but not be limited to (a) General Excise Tax License and Department of
           Labor number for Member Group, (b) payroll records reflecting each Eligible Employee’s date of hire, pay and
           hours worked, (c) records reflecting the FICA tax deductions for each Eligible Employee, (d) records reflecting the
           health plan enrollment status of all employees of Member Group, including any signed waiver forms in compliance
           with HRS §393-21, (e) records demonstrating each Enrolled Employee’s coverage under Unemployment
           Insurance, Workers Compensation Insurance, and Temporary Disability Insurance, and (f) if any exemption from
           the above requirements is claimed by Member Group as to any Eligible Employee, then records demonstrating a
           valid legal and factual basis for statutory exemption from any of the above requirements.

3.03       UHA reserves the right to audit the Member Group at its discretion for compliance with the terms of this Agreement,
           including but not limited to membership eligibility, enrollment and group participation requirements. Member Group
           shall promptly provide to UHA within ten (10) business days, any records requested by UHA to determine
           compliance with this Agreement.

ARTICLE 4. ARBITRATION:

4.01       If any dispute arises between the parties to this Agreement, the Parties shall settle the dispute by binding
           arbitration pursuant to Hawaii Revised Statutes Chapter 658A, Hawaii Revised Statutes, under the Arbitration
           Rules of Dispute Prevention & Resolution, Inc. (“DPR”) in Honolulu, Hawaii. The Parties shall agree upon a single
           arbitrator. If they fail to so agree within thirty (30) days of the written demand, the arbitrator shall be selected
           pursuant to the Arbitration Rules of DPR. The dispute shall be promptly decided and judgment may be entered
           upon the award of the arbitrator as provided by said Chapter. The fee payable to the arbitrator shall be borne
           equally by the Parties; and all other expenses of the arbitration hearing, such as cost of any reporter and transcript,
           shall be paid in the share and manner ordered by the arbitrator, except that any attorney or witness fees of a party
           shall be borne by that party. The decision of the arbitrator shall be binding on both Parties and no action may be
           brought in any court in connection with the decision except as provided in Hawaii Revised Statutes Chapter 658A.
           There shall be no joinder or consolidation of parties in arbitration without the written consent of both Parties to this
           Agreement. Disputes between Enrollees and UHA shall be resolved in accordance with the procedures set forth in
           the Medical Benefits Guide.

ARTICLE 5. WORK RELATED INJURIES AND ILLNESS:

5.01       Medical expenses that are work related, including those related to personal injury either by accident arising out of
           and in the course of the Enrollee’s employment or by disease proximately caused by or resulting from the nature of
           the Enrollee’s employment, are excluded from coverage under the Plan (regardless of whether Member Group has
           obtained workers compensation coverage or not). Notwithstanding any other provision in the Agreement, Member
           Group agrees to obtain and maintain workers compensation insurance for all Enrollees throughout the term of this
           Agreement, or to self-insure for such expenses if such insurance is not available. Member Group agrees to
           indemnify, defend and save harmless UHA from any claims against UHA by any Enrollee for coverage of work-
           related injuries or illness.

ARTICLE 6. LATE PAYMENT FEES:

6.01       Monthly Premium Rate payments under Attachment A are due to UHA on or before the 1st day of each and every
           month. UHA may assess a late payment fee of twenty-five ($25) dollars per Employer Group for any premiums
           received after the due date. Assessment of late fees as described in this section shall not affect UHA’s right to
           terminate as set forth in Section 7.03 herein.

ARTICLE 7. TERM AND TERMINATION:

7.01       The initial term of this Agreement is for one year from the Effective Date and shall be automatically extended for
           subsequent one year terms, unless terminated or amended as set forth below

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7.02       Notice of Termination. Unless subject to the termination provisions set forth in Sections 2.02, 7.03, 7.04, 7.05 or
           the attached Underwriting Rules, either party may terminate this Agreement by giving the other party at least sixty
           (60) days advance written notice. UHA shall apply, and Member Group shall promptly pay, a fee equal to two (2)
           months Premium Rates should Member Group fail to give UHA the required sixty (60) days written notice of its
           intent to terminate this Agreement.

7.03       Termination Due to Nonpayment of Premiums. UHA may terminate this Agreement upon ten (10) days written
           notice to Member Group, if Member Group fails to make the monthly Premium Rate payments required under
           Attachment A on or before the first (1st) day of each and every month. If this Agreement is terminated due to
           Member Group’s nonpayment of Premiums, the Member Group, and not UHA or the Enrollee, shall be held liable
           for medical claims incurred during any period of nonpayment of Premiums which results in termination of this
           Agreement and after the Agreement is terminated. UHA will not be liable to pay any benefits for services
           rendered after the date of termination. Further, UHA reserves the right to recover all sums already paid by UHA
           for Covered Services provided during any period in which Member Group failed to pay its Premium(s) due.
           Member Group shall pay all attorney’s fees incurred by UHA in connection with the collection of Premiums
           outstanding and shall be held liable for interest charges on such sums. If Member Group is terminated for non-
           payment of premiums, UHA may deny Member Group any subsequent coverage.

7.04       Termination Due to Violation of Underwriting Rules. UHA may terminate this Agreement upon thirty (30) days
           written notice to Member Group, if Member Group no longer meets eligibility criteria for Member Group as set forth
           in the Underwriting Rules, or if Member Group violates any group participation rule as set forth in the Underwriting
           Rules. UHA may terminate any Enrollee who no longer meets eligibility criteria as set forth in the Underwriting
           Rules, effective at the end of the month in which the Enrollee became ineligible. UHA also reserves its right to
           rescind or terminate this Agreement or the enrollment of any Enrollee in the event of fraud, intentional
           misrepresentation or intentional omission of material fact, or Member Group’s failure to promptly notify UHA that an
           Enrollee or Member Group is no longer eligible or in compliance with the Underwriting Rules upon thirty (30) days
           written notice to the Enrollee or Member Group.

7.05       Termination Due to No Active Members. At its discretion, UHA may terminate this Agreement upon thirty (30)
           days advance written notice, should it be determined that no Enrollees are currently enrolled under Member
           Group.

7.06       Termination of Coverage of Enrollees. The Plan’s coverage for an Eligible Employee and his/her Qualified
           Dependents will end on the last day of the month in which any of the following events occur:
               (a) The Eligible Employee chooses to terminate this coverage based on a signed waiver and compliance with
                    HRS §393-21 (because employee has other coverage from a different employer, under a prepaid health
                    plan which meets the standards in HRS §393-7 of the Prepaid Health Care Act) and the Member Group or
                    Eligible Employee notifies UHA in writing before the end of the month;
               (b) The Member Group fails to make payments to UHA when due;
               (c) The Member Group or UHA terminates this Agreement;
               (d) The Eligible Employee has a disqualifying event that causes the employee to lose eligibility status as an
                    Eligible Employee, such as loss of employment, retirement or reduction of hours with Member Group.
                    Member Group and the Eligible Employee shall notify UHA in writing of such disqualifying event before the
                    end of the month in which the event occurs. If UHA does not receive written notice of such disqualifying
                    event before the end of the month, Member Group and the affected employee shall reimburse UHA for all
                    claims paid by UHA following the end of the month in which the disqualifying event occurs. UHA reserves
                    all other rights and remedies for any failure to give UHA timely written notice of such disqualifying event,
                    including rescission of the Enrollee’s coverage following the disqualifying event.
                (e) A Qualified Dependent has a disqualifying event that causes the dependent to lose eligibility status as a
                    Qualified Dependent. Member Group and the Eligible Employee shall notify UHA in writing of such
                    disqualifying event for the Qualified Dependent(s) before the end of the month in which the event occurs.
                    If UHA does not receive written notice of such disqualifying event before the end of the month, Member
                    Group and the affected employee shall reimburse UHA for all claims paid by UHA following the end of the
                    month in which the disqualifying event occurs. UHA reserves all other rights and remedies for any failure

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                     to give UHA timely written notice of such disqualifying event, including rescission of the Qualified
                     Dependent’s coverage following the disqualifying event.
                 (f) A COBRA Enrollee fails to make timely payment or has a disqualifying event or expiration of benefits
                     under COBRA, as described in Attachment B.


ARTICLE 8. COVERAGE:

8.01       Coverage for the Enrollees initially listed on the Member Group’s enrollment form(s) shall commence as of the
           Enrollee's Effective Date, if the Enrollee's initial Premium Rates have been paid in full and UHA has accepted the
           enrollment form(s) and given written notice to the Enrollee of his or her Effective Date for coverage under the Plan.
           By submitting an enrollment form, each Enrollee also accepts and agrees to be bound by the provisions of this
           Agreement as now in force and as hereafter amended. Following the Member Group’s initial enrollment of Eligible
           Employees and their Qualified Dependents, Member Group shall timely enroll in the Plan all Eligible Employees by
           submitting a new enrollment form to UHA in each month in which a new Eligible Employee or Qualified Dependent
           first becomes eligible for the Plan.

ARTICLE 9. PRIVACY OF HEALTH INFORMATION:

9.01       The Health Insurance Portability and Accountability Act and related privacy rules and laws (“HIPAA”) requires that
           UHA provide a Notice of Privacy Practices prior to an Enrollee’s enrollment (“Notice”). The Notice, set forth in
           Attachment D hereto, describes how UHA uses and discloses health information and members’ rights with respect
           to such information. Member Group agrees to provide a copy of the Notice to each Eligible Employee and
           Enrollee, prior to enrollment, and at any time thereafter upon Enrollee’s request.

9.02       Member Group shall implement administrative, physical, and technical safeguards that reasonably and
           appropriately protect the confidentiality, integrity, and availability of electronic protected health information that it
           creates, receives, maintains, or transmits on behalf of the Plan, as provided by HIPAA.

9.03       To help protect the private medical information of Member Group’s employees, Member Group’s plan documents
           must (A) describe those employees or classes of employees or other persons under the control of Member Group
           to be given access to the protected health information to be disclosed, provided that any employee or person who
           receives protected health information relating to payment under, health care operations of, or other matters
           pertaining to the Plan in the ordinary course of business must be included in such description; (B) restrict the
           access to and use by such employees and other persons described in (A) to the Plan administrative functions that
           the Member Group performs for the Plan; and (C) provide an effective mechanism for resolving any issues of
           noncompliance by persons described in (A) with the Plan document provisions required by the paragraph.

9.04       Member Group shall ensure that any agent, including a subcontractor, to whom it provides electronic protected
           health information, agrees to implement reasonable and appropriate security measures to protect the information.

9.05       Member Group shall report to UHA any security incident of which it becomes aware. A security incident means the
           attempted or successful unauthorized access, use, disclosure, modification, or destruction of information or
           interference with system operations in an information system.

ARTICLE 10. FALSE STATEMENTS:

10.01      Notwithstanding any other term in this Agreement, UHA retains the right to rescind or terminate this Agreement if
           coverage for the Member Group or any Enrollee(s) was obtained through the fraud or intentional misrepresentation
           of a material fact by the Member Group, including intentional omission of any material fact, upon thirty (30) days
           written notice to the Enrollee or Member Group. This Section applies to any fraud, intentional misrepresentation or
           intentional omission of material fact on any enrollment form, employer application, census data or other information
           provided to UHA or any of its agents, employees or brokers, regarding Member Group or any Enrollee. Payments
           for medical benefits made by UHA prior to learning of such fraud or intentional misrepresentation or intentional
           omission of a material fact, shall be re-paid to UHA by Member Group and/or Enrollee. UHA reserves the right to

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           recalculate and adjust Premium Rates for Member Group if any false statement or material misrepresentation or
           omission of material fact by any Enrollee or Member Group materially affects the risk assumed by UHA in
           extending coverage, and Member Group agrees to pay any such Premium Rate Adjustment retroactive to the date
           on which coverage for the Member Group and/or affected Enrollee(s) went into effect. Further, UHA shall retain its
           right to pursue all other legal and equitable remedies for any fraud, misrepresentation and/or omission of material
           fact by Member Group or any Enrollee.

ARTICLE 11. ERISA AND LEGAL COMPLIANCE:

11.01      The Parties hereby confirm and agree that this Agreement and related Attachments constitute an employer-
           sponsored employee welfare benefit plan (prepaid group health plan), governed by the Employee Retirement
           Income Security Act of 1974 (ERISA), unless prior to the Effective Date of this Agreement, Member Group has
           given written notice to UHA that (a) refers to this Section 11.01, (b) provides a sworn declaration by an officer or
           owner of Member Group reciting facts showing that Member Group’s Plan is not governed by ERISA, and (c)
           requests UHA to amend this Agreement to strike out Sections 11.01 and 11.02 hereof. Upon presentation of such
           a request and UHA’s verification of facts showing exemption from ERISA, the Parties may sign an Amendment
           striking Sections 11.01 and 11.02 of this Agreement, and UHA may issue a Premium Rate Adjustment for
           underwriting additional costs and/or risks for any non-ERISA plan.

11.02      Member Group hereby represents and agrees that it intends by this Agreement to establish and maintain an ERISA
           employee welfare benefit plan covering its current and future Eligible Employees who may be hired by Member
           Group during the term of this Agreement. To promote uniformity in administration and status of the Plan during the
           term of this Agreement, the Parties agree that the ERISA status of the Plan shall not change even if Member
           Group’s Eligible Enrollees at any time during this Agreement consist of only owners of the Member Group and/or
           their dependents. Member Group and its Enrollees shall not seek to disclaim ERISA governance of this Agreement
           at any time after the Effective Date of this Agreement. Member Group, on behalf of itself and its Enrollees, agrees
           that the rights and scope of remedies by Member Group and Enrollees against UHA shall be limited to the scope of
           remedies provided by ERISA for ERISA employee welfare benefit plans and hereby waives all rights and remedies
           against UHA that are outside the scope of ERISA remedies (including claims for bad faith, monetary damages, and
           punitive damages). Member Group acknowledges that UHA has relied on this provision in setting the Premium
           Rates for Member Group, and hereby agrees to indemnify, defend and save harmless UHA from any violation of
           this Section 11.02 by Member Group or any Enrollee.

11.03      Member Group shall be the plan administrator and named fiduciary for the Plan. Member Group shall remain solely
           responsible for compliance with all ERISA requirements, including but not limited to preparing and furnishing
           summary plan descriptions, notices of material modifications to the plan, and other communications and reporting
           requirements for Enrollees. Member Group shall also be solely responsible for compliance with all requirements of
           the Hawaii Prepaid Health Care Act (HRS Chapter 393), not expressly imposed by that Act solely upon the health
           plan contractor (UHA). Member Group agrees to comply with all other state and federal laws and regulations
           regarding its business, its Health Plan and this Agreement.

11.04      UHA shall be solely responsible for claims administration and payment of Covered Services pursuant to the terms
           of this Agreement. Member Group hereby authorizes UHA to (a) determine all questions of eligibility of Plan
           Enrollees; (b) determine the amount and type of benefits payable to any Enrollees in accord with the Plan; and (c)
           interpret provisions in the Agreement as is necessary to determine Plan benefits and other provisions. UHA shall
           have complete and full authority in connection with these determinations and interpretations and UHA’s decisions
           on these matters shall bind the Plan, subject only to remedies provided by ERISA.

ARTICLE 12. AFFORDABLE CARE ACT COMPLIANCE:

12.01      Member Group shall be responsible for ensuring its and the Plan’s compliance with the Affordable Care Act (“ACA”)
           applicable to Member Group and the Plan including but not limited to (a) whether Member Group is a small
           employer and in such case the Plan must include the essential health benefits package required under section
           1302(a) of ACA, and (b) satisfaction of all requirements necessary to maintain the Plan as a grandfathered health
           plan, if Member Group made such an election and desires to preserve such status. Member Group acknowledges

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           that UHA has relied on this provision including but not limited to UHA offering the Plan to Member Group. If
           Member Group fails to meet any of its obligations under this Section 12.01, Member Group shall not make any
           claims against UHA, and shall indemnify, defend and hold UHA harmless from any losses, liabilities, penalties,
           costs, fees, taxes and/or assessments incurred by UHA that result from any violation of this Section 12.01 by
           Member Group.


ARTICLE 13. MEMBER GROUP AS AGENT:

13.01      Member Group, for itself and as agent for its Enrollees who are beneficiaries of the Plan under this Agreement,
           accepts this Agreement and agrees to timely pay the Premium Rates and all other amounts specified herein, in
           consideration of UHA providing the Health Benefits pursuant to the terms of this Agreement. Member Group agrees
           to act as agent for its Enrollees in accepting notices from UHA concerning any aspect of the operation of the Plan
           or this Agreement. UHA has prepared a document describing its health care benefits, terms and conditions
           (“Medical Benefits Guide,” Attachment B hereto, including any addendums, endorsements and/or riders thereto).
           Member Group agrees to promptly distribute to all its Eligible Employees and Enrollees at open enrollment, upon
           special enrollment, or upon request, copies of the Medical Benefits Guide, any applicable benefit summaries, and
           any addendums, endorsements and/or riders thereto, provided to the Member Group by UHA. Any notice of
           modification to the benefit summary provided to Member Group by UHA must also be provided to employees and
           enrollees immediately upon receipt.

13.02      UHA will bill and collect Premiums directly from Enrollees of Member Group who are eligible for continuation
           coverage under the Consolidated Omnibus Budget Reconciliation Act of 1985 (“COBRA”), which enrollees are
           referred to herein as “COBRA Enrollees.” In the alternative, Member Group may elect to establish a self-pay
           division for its COBRA Enrollees, by informing UHA in writing that it agrees to abide by the provisions of this
           Section 13.02 of this Agreement. By establishing a self-pay division, Member Group agrees to take responsibility
           for collecting Premiums from its COBRA Enrollees and paying UHA for their continued coverage. Termination for
           non-payment of amounts due to UHA from Member Group will result in termination of coverage for COBRA
           Enrollees to the same extent as any other Enrollees of Member Group. If Member Group pays UHA before it has
           collected the required premium from a COBRA Enrollee, Member Group assumes the risk of non-payment by the
           COBRA Enrollee. UHA will not allow retroactive termination of coverage for a COBRA Enrollee based on the failure
           of the COBRA Enrollee to make payment to Member Group. Member Group shall remain solely responsible for
           meeting all COBRA requirements applicable to the Member Group, and for promptly notifying UHA of any Enrollees
           who elect to continue Plan coverage under COBRA. Member Group shall notify UHA of any existing COBRA
           participant still within an applicable COBRA continuation coverage period at the time of Member Group’s initial
           enrollment with UHA. Member Group must enroll the existing COBRA participant within the same time frame as the
           initial enrollment of the Eligible Employees. Member Group must also inform the existing COBRA participant that
           payment for COBRA continuation coverage must be received by UHA within 30 days of the due date. Failure by
           Member Group to notify, timely enroll, and secure payment for an existing COBRA participant will result in a refusal
           to enroll that participant.

ARTICLE 14. SEVERABILITY AND SURVIVAL OF TERMS:

14.01      The provisions of this Agreement are severable. Should any portion of this Agreement be held invalid or
           unenforceable, such invalidity shall not affect or impair the enforceability of all other provisions of this Agreement.

14.02      Following the termination of this Agreement, all obligations under the Agreement which accrue prior to the
           termination of the Agreement shall survive termination.

ARTICLE 15. ENTIRE AGREEMENT:

15.01      Member Group understands and agrees that this Agreement, as defined in Section 1.01, constitutes the entire
           Agreement between the parties, and that no other statements, oral or written representations, warranties or
           obligations shall bind the parties unless expressly set forth in this Agreement, incorporated within this Agreement,
           or set forth in a written amendment to this Agreement signed by the Parties. Member Group who submits an

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           enrollment form and Premium payment hereunder to UHA shall be deemed to have accepted and be bound by the
           terms of this Agreement.

ARTICLE 16. AMENDMENTS:

16.01      UHA shall have the right to amend its Group Administrator’s Handbook upon thirty (30) days notice to Member
           Group, by providing written notice to Member Group or by publishing such amendments on UHA’s website at
           uhahealth.com (under forms and documents sections), so long as any amendments to the Group Administrator’s
           Handbook are not inconsistent with other terms in this Agreement.

16.02      Except as specified in Section 2.02 (re Premium Rate Adjustments), Section 10.01 (re False Statements), Section
           16.01 (re Group Administrator’s Handbook), or Section 16.03 (re changes required by law), UHA shall provide
           Member Group with no less than sixty (60) days written notice of any proposed amendments to this Agreement,
           including any amendment to Plan benefits or terms. Notwithstanding any other provision in this Agreement, any
           amendment to this Agreement proposed by UHA will become effective upon the 60th day following notice of such
           amendment, provided that if Member Group gives written notice to UHA of rejection of the proposed amendment,
           within 30 days following the date of the notice of proposed amendment, then this Agreement shall terminate on the
           60th day following UHA’s notice of proposed amendment.

16.03      UHA shall have the right to amend this Agreement at any time without advance written notice, where such
           amendment is required by law.

16.04      The parties may enter into such other amendments of this Agreement as are mutually agreed by a writing signed
           by the parties, referencing this Agreement.

ARTICLE 17. ASSIGNMENT:

17.01      Member Group shall not assign this Plan or Agreement to any other group or entity, and any effort to make such
           assignment shall be null and void.

IN WITNESS WHEREOF, the parties have executed this Agreement as effective on the date set forth above.

UHA


Signed: ____________________________________________
          Howard Lee
          President and Chief Executive Officer




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                                     ATTACHMENT A
                                   SCHEDULE OF BENEFITS

                                  UNDER SEPARATE COVER




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                                     ATTACHMENT B
       PLAN BENEFITS, ADDENDUMS, ENDORSEMENTS AND/OR RIDERS AND BENEFIT
                                  SUMMARIES


                                  UNDER SEPARATE COVER




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                                     ATTACHMENT C
                                     Underwriting Rules

                                  UNDER SEPARATE COVER




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                                           ATTACHMENT C
                                          Underwriting Rules

A.      DEFINITIONS:
        1.      “Eligible Employee” is an individual who is an employee of the Member Group working under the
                daily supervision of Member Group as the employer, and meets the following minimum
                requirements:
                a. works at least 20 hours a week for four consecutive weeks immediately prior to enrollment and
                     is timely enrolled in accordance with the Hawaii Prepaid Healthcare Act (Hawaii Revised
                     Statutes §393) (the “Act”), but is not a person employed in Seasonal Employment (as that term
                     is defined in the Act);
                b. performs at least some of the service in Hawaii;
                c. the place from which such service is directed or controlled is in Hawaii, or if the service is not
                     directed or controlled in Hawaii, the individual’s residence is in Hawaii;
                d. is paid monthly wages in an amount of at least 86.67 times the minimum hourly wage required
                     by law; and
                e. following enrollment, continues to actively work as an employee of the Member Group an
                     average of at least 20 hours a week. (An employee disabled from working by illness or injury
                     remains an Eligible Employee for three months following the month in which the disability
                     began, provided Premium Rates are paid in full, but will lose eligibility and be terminated from
                     any coverage under this Agreement at the end of those three months unless the Member
                     Group continues to pay the employee’s Premium Rates and Regular Wages during the time of
                     disability, pursuant to Hawaii Revised Statutes §393-15.) Regular Wages shall be no less
                     than the average monthly wages the Eligible Employee was paid during the year prior to the
                     Eligible Employee becoming disabled (or if employed for less than a year before disability
                     occurred, then no less than the average monthly wages for the months the Employee was
                     employed before becoming disabled).


        2.      “Qualified Dependent” is a dependent of an Eligible Employee Enrollee, who meets the criteria set
                forth for a spouse or child of Eligible Employees in the Member Benefits Guide (attached as
                Attachment B to this Agreement) and who is timely enrolled as an Enrollee. The coverage for a
                Qualified Dependent Enrollee will end on the last day of the month in which the dependent no
                longer meets the criteria set forth for coverage of spouses and children in the Medical Benefits
                Guide (Attachment B).

        3.      “Enrollee” is an Eligible Employee enrolled by the Member Group pursuant to the terms and
                conditions of this Agreement and any Qualified Dependent of an Eligible Employee who is also
                enrolled pursuant to this Agreement.

        4.      “Member Group” means an employing unit with at least one Eligible Employee in its employment,
                who meets the Eligibility of Member Group criteria in these Underwriting Rules, and who contracts
                with UHA for Group health coverage under this Agreement.

B.      ELIGIBILITY OF MEMBER GROUPS:
        The Member Group must:
               a. engage in business in Hawaii;
               b. have a General Excise Tax License and Department of Labor number;
               c. obtain, maintain and provide to UHA upon request documentation of Unemployment, Worker’s
                   Compensation, and Temporary Disability Insurance covering each Eligible Employee enrolled
                   during the term of this Agreement, or demonstrate a proper basis for exemption from
                   coverage; and
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                  d. deduct FICA taxes from Eligible Employees.
                     Member Groups who fail to meet such eligibility criteria at any time during the term of this
                     Agreement are subject to termination by UHA.

C.       RIGHT TO AUDIT:
         UHA reserves the right to audit the Member Group at its discretion for compliance with Group and
         membership eligibility and enrollment requirements and participation rules.

D.       GROUP PARTICIPATION RULES:
         All Eligible Employees obtaining their health care coverage through Member Group must be enrolled in this
         UHA Plan. Member Group must promptly notify UHA in writing if Member Group proposes or offers any
         health care coverage to any Enrollee, other than this Plan. If any non-UHA plan is added to the Member
         Group options, UHA reserves the right to terminate this Agreement immediately, or to re-rate (via a
         Premium Rate Adjustment) and/or non-renew a Member Group which offers a non-UHA plan to any Eligible
         Employee(s). For larger groups, UHA may consent to co-exist with a non-UHA HMO plan, provided such
         consent must be obtained in advance from UHA via signed amendment to this Agreement.

E.       UNDERWRITING SPECIFICATIONS:
         The Premium Rates for this contract are based upon the Schedule of Benefits in Attachment A, the
         employer applications, enrollment card(s), census data and related information provided to UHA by the
         Member Group and its Enrollees regarding its business, employees, and their dependents, and are further
         based upon each Member Group’s and its Enrollees’ representations that they are in full compliance with
         UHA’s eligibility and enrollment requirements and participation rules. UHA reserves the right to recalculate
         the Premium Rates retroactive to the Effective Date if UHA determines there was a material
         misrepresentation or nondisclosure of material information relating to the Member Group or any Enrollee in
         the Group, which would have caused a variance in Premium Rates based upon UHA’s Underwriting
         practices, pursuant to Article 10 of the Agreement. UHA further reserves the right to rescind this Agreement
         or the coverage for any affected Enrollees retroactive to the Effective Date if UHA determines that there has
         been fraud or intentional misrepresentation or intentional omission of any material fact by the Member
         Group.

F.       RERATING OF MEMBER GROUPS:
         Upon a change in enrollment of Member Group which, in the opinion of UHA, may materially affect the risk
         being covered by UHA under this Agreement, Member Group shall submit to UHA upon request any
         information needed to assist UHA in determining any Premium Rate Adjustment, including revised census
         data and employer application, as UHA deems appropriate. UHA reserves the right to notify Member Group
         in writing of a proposed Premium Rate Adjustment based upon such change in enrollment, and Member
         Group shall have thirty (30) days following the date of such notice to reject the proposed Premium Rate
         Adjustment by written notice to UHA. Member Group’s timely written rejection shall thereby constitute
         effective notice of termination of this Agreement, effective thirty (30) days from the date of UHA’s notice of
         Premium Rate Adjustment. If no such written notice of rejection is received by UHA within such thirty (30)
         day period, Member Group shall be deemed to have accepted the proposed Premium Rate Adjustment, and
         shall thereafter timely pay to UHA the Premium Rate Adjustment. UHA reserves the right to provide a new
         rate proposal to the Member Group’s who have not had an active Group Agreement for a period of more
         than 30 days.

G.       ENROLLMENT, ELIGIBILITY AND COVERAGE RIGHTS OF ELIGIBLE PERSONS:
         Additional terms governing enrollment, eligibility and coverage of Eligible Persons are set forth in the
         Eligibility and Enrollment Section of the Medical Benefits Guide and any addendums, endorsements and/or
         riders in Attachment B.


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                                       ATTACHMENT D
                                  Notice of Privacy Practices

                                  UNDER SEPARATE COVER




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Agreement for Group Health Plan
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                       700 Bishop Street, Suite 300
                       Honolulu, HI 96813.4100
                       T 808.532.4000                                         NOTICE OF PRIVACY PRACTICES
                       F 866.572.4393
                       uhahealth.com

                                                               Effective 12/01/2017

   This Notice Describes How Medical Information About You May Be Used And Disclosed And How You Can Get Access To This Information
                                                           Please Review It Carefully
What Is This Notice?
This Notice tells you
• How UHA handles your health information;
• How UHA uses and gives out your health information;
• UHA’s responsibilities in protecting your health information; and
• Your rights concerning your health information

What Health Information Is Protected?
Protected Health Information is information that we have created or received regarding your health or payment for your health care. It includes your
medical record, health plan billing information, and personal information such as your name, address, social security number and telephone number.
Information regarding mental health, drug and alcohol treatment, HIV+/AIDS, and some communicable diseases is subject to even more stringent
privacy protections under Hawai`i law and might require your specific authorization before being released or provided to us.

What Are UHA’s Responsibilities to You With Respect to Your Protected Health Information?
Your Protected Health Information is personal and UHA protects its privacy. We protect it in all places where we use it or store it. UHA uses the least
amount of Protected Health Information necessary to do our work and we have policies about physically and electronically safeguarding your
information. These policies comply with state and federal laws. UHA is required by law to maintain the privacy of Protected Health Information,
provide you with this Notice, and abide by the terms of this Notice, as long as it is in effect. In addition, the security provisions of the Health
Insurance Portability and Accountability Act (“HIPAA”) require us to notify you in the event there is a breach of your unsecured Protected Health
Information.

HOW UHA USES YOUR HEALTH INFORMATION
UHA may disclose your Protected Health Information without your written authorization if necessary while providing you health plan benefits. We
may disclose your Protected Health Information for the following purposes:
Treatment Purposes
Treatment Facilitation
UHA uses your health information and communicates with your health care providers to decide which medical treatment(s) may be covered by your
health plan. UHA may contact you to provide information about treatment alternatives or other health-related benefits and services that may be of
interest.

Payment Purposes
Payment of Claims
Example A: The claim form your provider sends us contains health information so that we can pay for the services provided.
Example B: We send “Explanation of Benefits” statements to the health plan subscriber. These statements show the date(s) services were rendered,
provider’s name, submitted charges, eligible charges, and amounts for which the patient is responsible.
Example C: We may share information to coordinate benefits with other coverage you may have.

Health Care Operations Purposes
• Reviewing health care given or to be given to members
    Example A: Health Care Services. UHA may use your medical information to review services or approve authorizations for medical treatment.
    We may give out information to others for disease management and prevention programs.
    Example B: Quality Assurance. UHA may use and give out health information to help providers improve the care they give you. This includes
    looking at and checking the treatment and services you receive.
• Reviewing the use of benefits by members
    Example: Appeals. You or your authorized representative may appeal a UHA decision. The information the Appeals Committee, our
    consultants, lawyers, and any outside review agency use to evaluate the appeal may include your medical records.
• Risk Management Services
    Example: UHA may evaluate health information provided by you (sometimes through your employer or your employer’s insurance broker) to
    determine applicable premium rates. However, UHA is prohibited from using or disclosing genetic information for underwriting purposes.


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•   Business Operations
    Example: UHA may use and disclose your Protected Health Information to our business associates in order to administer our business
    operations. These may include providers of health care services, reinsurers, auditors, software vendors, and attorneys. For example, Protected
    Health Information may be shared with our legal counsel to enable us to receive legal advice or to represent us in legal proceedings regarding
    our health care operations. Protected Health Information may also be shared in a potential merger or acquisition involving our business, to
    allow an informed business decision about any prospective transaction. We may share information with healthcare oversight agencies that
    audit, review, or investigate our business to ensure we are complying with state and federal law. We limit the information we share to the
    minimum necessary and to make sure that these entities protect the health information that we share.

Other Uses of Protected Health Information
UHA may also disclose your Protected Health Information without your written authorization for other purposes, as permitted or required by law. This
includes:
•   Individuals Involved in Your Care or Payment for Your Care and Notification: Unless you object, we may disclose to a member of your family, a
    relative, a close friend, or any other person you identify, information that directly relates to that person’s involvement in your health care. We
    also may give information to someone who helps pay for your care.
•   Research. We may want to use and disclose Protected Health Information about you for research purposes, for example, comparing the
    effectiveness of one medication over another. If any research project uses your PHI, we will either obtain an authorization directly from you or
    ask an Institutional Review or Privacy Board to waive the authorization requirement, based on assurances that the researchers will adequately
    protect your Protected Health Information.
•   To Avert a Serious Threat to Health or Safety. We may use and disclose Protected Health Information about you when necessary to prevent a
    serious threat to your health and safety or the health and safety of the public or another person, such as if you threaten violence to a family
    member, we may report to the police to protect the family member, in accordance with law.
•   Specialized Government Functions. If you are a member of the armed forces or are separated or discharged from military services, we may
    release Protected Health Information about you as required by military command authorities or Veterans Affairs. We may release information for
    national security, intelligence activities, foreign military authority requirements, and protective services for the President and others to the extent
    authorized by law.
•   Health Oversight Activities. We may disclose Protected Health Information to a health oversight agency for activities authorized by law. These
    oversight activities include, for example, audits, investigations, inspections, and licensure. These activities are necessary for the government to
    monitor the health care system, government programs, and compliance with civil rights laws.
•   Public Health Activities. We may disclose Protected Health Information about you for public health activities. For example, these activities
    include to prevent or control disease; to report births, deaths, child or vulnerable adult abuse or neglect, domestic violence or other violent
    injuries, reactions to medications or product injuries or recalls; and for organ donation.
•   Judicial and Administrative Proceedings. If you are involved in a lawsuit or a dispute, we may disclose Protected Health Information about you
    in response to an order issued by a court or administrative tribunal; or pursuant to a legally authorized request, such as a subpoena, discovery
    request, or other lawful process, so long as the person requesting the information has complied with HIPAA requirements to notify you and
    provide you a reasonable time for objections, or made reasonable efforts to obtain an order protecting the information requested.
•   Law Enforcement Purposes. We may release Protected Health Information if asked to do so by a law enforcement official. For example, this
    may occur in response to a court order, subpoena, warrant, summons or similar process. Such releases of information will be made only after
    efforts have been made to tell you about the request and you have time to obtain an order protecting the information requested, unless
    otherwise provided by law.
•   Coroners, Health Examiners and Funeral Directors. We may release Protected Health Information to a coroner or health examiner, for
    example, if necessary to identify a deceased person or determine the cause of death, or to funeral directors as necessary to carry out their
    duties.
•   Inmates. If you are an inmate of a correctional institution or under the custody of a law enforcement official, we may release Protected Health
    Information about you to the correctional institution or law enforcement official, such as for the institution to provide you with healthcare, or
    protect your health and safety or the health and safety of others.
•   As Required By Law. We will disclose Protected Health Information about you when required to do so by federal, state, or local law, such as in
    compliance with a court order requiring us to do so.
•   Plan Sponsors. We may share summary health information and enrollment and disenrollment information with your group health plan sponsor,
    such as an employer or other entity that is providing a group health plan to you. In addition, we may share your Protected Health Information
    with the plan sponsor for plan administration purposes if the plan sponsor has agreed to certain restrictions on how it will use or disclose the
    Protected Health Information (such as agreeing not to use the Protected Health Information for employment-related actions or decisions).

Uses and Disclosures of Your Protected Health Information by UHA That Require Us to Obtain Your Authorization
Except for the purposes listed above, we will use and disclose your Protected Health Information only with your written authorization. UHA will not
sell the Protected Health Information we maintain about you without your written authorization. Most uses and disclosures of Protected Health
Information for UHA’s marketing purposes require your written authorization. You may revoke a signed authorization in writing at any time. A
revocation, however, may not affect persons who have already released information based upon your earlier authorization.

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If you have questions about this Notice or would like UHA to disclose your Protected Health Information to someone you designate, please request
an authorization form by calling UHA Customer Services at 532.4000 from Oahu or 1.800.458.4600 (toll-free) from the Neighbor Islands, or write to:

                                        UHA Privacy Officer
                                        700 Bishop Street, Suite 300
                                        Honolulu, HI 96813

Your Rights Regarding Your Protected Health Information
UHA wants you to know your rights regarding your Protected Health Information and your dependent’s Protected Health Information. You have the
right to:
• Ask that we limit the way we use or disclose your Protected Health Information for treatment, payment, or health care operations. You may also
      ask that we limit the information we give to someone who is involved in your care, such as a family member or friend. For example, if you are a
      dependent on an account and do not wish your payment information in an “Explanation of Benefits” statement to be provided to the subscriber
      of the account, you may request that such information be restricted. Such restriction requests must be made in writing. Please note that we are
      not required to agree to your request. If we do agree, we will honor your limits, unless it is an emergency situation.
• Ask that we communicate with you in a certain way if you tell us that communication in another manner may endanger you. For example, if you
      want us to communicate to you by telephone and not in writing or at a different address, we can usually accommodate that request. We may
      ask that you make your request to us in writing.
• Look at or request a copy of your Protected Health Information. We may ask you to make this request in writing and we may charge you a
      reasonable fee for the cost of producing and mailing the copies. For any electronic health records we maintain about you, you may request that
      we provide the information in paper or electronic format. We may charge a reasonable fee for the cost of providing the electronic information for
      our labor and supply costs in responding to the request. In certain situations, we may deny your request and will tell you why we are denying it.
      In some cases you may have the right to ask for a review of our denial.
• Ask UHA to amend certain Protected Health Information about you that you feel is incorrect or incomplete. Your request for amendment must
      be in writing and must provide the reason for your request. In certain cases, we may deny your request, in writing. You may respond by filing a
      written statement of disagreement with us and ask that the statement be included in your Protected Health Information.
• Seek an accounting of certain disclosures by asking UHA for a list of the times that we have disclosed your Protected Health Information. This
      list will not include disclosures you authorized or those made for treatment, payment, or health care operations. Your request must give us the
      specific information we need in order to respond to your request. You may request an accounting of disclosures made up to six years prior to
      your request. You may receive one list per year at no charge. We may charge you a reasonable fee for responding to additional requests.
• File a complaint if you think your privacy rights have been violated or if you are dissatisfied with our breach notification policies or procedures.
      You may file a written complaint to the UHA Privacy Officer at the address listed above. You may also file a complaint with the Secretary of the
      U.S. Department of Health and Human Services. UHA will not retaliate against you or your dependents if you file a complaint.

Changes To UHA’s Privacy Practices
We reserve the right to change the terms of this Notice at any time. The revised Notice would apply to all the Protected Health Information that we
maintain. If we change any of the practices described in this Notice, we will post the revised Notice on our Website. Member Groups will be provided
a current copy upon contract renewal every year. You may request a paper copy of this Notice to be faxed or mailed to you by UHA at any time.




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                                                UHA 600
                                                Preferred Provider Plan
                                                Medical Benefits Guide
                                                January 2019




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                                                                                                          General Information



SECTION 1: GENERAL INFORMATION
 About this Plan            UHA 600 represents a major advance in health care coverage in Hawaii through its focus on
                            keeping you healthy and well. Many wellness services are covered at little or no cost to you,
                            emphasizing the prevention and early detection of serious diseases such as cancer and heart
                            disease, plus identification and treatment of risk factors for life-threatening and disabling
                            diseases.

                            In addition, the plan provides you with the following tools you need to get well and stay well:
                            • Nutritional counseling programs for disease management
                            • Smoking cessation program
                            • Diabetes self-management training and education
                            • Asthma education program

                            These programs are offered to you at no cost—they’re fully covered by the Plan. At the same
                            time, you’ll enjoy the traditional benefits, which protect you against financial loss from illness or
                            injury.

                            UHA is committed to improving the quality of your life by improving your health.

 About this Booklet         This booklet provides you with all the necessary information about your UHA health benefits plan.
                            Please review it so you understand how your plan works and keep it handy for reference.

 How to Contact UHA         Should you ever have any questions about your plan, please contact us:

                            By phone: Please call Customer Services at 532-4000 from Oahu, or 1-800-458-4600 (toll-free)
                                      from the neighbor islands

                            By fax:      (866) 572-4393

                            By mail:      UHA
                                          Attn.: Customer Services
                                          700 Bishop Street, Suite 300
                                          Honolulu, HI 96813

                            On the web: uhahealth.com for access to information on benefits and frequently asked
                                        questions, to look up the names and addresses of participating providers, or to
                                        submit a question to us

 Definitions                Important terms used in this booklet will appear in bold the first time they are used. Definitions of
                            these terms are included in the glossary at the end of the booklet for easy reference.

                            We use the terms You and Your to mean you and your family Members who are eligible for
                            coverage under this Agreement. We use the terms We, Us and Our to mean UHA.

 Your PPO Medical Plan      Your UHA Plan is a Preferred Provider Organization (PPO) plan that provides flexibility in the way
                            you obtain your medical Benefits. Your opportunity to take an active role in your health care
                            decisions makes this coverage special. In general, you will experience the lowest out-of-pocket
                            costs when you obtain services from a UHA Participating Provider.


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 Categories of Providers    The payment made by this plan and the Co-payment amount that you must pay depend on the
                            category of provider from whom you receive services. A Provider may be “Participating” with
                            UHA or “Non-Participating.”

                            Participating means that a Physician, Hospital, or other licensed health care provider has
                            signed a contract with UHA to provide benefits under this plan. The contract requires that the
                            provider collect only:
                            (a) the Eligible Charge paid by UHA for the Covered Services delivered
                            (b) the applicable co-payment
                            (c) billed charges for non-covered services
                            (d) the applicable state excise tax, based on the eligible charge

                            Participating providers also agree to participate in and abide by UHA’s credentialing, quality
                            improvement and utilization management programs.

                            There are many participating providers throughout Hawaii. Please refer to the UHA Participating
                            Physicians and Health Care Provider Directory for a listing. If you did not receive a Directory at
                            the time of your enrollment, please call Customer Services and we will send one to you without
                            charge. This listing may have changed since the date of printing, therefore, it is always a good
                            idea to check with the provider to make sure he or she is still participating with this plan. A
                            Directory is also available on UHA’s website at uhahealth.com.

                            It is also important to understand that a specific physician or other provider may be a participating
                            provider at one office location, but be Non-Participating at another location. Additionally, a
                            hospital may be a participating hospital, but some of the physicians or other individual licensed
                            providers who practice at that hospital may not be participating providers with UHA. It is always a
                            good idea to verify that each provider is participating with UHA before you receive services, in
                            order to help minimize your health care costs.

 Using Non-                 A Non-Participating Provider is any health care provider who does not have a contract with us
 Participating Providers    to participate with this plan, including out-of-state providers.

                            You may visit a provider that is not participating with UHA. UHA will pay you the eligible charge
                            for covered services less your co-payment or Coinsurance, and the payment will be made
                            directly to the subscriber of the plan. You will then pay the provider the total charge (which
                            includes any difference between UHA’s payment and the total Actual Charge) plus the applicable
                            taxes for each service. UHA has no contract with non-participating providers to guarantee the
                            amount of charges you are assessed. UHA does not recognize assignment of benefits to non-
                            participating providers. At our sole discretion, however, we will make payments directly to non-
                            participating hospitals for Inpatient services.

                            Please note: Your participating provider may refer services to a non-participating provider and
                            you may incur a higher out-of-pocket expense. For example, your participating provider may
                            send you to a Non-Participating specialist for additional care. You can ask for your referral to be
                            to a participating provider to help minimize your health care costs.

 Referrals to Specialists   Remember, if you are referred to a specialist who is a UHA participating physician, your cost for
                            the office visit will be the 10% coinsurance, plus the applicable excise tax and charges for non-
                            covered services. If the physician does not participate with UHA, UHA will pay the eligible charge
                            for covered services less your applicable co-payment or coinsurance and the payment will be


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                                                                                                        General Information

                            made directly to you. You will also be responsible for any difference between the eligible charge
                            and the amount charged by the specialist, plus the applicable taxes.

 Services Outside the       The Service Area for this plan is the State of Hawaii.
 Service Area
                            UHA has an agreement with a mainland contractor to help you control your health care expenses
                            in the event of a travel Emergency. A travel emergency is a medical emergency that occurs
                            while you are traveling outside of the Service Area. For example, a member suffers a broken limb
                            while vacationing in Las Vegas. Treatment for a condition which occurred or was diagnosed
                            before your trip will be subject to the same Prior Authorization requirements as any non-
                            emergent treatment outside of the State of Hawaii.

                            UHA reserves the right to modify the agreement with the mainland contractor which may affect
                            coverage for services. Please check with UHA before you travel to determine the extent of
                            coverage through the mainland contractor in the area you are visiting. For a complete list of
                            facilities that are not contracted, please visit our website at uhahealth.com under “Search
                            Mainland Provider.” Note that the agreement between UHA and the mainland contractor does not
                            include coverage for Vision, Chiropractors, and Acupuncturists.

                            The agreement between UHA and the mainland contractor also covers medical care provided on
                            the mainland to:
                            1. your dependent children less than 26 years of age who reside on the mainland;
                            2. you and your Qualified Dependents if your employer requires that you reside on the
                                mainland; and
                            3. you and your Qualified Dependents who reside on the mainland during any period of
                                continued coverage under COBRA.

                            If you have two addresses, UHA will only recognize the Hawaii address which provides coverage
                            in the Plan’s Service Area.

                            The following require Prior Authorization (Section 7: Health Care Services Program):
                                • If you are a Hawaii resident and require medical services that are not available in Hawaii,
                                     your physician should contact us for an authorization for a referral to a mainland provider
                                • Hawaii residents seeking services or procedures on the mainland when clinically similar
                                     services are performed and available in Hawaii
                                • Mainland residents seeking elective ASC or hospital based procedures, or any advanced
                                     imaging

                            If it is reasonable for you to receive elective services in Hawaii, but you elect to have the service
                            performed on the mainland, then services obtained from providers participating with the mainland
                            contractor may be paid at the non-participating provider benefit level, and you will be responsible
                            for the provider’s charges in excess of UHA’s payment. Please refer to UHA’s “Referrals for Out-
                            of-State Services” policy on UHA’s website for more information.

                            Services received beyond the mainland, such as in a foreign country, are not covered except in
                            the event of a travel emergency.




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                                                                                                      General Information

 Important Questions To     The benefits that this plan pays when you receive medical services depend on the answers to
 Ask When You Receive       several questions. It is a good idea to keep these in mind when you seek medical care.
 Care
                            1. Is the service a Covered Service? To receive benefits, the care you receive must be a
                               covered service. Please refer to Section 5: Description of Benefits and to Section 6: Services
                               Not Covered for information on what services are covered and not covered.
                            2. Is the provider a participating provider with this plan? The amount this plan pays and the
                               amount you must pay depends on whether the provider of service is a participating provider.
                               Please refer to the headings above about Participating and non-participating providers. You
                               should always verify that the provider you see is a participating provider, in order to help
                               minimize your health care costs.
                            3. Is the care Medically Necessary, is it a Covered Service, and does it meet our Payment
                               Determination Criteria? Please refer to Section 7: Health Care Services Program for the
                               definition of medically necessary and our payment determination criteria.
                            4. Is the service subject to Prior Authorization requirements? Some services require prior
                               authorization by us and for those services you must obtain prior authorization. Please refer
                               to Section 7: Health Care Services Program for information on prior authorization
                               requirements.
                            5. Is the service subject to a Maximum Benefit Limit? Certain services may have a maximum
                               limit on the dollar amount, the number of visits, or other limitation. Information on benefit
                               maximums appears in Section 3: Payment Information and Section 5: Description of Benefits.
                            6. Is the provider of the service qualified and a recognized provider? To determine if a provider
                               is qualified and recognized, we consider some or all of the following:
                               • Is the provider appropriately licensed?
                               • If a facility, is the provider accredited by a recognized accrediting agency?
                               • Is the provider qualified under the requirements of the federal Medicare program?
                               • Is the provider certified by the appropriate government authority?
                               • Are the services rendered within the lawful scope of the provider’s licensure, certification,
                                     or accreditation?
                            7. Did a provider order the care? To be covered, all services and supplies must be ordered by
                               a recognized provider.

 Our Agreement With         The Agreement for coverage of medical services between you and us is contained in all of the
 You                        following:
                            1. this “Medical Benefits Guide” booklet
                            2. any application form or enrollment form you submitted to us
                            3. the agreement between your employer or plan sponsor and us

                            We will interpret the provisions of this Agreement and determine all questions that arise under it.
                            Our interpretations, determinations and decisions on these matters are subject to de novo review
                            by an impartial reviewer as provided in the Agreement or as allowed by law. If you disagree with
                            us, you have the right to appeal (see Section 9: If You Disagree With our Decision).

                            No oral statement of any person shall modify or otherwise affect the benefits, limitations,
                            exclusions, or other terms of this Agreement, convey or void any coverage, or increase or reduce
                            any benefits under this Agreement.

 Governing Law              To the extent not superseded by the laws of the United States, this coverage will be construed in
                            accord with and governed by the laws of the State of Hawaii. Any action brought because of a



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                                                                                                          General Information

                            claim against this coverage will be litigated in the state or federal courts located in the State of
                            Hawaii and no other.

 Payment in Error           If for any reason we made a payment under this coverage in error, we may recover the amount
                            we paid.

 Non-Assignment of          Benefits for covered services under this Agreement cannot be transferred or assigned to anyone
 Benefits                   except as required by law. Any attempt to transfer or assign this coverage or rights to payment to
                            anyone will be void.




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                                                                                         Eligibility and Enrollment Rules



SECTION 2: ELIGIBILITY AND ENROLLMENT RULES
This section contains information about your eligibility for coverage and how to enroll yourself and your Dependents.

 Eligibility for Coverage    You may apply for coverage under this plan when you first become eligible for coverage based on
                             our agreement with your employer. If you do not apply for coverage when you first become
                             eligible, or by the first day of the month immediately following the first four consecutive weeks of
                             employment, you must wait until the next open enrollment period. Open enrollment happens
                             once each year. However, if you show us to our satisfaction that there was unusual and
                             justifiable cause for submitting your application late, you may enroll sooner.

 Categories of               Depending on our Agreement with your employer, you may enroll in one of the following
 Enrollment                  categories of enrollment:
                             • single coverage, meaning that you are the only person covered
                             • two-party coverage, meaning that you and one eligible Dependent, such as your Spouse, or
                                 Civil Union partner, or dependent child, are covered
                             • family coverage, meaning that you and two or more eligible dependents described below,
                                 such as your Spouse or Civil Union partner and/or eligible dependent children, are covered

 Initial Enrollment          You apply for coverage by completing and submitting an enrollment form to your employer. The
                             enrollment form must include the names of any Dependents you wish to include in this coverage.
                             If you do not submit the names of your Dependents on the enrollment form, you must wait until
                             the next open enrollment period to enroll the Dependents.

 Enrolling a New             If you marry or enter into a Civil Union partnership during the plan year, you may enroll your
 Spouse or Civil Union       Spouse or Civil Union partner prior to the next open enrollment by notifying your employer within
 Partner                     31 days of the marriage or Civil Union partnership. Your employer, in turn, must promptly notify
                             us. If you do not enroll your Spouse or Civil Union partner within 31 days, you must wait for the
                             next open enrollment period.

 Enrolling Children          You may enroll a child if the child meets all of the following requirements:
                             • the child is your natural child, your legally adopted child, your stepchild, a child placed with
                                 you for adoption, or a child for whom you or your Spouse or Civil Union partner are the court-
                                 appointed guardian
                             • the child is under 26 years of age

 Enrolling Newborns or       You may enroll a newborn or newly adopted child by notifying your employer within 31 days of the
 Newly Adopted               birth or adoption placement. Your employer, in turn, will notify us. If you do not enroll the child
 Children                    within 31 days of birth or adoption, you must wait for the next open enrollment period.

 Children With Special       You may enroll your child who is age 26 or over if he or she is disabled by providing us with
 Needs                       written documentation acceptable to us demonstrating that:
                             • the child is incapable of self-sustaining support because of a physical or mental disability
                             • the child’s disability existed before the child turned 26 years of age
                             • the child relies primarily on parent or legal guardian, who is a UHA member, for support and
                                  maintenance as a result of his or her disability
                             • the child is enrolled with us under this coverage or another qualified health insurance
                                  coverage, and has had no break in health insurance coverage since before the child’s 26th
                                  birthday

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                            •    the child has obtained a Social Security disability certification letter or identification card from
                                 Centers of Medicare & Medicaid Services (CMS).

                            Member must provide this documentation to us within 31 days of the child’s 26th birthday and
                            subsequently at our request, but not more frequently than annually.

 Qualified Medical Child    Any claim for benefits with respect to a child covered by a Qualified Medical Child Support Order
 Support Order              (“QMCSO”) may be made by the child or by the child’s custodial parent or court-appointed
                            guardian. Any benefits otherwise payable to the member with respect to any such claim shall be
                            payable to the child’s custodial parent or court-appointed guardian.

                            If you would like more information about how UHA handles QMCSOs, you may request a copy of
                            UHA’s procedures governing QMCSO determinations. A copy will be mailed to you without
                            charge.

 Identification Card        When you enroll with UHA, you will receive UHA Identification Cards for yourself and any
                            Dependents enrolled. It is a good idea to carry your UHA Identification Card at all times to ensure
                            you have your health plan information in case of an emergency.

                            Each time you visit your doctor or other health care provider, you should present your
                            Identification Card. It includes the following information:
                            • employer group number
                            • member name
                            • member identification number
                            • codes for your plan benefits

                            The provider requires this information to submit a Claim for payment to us.

 When Your Coverage         This coverage takes effect on your Effective Date as determined by our Agreement with your
 Begins                     employer, provided that you meet eligibility criteria set forth above and all of the following are met:
                            • your initial dues were paid by your employer
                            • we accepted your application by sending you an Identification Card

                            If you are confined in a hospital or other inpatient facility at the time this coverage begins and you
                            had no other insurance or coverage immediately prior, then coverage for the hospitalization
                            begins on the Effective Date of this coverage. If you had other insurance or coverage
                            immediately prior, then coverage for the hospitalization begins either (a) on the effective date of
                            this coverage, or (b) on the day after your discharge from the hospital. We will work with your
                            prior insurer or coverage to determine which option applies to you. This limitation does not apply
                            to you if you had coverage with us prior to the effective date of this coverage.




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 When Coverage Ends         Your coverage will end on the last day of the month in which any of the following occurs:
                            • you choose to terminate this coverage; in this case you must notify your employer before the
                                end of the month
                            • your employer fails to make payments to us when due
                            • your employer decides to discontinue this coverage
                            • we terminate our Agreement with your employer by providing written notice to your employer
                                60 days prior to termination
                            • for you, the subscriber, if you retire or otherwise terminate your employment
                            • for your Spouse or Civil Union partner, if your coverage terminates or upon dissolution of the
                                marriage or Civil Union partnership
                            • for your children, if your coverage terminates, or if the child no longer meets the criteria
                                described under the heading “Enrolling Children”

                            However, coverage will not be cancelled unless the employer and Director of the Hawaii
                            Department of Labor and Industrial Relations has received notice of the intent to cancel from us
                            at least 10-days prior to the specified date of cancellation.

                            See also provisions below regarding Termination for Fraud and Eligibility and Termination Rules
                            for Member Groups.

 Notifying Us When          You must inform your employer in writing if a child no longer meets the eligibility requirements.
 Your Child’s Eligibility   This notice must be made on or before the first day of the month following the month the child no
 Ends                       longer meets the requirements. Your employer must promptly notify us.

                            If you fail to provide notice that your child is no longer eligible and we make payments for services
                            on his or her behalf, you must reimburse us for the amount we paid.

 Termination for Fraud      Your eligibility for coverage will end if you or your employer use this coverage fraudulently or
                            intentionally misrepresent or conceal material facts on your enrollment form or in any claim for
                            benefits.

                            If we determine that you or your employer has committed fraud or made an intentional
                            misrepresentation or concealment of material facts, we will provide you written notice 30 days
                            prior to prospective or retrospective termination of coverage. You have the right to appeal our
                            determination; please refer to Section 9: If you Disagree with our Decision for information about
                            the appeals process.

                            If your coverage is terminated for fraud, misrepresentation, or the concealment of material facts:
                            • we will not pay for any services or supplies provided after the date the coverage is
                                 terminated
                            • you agree to reimburse us for any payments we made under this coverage
                            • we will retain our full legal rights; this includes the right to initiate a civil action based on
                                 fraud, concealment, or misrepresentation

                            If a person not eligible for enrollment is erroneously or fraudulently enrolled for UHA coverage,
                            UHA reserves the right to cancel such enrollment and seek repayment of any medical expenses
                            paid on behalf of the ineligible person.




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                                                                                       Eligibility and Enrollment Rules

 Eligibility and            Member Groups must:
 Termination Rules for      1. engage in business in Hawaii;
 Member Groups              2. have a General Excise Tax License and Department of Labor number; and
                            3. deduct FICA taxes from enrolled employees.

                            A Member Group who fails to maintain such eligibility requirements at any time during the term of
                            this Agreement shall be deemed ineligible and terminated from enrollment in the Health Plan at
                            the end of the month in which such ineligibility occurs.




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                                                                                      Claims and Payment for Services



SECTION 3: PAYMENT INFORMATION
This section provides information about how we make payments under this plan and how your responsibility for payment is
determined.

 Annual Deductible          This plan has no annual deductible.

 Eligible Charge            We determine our payment and your co-payment based on the eligible charge for a covered
                            service. The eligible charge for some services may be a per case, per treatment, or per day (per
                            diem) fee, rather than an itemized amount (fee for service).
                            1. For participating providers, the eligible charge for covered services is a contracted rate with
                                UHA.
                            2. For non-participating providers, the eligible charge for covered services will be the lesser of
                                the following charges:
                                • UHA’s determination of an eligible charge for a covered service
                                • the actual charge to you

                            Participating providers agree to accept the eligible charge for covered services; non-participating
                            providers usually do not. Therefore, if you receive services from a non-participating provider, you
                            are responsible for the amount of your co-payment plus any difference between the eligible
                            charge and the provider’s actual charge.

                            The eligible charge does not include excise tax or any other tax. You are responsible for paying
                            all taxes associated with the medical services you receive.

                            Example: Let’s say you have a sore throat and go to a participating physician to have it checked.
                            • the physician’s submitted or actual charge = $100
                            • UHA’s eligible charge = $60
                            • your co-payment = 10% of the eligible charge or $6
                            • the difference between the submitted or actual charge and the eligible charge = $40
                            • you owe $6; Please note: If you went to a non-participating provider you would owe the co-
                               payment amount of $18 plus the $40 difference between the actual charge and the eligible
                               charge, a combined total of $58

 Co-payment                 Co-payment is the amount of the eligible charge you pay for a covered service. It can be a fixed
                            dollar amount (for example, $10 co-payment for a visit to your Participating Chiropractic
                            Physician) or a percentage of the eligible charge (for example, 10% of the eligible charge if you
                            utilize services from a Participating hospital).

                            Please remember that when you receive services from a non-participating provider, you are
                            responsible for the co-payment amount plus any difference between the eligible charge and the
                            provider’s actual charge (plus any applicable taxes).

 Maximum Benefits           Please note that certain benefits have annual maximums. For example, home health care is
                            limited to 150 visits per Calendar Year. There are no annual or lifetime maximum benefits for this
                            plan.




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                                                                                      Claims and Payment for Services

                            If you are covered under this Agreement and you were provided benefits under any other health
                            plan of UHA, those benefits shall be carried forward and applied to any maximum benefits
                            available under this Agreement.

 Annual Maximum Out-        When the total of your co-payments and coinsurance amounts reach $2,500 per person, or
 of-Pocket                  $7,500 per family, in any calendar year, this plan pays 100% of the eligible charge for covered
                            services rendered for the rest of that calendar year for medical care.

                            However, the following payments do not apply toward meeting the Annual Maximum Out-of-
                            Pocket:
                            • when you receive services from a non-participating provider, any difference you pay between
                               the eligible charge and the provider’s actual charge
                            • penalties for not obtaining prior authorization (see Section 7: Health Care Services Program
                               for services subject to prior approval)
                            • your co-payments for prescription drugs and vision benefits if your employer offers these
                               additional benefits
                            • your co-payments for Chiropractic and Acupuncture benefits
                            • if a service is subject to a maximum limitation and you have reached that maximum, any
                               amounts that you pay after meeting the maximum (benefit maximums are listed in the
                               benefits descriptions in Section 5: Description of Benefits)
                            • your payments for non-covered services

 Services Outside the       For covered services rendered outside the service area (the State of Hawaii), we will pay benefits
 Service Area               as provided in this Agreement, but in no event will the eligible charge for such covered services
                            exceed the eligible charge for similar services rendered in the State of Hawaii.

                            If you receive care on the mainland, your plan coverage may be significantly less than if you
                            receive care within Hawaii. This may result in high out-of-pocket costs to you. Please contact the
                            Health Care Services Department at 532-4006 (or 1-800-458-4600 from the Neighbor islands) for
                            questions about out-of-state care.

                            Services received beyond the mainland are not covered except in the event of a travel
                            emergency.




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                                                                        Summary of Benefits and Payment Obligations



SECTION 4: SUMMARY OF BENEFITS AND PAYMENT OBLIGATIONS
This section provides a summary of the benefits available under this Agreement and identifies your payment obligations for
the covered services depending on whether you receive them from a participating or non-participating provider. This
summary of benefits below is subject to the description of benefits and related limitations of benefits in Section 5
and the exclusions in Section 6.

Prior Authorization is required for some services. From time to time, it is necessary to change our prior authorization
requirements so that benefits remain current with the way therapies are delivered. Changes may occur any time during your
plan year. Please call UHA’s Health Care Services department at 532-4006 (or 1-800-458-4600 from the neighbor islands) to
see if a service has been added to or deleted from the list in this Guide.

Please remember that in addition to the payment amounts shown in this section, you are responsible for:
1. payment of all applicable taxes and non-covered services charged by the provider
2. if you see a non-participating provider, any difference between the eligible charge and the Actual Charge made by the
    provider, in addition to the co-payment amount listed

  A. PREVENTIVE CARE SERVICES                                         Participating Provider     Non-Participating Provider
                                                                             YOU PAY                     YOU PAY

  Well Child Care Physician Office Visits                       No Co-payment                  No Co-payment

  All ACIP (Advisory Committee on Immunization Practices)       No Co-payment                  No Co-payment
  recommended Childhood Immunizations

  Well Child Care Laboratory Tests                              No Co-payment                  No Co-payment
  (Newborn through 5 years old)

  Preventive Medicine Office Visit                              No Co-payment                  No Co-payment

  Well Woman Exam                                               No Co-payment                  No Co-payment

  Screening Laboratory Services - Outpatient                    No Co-payment                  No Co-payment

  All ACIP recommended Adult Immunizations                      No Co-payment                  No Co-payment

  Mammography for Breast Cancer Screening                       No Co-payment                  No Co-payment

  Cervical Cancer Screening (Pap Smear)                         No Co-payment                  No Co-payment

  Chlamydia Screening                                           No Co-payment                  No Co-payment

  Osteoporosis Screening (Peripheral DEXA Scan or               No Co-payment                  No Co-payment
  Ultrasound of the heel)

  Colorectal Cancer Screening                                   No Co-payment                  No Co-payment




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                                                                       Summary of Benefits and Payment Obligations

 B. DISEASE MANAGEMENT PROGRAMS                                     Participating Provider   Non-Participating Provider
                                                                           YOU PAY                   YOU PAY
 Smoking Cessation Program                                    No Co-payment                  No Co-payment

 Nutritional Counseling Programs                              No Co-payment                  No Co-payment

 Asthma Education Program                                     No Co-payment                  No Co-payment

 Diabetes Self-Management Training and Education Program      No Co-payment                  No Co-payment


 C. PHYSICIAN SERVICES                                              Participating Provider   Non-Participating Provider
                                                                           YOU PAY                   YOU PAY
 Anesthesia                                                   10% of Eligible Charge         30% of Eligible Charge

 Physician Visits:                                            10% of Eligible Charge         30% of Eligible Charge
 • Office
 • Hospital (inpatient or outpatient)

 Emergency Room Physician Visits                              10% of Eligible Charge         10% of Eligible Charge

 Second Opinions                                              No Co-payment                  No Co-payment
 Prior Authorization required for opinions rendered by
 out-of-state providers

 Consultations                                                10% of Eligible Charge         30% of Eligible Charge


 D. SURGICAL SERVICES                                               Participating Provider   Non-Participating Provider
     (Certain Surgical Services may require Prior                          YOU PAY                   YOU PAY
     Authorization)
 Assistant Surgeon                                            10% of Eligible Charge         30% of Eligible Charge

 Cutting and Non-Cutting Surgery, inpatient                   10% of Eligible Charge         30% of Eligible Charge

 Cutting and Non-Cutting Surgery, outpatient                  10% of Eligible Charge         30% of Eligible Charge

 Surgical supplies                                            10% of Eligible Charge         30% of Eligible Charge


 E. HOSPITAL SERVICES                                               Participating Provider   Non-Participating Provider
                                                                           YOU PAY                   YOU PAY
 Ambulatory Surgical Center (ASC)                             10% of Eligible Charge         30% of Eligible Charge

 Hospital Room and Board                                      10% of Eligible Charge         30% of Eligible Charge

 Special Care Units (such as coronary care, intensive care,   10% of Eligible Charge         30% of Eligible Charge
 telemetry, or isolation)




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                                                                    Summary of Benefits and Payment Obligations

 Hospital Ancillary Services                               10% of Eligible Charge         30% of Eligible Charge

 Emergency Room                                            10% of Eligible Charge         10% of Eligible Charge
 For emergencies only


 F. SKILLED NURSING FACILITY SERVICES                            Participating Provider    Non-Participating Provider
                                                                        YOU PAY                    YOU PAY
 Room and Board (up to 120 days per calendar year)         10% of Eligible Charge         30% of Eligible Charge

 Ancillary Services                                        10% of Eligible Charge         30% of Eligible Charge


 G. HOME HEALTH CARE AND HOSPICE SERVICES                        Participating Provider    Non-Participating Provider
                                                                        YOU PAY                    YOU PAY
 Home Health Care (up to 150 visits per calendar year)     No Co-payment                  30% of Eligible Charge
 Prior Authorization required after first 12 visits

 Hospice Services                                          No Co-payment                  No Co-payment


 H. DIAGNOSTIC TESTING, LABORATORY AND                           Participating Provider    Non-Participating Provider
    RADIOLOGY SERVICES                                                  YOU PAY                    YOU PAY

 Allergy testing                                           20% of Eligible Charge         30% of Eligible Charge

 Diagnostic Mammography                                    No Co-payment                  30% of Eligible Charge

 Diagnostic Testing – inpatient                            10% of Eligible Charge         30% of Eligible Charge

 Diagnostic Testing – outpatient                           20% of Eligible Charge         30% of Eligible Charge

 Genetic Testing and Counseling                            20% of Eligible Charge         30% of Eligible Charge
 Prior Authorization required for testing

 Genetic Testing and Counseling Related to Breast Cancer   No Co-payment                  No Co-payment
 (BRCA) Screening
 Prior Authorization required

 Laboratory and Pathology – inpatient                      10% of Eligible Charge         30% of Eligible Charge

 Laboratory and Pathology – outpatient                     20% of Eligible Charge         30% of Eligible Charge

 Radiology – inpatient                                     10% of Eligible Charge         30% of Eligible Charge

 Radiology – outpatient                                    20% of Eligible Charge         30% of Eligible Charge
 Prior Authorization required for PET Scans and CTCA

 Tuberculin Test                                           No Co-payment                  No Co-payment



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                                                                    Summary of Benefits and Payment Obligations



 I. CHEMOTHERAPY AND RADIATION THERAPY                           Participating Provider    Non-Participating Provider
     SERVICES                                                           YOU PAY                    YOU PAY
 Chemotherapy                                              20% of Eligible Charge         30% of Eligible Charge
 Prior Authorization required for certain treatments

 Oral Chemotherapy                                         No Co-payment                  Not covered
 Prior Authorization required for certain drugs

 Benefits are available for these drugs under this Plan
 only if you do not have a drug plan which provides
 coverage for oral chemotherapy

 Oral Chemotherapy by Mail Order                           No Co-payment                  Not covered
 (limited to a 30-day supply)
 Prior Authorization required for certain drugs

 Benefits are available for these drugs under this Plan
 only if you do not have a drug plan which provides
 coverage for oral chemotherapy

 Radiation therapy – inpatient                             10% of Eligible Charge         30% of Eligible Charge

 Radiation therapy – outpatient                            20% of Eligible Charge         30% of Eligible Charge
 Prior Authorization required for certain treatments


 J.   ORGAN TRANSPLANT SERVICES                                  Participating Provider    Non-Participating Provider
                                                                        YOU PAY                    YOU PAY
 Transplant Evaluation                                     No Co-payment                  Not Covered
 Prior Authorization required

 Corneal transplants                                       10% of Eligible Charge         30% of Eligible Charge

 All other organ transplants                               No Co-payment                  Not Covered
 Prior Authorization required

 Organ donor services                                      20% of Eligible Charge         30% of Eligible Charge
 Prior Authorization required


 K. MENTAL HEALTH AND SUBSTANCE ABUSE                            Participating Provider    Non-Participating Provider
    SERVICES                                                            YOU PAY                    YOU PAY
 Mental Health and Substance Abuse facility services       10% of Eligible Charge         30% of Eligible Charge

 Mental Health and Substance Abuse Professional Services   10% of Eligible Charge         30% of Eligible Charge
 – inpatient




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                                                                       Summary of Benefits and Payment Obligations

 Mental Health and Substance Abuse Professional Services   10% of Eligible Charge            30% of Eligible Charge
 – outpatient

 Psychological Testing – inpatient                         10% of Eligible Charge            30% of Eligible Charge

 Psychological Testing – outpatient                        20% of Eligible Charge            30% of Eligible Charge
 Prior Authorization required


 L. SPECIFIC BENEFITS FOR CHILDREN                                  Participating Provider       Non-Participating Provider
                                                                           YOU PAY                       YOU PAY
 Newborn Circumcision                                      10% of Eligible Charge            30% of Eligible Charge

 Newborn Nursery Care                                      10% of Eligible Charge            30% of Eligible Charge

 Well Child Care Physician Office Visits                   No Co-payment                     No Co-payment


 M. SPECIFIC BENEFITS FOR WOMEN                                     Participating Provider       Non-Participating Provider
                                                                           YOU PAY                       YOU PAY
 Birthing Room                                             No Co-payment                     20% of Eligible Charge

 Cervical Cancer Screening (Pap Smear)                     No Co-payment                     No Co-payment

 Family Planning                                           10% of Eligible Charge            30% of Eligible Charge

 Mammography for Breast Cancer Screening                   No Co-payment                     No Co-payment

 Maternity Care                                            10% of Eligible Charge            30% of Eligible Charge

 Tubal Ligation                                            10% of Eligible Charge            30% of Eligible Charge

 Termination of Pregnancy                                  10% of Eligible Charge            30% of Eligible Charge

 Well Woman Exam                                           No Co-payment                     No Co-payment

 Oral Contraceptives from pharmacy                         •        No Co-payment for        •      No Co-payment for
 (30-day supply)                                                    Generic                         Generic
 Benefits are available for these Contraceptives under     •        No Co-payment for        •      No Co-payment for
 this Plan only if you do not have a drug plan which                Preferred Brand                 Preferred Brand
 provides coverage for contraceptives                      •        No Co-payment for        •      No Co-payment for
                                                                    Non-Preferred Brand             Non-Preferred Brand

 Oral Contraceptives by Mail Order & Maintenance Retail    •        No Co-payment for        Not covered
 (60-day supply for Brand and 90-day supply for Generic)            Generic
 Benefits are available for these Contraceptives under     •        No Co-payment for
 this Plan only if you do not have a drug plan which                Preferred Brand
 provides coverage for contraceptives                      •        No Co-payment for
                                                                    Non-Preferred Brand



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                                                                          Summary of Benefits and Payment Obligations

 Over-the-counter (OTC) Contraceptives from pharmacy          •        No Co-payment for        •      No Co-payment for
 Benefits are available for these Contraceptives under                 Generic                         Generic
 this Plan only if you do not have a drug plan which          •        No Co-payment for        •      No Co-payment for
 provides coverage for contraceptives                                  Preferred Brand                 Preferred Brand
                                                              •        No Co-payment for        •      No Co-payment for
                                                                       Non-Preferred Brand             Non-Preferred Brand

 Contraceptive Cervical Caps/ Diaphragms                      No Co-payment                     No Co-payment

 Contraceptive Implants, Injections, IUDs                     No Co-payment                     No Co-payment


 N. SPECIFIC BENEFITS FOR MEN                                          Participating Provider       Non-Participating Provider
                                                                              YOU PAY                       YOU PAY
 Prostate Specific Antigen (PSA) Test                         20% of Eligible Charge            30% of Eligible Charge

 Vasectomy                                                    No Co-payment                     No Co-payment

 Erectile Dysfunction                                         10% of Eligible Charge            30% of Eligible Charge


 O. SPECIFIC BENEFITS FOR MEMBER AND                                   Participating Provider       Non-Participating Provider
      COVERED SPOUSE                                                          YOU PAY                       YOU PAY
 In Vitro Fertilization                                       10% of Eligible Charge            30% of Eligible Charge
 Prior Authorization required


 P. SPECIFIC BENEFITS FOR DIABETES                                     Participating Provider       Non-Participating Provider
                                                                              YOU PAY                       YOU PAY
 Diabetes drugs from pharmacy                                 •        No Co-payment for        •      No Co-payment for
 (limited to 30-day supply)                                            Generic                         Generic
 Benefits are available for these drugs under this Plan       •        No Co-payment for        •      No Co-payment for
 only if you do not have a drug plan which provides                    Preferred Brand                 Preferred Brand
 coverage for diabetes drugs                                  •        No Co-payment for        •      No Co-payment for
                                                                       Non-Preferred Brand             Non-Preferred Brand

 Diabetes drugs by Mail Order & Maintenance Retail            •        No Co-payment for        Not covered
 (90-day supply)                                                       Generic
 Benefits are available for these drugs under this Plan       •        No Co-payment for
 only if you do not have a drug plan which provides                    Preferred Brand
 coverage for diabetes drugs                                  •        No Co-payment for
                                                                       Non-Preferred Brand

 Insulin from pharmacy                                        •        No Co-payment for        •      No Co-payment for
 (limited to 30-day supply)                                            Preferred Brand                 Preferred Brand
 Benefits are available for insulin under this Plan only if   •        No Co-payment for        •      No Co-payment for
 you do not have a drug plan which provides coverage                   Non-Preferred Brand             Non-Preferred Brand
 for insulin



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                                                                          Summary of Benefits and Payment Obligations

 Insulin by Mail Order & Maintenance Retail                   •        No Co-payment for        Not covered
 (90-day supply)                                                       Preferred Brand
 Benefits are available for insulin under this Plan only if   •        No Co-payment for
 you do not have a drug plan which provides coverage                   Non-Preferred Brand
 for insulin

 Diabetes supplies from pharmacy                              •        No Co-payment for        •      No Co-payment for
 (limited to 30-day supply)                                            Preferred Brand                 Preferred Brand
 Benefits are available for these supplies under this Plan    •        No Co-payment for        •      No Co-payment for
 only if you do not have a drug plan which provides                    Non-Preferred Brand             Non-Preferred Brand
 coverage for supplies

 Diabetes supplies by Mail Order & Maintenance Retail         •        No Co-payment for        Not covered
 (90-day supply)                                                       Preferred Brand
 Benefits are available for these supplies under this Plan    •        No Co-payment for
 only if you do not have a drug plan which provides                    Non-Preferred Brand
 coverage for supplies

 Diabetes Self-Management Training and Education              No Co-payment                     No Co-payment
 Program


 Q. COMPLEMENTARY ALTERNATIVE MEDICINE                                 Participating Provider       Non-Participating Provider
      (Services provided by a Chiropractor or Acupuncturist                   YOU PAY                       YOU PAY
      for conditions limited to the neuromusculoskeletal
      system)
 Office visit                                                 $10 Co-payment                    Plan pays up to $20 per
                                                                                                visit; you pay balance

 First set of x-rays                                          50% of Eligible Charge            Not covered


 R.   OTHER MEDICAL SERVICES                                           Participating Provider       Non-Participating Provider
                                                                              YOU PAY                       YOU PAY
 Ambulance (ground or inter-island air)                       20% of Eligible Charge            30% of Eligible Charge
 For emergencies only

 Applied Behavioral Analysis for Autism Spectrum Disorders    10% of Eligible Charge            30% of Eligible Charge
 Prior Authorization required

 Bariatric Surgery                                            10% of Eligible Charge            30% of Eligible Charge
 Prior Authorization required

 Blood, Blood Products, and Blood Bank Service Charges        20% of Eligible Charge            30% of Eligible Charge

 Dialysis and Supplies                                        20% of Eligible Charge            30% of Eligible Charge

 Evaluations for Use of Hearing Aids                          20% of Eligible Charge            30% of Eligible Charge




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                                                                   Summary of Benefits and Payment Obligations

 Growth Hormone Therapy                                      20% of Eligible Charge   30% of Eligible Charge
 Prior Authorization required

 Home Infusion Therapy                                       20% of Eligible Charge   30% of Eligible Charge
 Prior Authorization required for Adult Home TPN
 services

 Hyperbaric Oxygen Treatment                                 20% of Eligible Charge   30% of Eligible Charge
 Prior Authorization required

 Implants                                                    20% of Eligible Charge   30% of Eligible Charge

 Inhalation Therapy                                          20% of Eligible Charge   30% of Eligible Charge

 Injectable Medications (Outpatient)                         20% of Eligible Charge   30% of Eligible Charge
 Prior Authorization required for certain injectables

 Medical Equipment and Appliances                            20% of Eligible Charge   30% of Eligible Charge
 Prior Authorization required when purchase is greater
 than $500 or rental is greater than $100/month

 Medical Foods                                               20% of Eligible Charge   20% of Eligible Charge

 Orthotics                                                   20% of Eligible Charge   30% of Eligible Charge

 Physical and Occupational Therapy Services                  20% of Eligible Charge   30% of Eligible Charge
 Prior Authorization required following 32 units (1 unit =
 15 minutes)

 Prosthetics                                                 20% of Eligible Charge   30% of Eligible Charge
 Prior Authorization required when cost is more than
 $500

 Speech Therapy Services                                     20% of Eligible Charge   30% of Eligible Charge
 Prior Authorization required




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                                                                                                        Description Of Benefits



SECTION 5: DESCRIPTION OF BENEFITS
This section describes the Benefits available to you under this Agreement, including any limitations.

A. PREVENTIVE CARE SERVICES

UHA covers all U.S. Preventive Services Task Force (USPSTF) A and B recommended screening services at 100% as
required under the provisions of the Affordable Care Act (ACA). For more information about additional services not listed
below, please refer to the “Preventive Health Services” Medical Payment Policies on our website at uhahealth.com.

  Well Child Care             Covered, including routine sensory screening, and developmental/behavioral assessments
  Physician Office Visits     according to the American Academy of Pediatrics Periodicity Schedule of the Bright Futures
                              Recommendations for Preventive Pediatric Health Care:
                              • birth to one year: seven visits
                              • age one year: three visits
                              • age two years: two visits
                              • ages three years through twenty-one years: one visit per year

                              If your child requires medical care for an illness or injury, benefits for physician visits, not Well
                              Child Care, apply.

  Well Child                  Covered, in accord with Hawaii law and the guidelines set by the national CDC Advisory
  Immunizations               Committee on Immunization Practices (ACIP)

  Well Child Care             Covered, UHA clinical preventive services guidelines are derived from the clinical
  Laboratory Tests            recommendations of the USPSTF and Bright Futures. USPSTF guidelines are evidence-based
                              and rely on current scientific studies, and are the basis for the guidelines in the ACA. Bright
                              Futures guidelines represent a consensus by the American Academy of Pediatrics (AAP).

  Preventive Medicine         Covered, one per calendar year for a preventive health examination for members who are 22 and
  Office Visit                older. This benefit is in addition to the Well Women Exam Benefit described below.


  Well Woman Exam             Covered, for one annual health assessment per calendar year. The assessment should include
                              screening, evaluation and counseling, and immunizations based on age and risk factors.

                              Please refer to the Cervical Cancer Screening (Pap Smear) language below for specific benefit
                              information.

  Screening Laboratory        Covered, UHA clinical preventive services guidelines are derived from the clinical
  Services                    recommendations of the USPSTF. USPSTF guidelines are evidence-based and rely on current
                              scientific studies, and are the basis for the guidelines in the ACA.

  Adult Immunizations         Covered, for standard Immunizations and for high risk conditions such as Hepatitis B and other
                              vaccines in accord with the guidelines set by the national CDC Advisory Committee on
                              Immunization Practices.




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                                                                                                     Description Of Benefits

  Mammography for           Covered, one per calendar year for women ages 40 and older.
  Breast Cancer
  Screening                 Annual screening for women under 40 is allowed with a physician’s order for women with a
                            personal history of breast cancer, a history of chest irradiation, a family history of breast cancer in
                            a first degree relative or a known genetic predisposition to breast cancer.

                            Each member’s frequency of testing should be determined after consultation with her physician to
                            assure that current recommendations and personal risk factors are considered.

                            Please note: mammograms that are not done for breast cancer screening fall under your
                            diagnostic mammography benefits, which are included in the heading “Diagnostic Testing,
                            Laboratory and Radiology Services.”

  Cervical Cancer           Covered, one every three years for women ages 21 to 65.
  Screening (Pap
  Smear)

  Chlamydia Screening       Covered, one per calendar year

  Osteoporosis              Covered, coverage for initial screening and repeat testing interval is based on age and risk factors
  Screening                 per USPSTF and National Osteoporosis Foundation guidelines.

  Colorectal Cancer         Covered, based on age and risk factors in compliance with current USPSTF guidelines.
  Screening



B. DISEASE MANAGEMENT PROGRAMS

  Smoking Cessation         Covered
  Program

  Nutritional Counseling    Covered, but only when counseling is provided:
  Programs                  • by a Registered Dietician (RD), Certified Nutrition Specialist (CNS), or Certified Diabetes
                               Educator (CDE); and
                            • for the treatment of eating disorders, convulsions/seizures, cardiovascular disease,
                               hypertension, renal disease (chronic kidney disease and end stage renal disease), Crohn’s
                               disease, gastrointestinal disorders, gout, obesity in adults (BMI ≥ 30 kg/m2), loss of weight,
                               pediatric overweight and obesity (BMI > 95%), pancreatitis, pre- and post-bariatric surgery,
                               pre-natal diet regulation, obstructive sleep apnea, squamous cell - oropharynx, or diabetes

  Asthma Education          Covered, through our Asthma Education Program

                            Please contact the Health Care Services department for information about this program.

  Diabetes Self-            Covered, through our Diabetes Education Program, but only through a Certified Diabetes
  Management Training       Educator (CDE), Registered Dietician (RD), or Certified Nutrition Specialist (CNS).
  and Education
                            Please contact the Health Care Services department for information about this program.




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                                                                                                   Description Of Benefits

  Disease Education         UHA provides Disease Education Programs for members with diabetes and asthma.
  Programs
                            For information about these programs, please call our Health Care Services department.
                            Information is also available on our website at uhahealth.com.



C. PHYSICIAN SERVICES

  Anesthesia                Covered, as required by the attending physician and when appropriate for your condition

                            Covered services include general and regional Anesthesia and Conscious Sedation.

  Physician Visits          Covered, for the treatment of an illness or injury when you are an inpatient or are seen in a
                            physician’s office, clinic, Outpatient center, emergency room, or your home

                            Home visits, or house calls, are covered only when provided within the Service Area, and only
                            when your physician determines that necessary care can best be provided in the home.

                            Services provided by Advanced Practice Registered Nurses and Physician Assistants are
                            covered as Physician Services.

  Physician Visits –        Covered, but only if the services provided are: (1) Emergency Services as defined in
  Emergency Room            accordance with the definition established in Hawaii Revised Statutes (sect. 432E-1) as services
                            provided to an individual when the individual has symptoms of sufficient severity, including severe
                            pain, such that a layperson could reasonably expect, in the absence of medical treatment, to
                            result in placing the individual's health or condition in serious jeopardy, serious impairment of
                            bodily functions, serious dysfunction of any bodily organ or part, or death; (2) with respect to a
                            pregnant woman, a layperson could reasonably expect the absence of medical treatment to result
                            in serious jeopardy to the health of the woman and her unborn child, or (3) Emergency Services
                            are defined in accordance with federal law (the Patient Protection and Affordable Care Act, 42
                            U.S.C. § 300gg-19a).

                            Examples of an emergency include
                            • chest pain or other signs of a heart attack
                            • shortness of breath and/or difficulty breathing
                            • loss of consciousness, convulsions or seizures
                            • sudden onset of a severe and unexplained headache
                            • sudden weakness on one side of your body
                            • poisoning
                            • broken back, neck or other bones
                            • drug overdose
                            • significant loss of blood
                            • severe allergic reaction
                            • severe burn

                            Examples of non-emergencies are colds, flu, sore throat, medication refills, and using the
                            emergency room for your convenience for medical conditions that could be treated in your
                            doctor’s office.



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                                                                                                    Description Of Benefits

  Second Opinions           Covered, second opinions on the necessity of surgery or other treatment are fully covered without
                            co-payment.

                            Prior Authorization is required for second opinions rendered by out-of-state providers.

  Consultations             Covered, when requested by your attending physician. If you are hospitalized we will only pay for
                            one Consultation for each specialty for each confinement

                            Follow-up visits by consultants are covered if we determine that additional visits are medically
                            necessary.



D. SURGICAL SERVICES

  General                   Covered, Surgical Services include operating room, surgical supplies, drugs, dressings,
                            anesthesia services and supplies, oxygen, antibiotics, and blood transfusion services in an
                            inpatient or outpatient facility

  Assistant Surgeon         Covered, but only when:
                            • assistance is medically necessary based on the complexity of the surgery and
                            • the facility does not have a residency or training program, or
                            • the facility has a resident or training program, but a resident or intern on staff is not available
                               to assist the surgeon

  Cutting Surgery           Covered, including pre-operative and post-operative care. Preoperative and postoperative care
                            provided in connection with surgical procedures is included in the eligible charge for the surgery

                            If a physician charges separately for the preoperative and postoperative care in excess of this
                            single eligible charge, we will not pay the excess charges.

  Non-Cutting Surgery       Covered

                            Examples of non-cutting surgical procedures include: diagnostic and endoscopic procedures;
                            diagnostic and therapeutic injections; orthopedic castings; destruction of localized lesions by
                            chemotherapy (excluding silver nitrate); cryotherapy or electrosurgery; and acne treatment.

  Reconstructive            Covered, but only for corrective surgery required to restore or correct any bodily function that was
  Surgery                   lost, impaired or damaged as a result of an illness or injury. Reconstructive surgery to correct
                            congenital anomalies (defects present from birth) is covered only if the anomaly severely impairs
                            or impedes normal, essential bodily functions.

                            Reconstructive or plastic surgery that is primarily intended to improve your natural appearance
                            and does not restore or materially improve a physical function is considered cosmetic and is not
                            covered. Services related to complications of non-covered reconstructive surgery are also not
                            covered.

  Women’s Health and        Following a mastectomy, reconstruction of the breast on which the mastectomy is performed,
  Cancer Rights Act of      surgery and reconstruction of the other breast to produce a symmetrical appearance, prostheses
  1998                      and treatment of physical complications of the mastectomy, including lymphedema, in a manner
                            determined in consultation with the attending physician and the patient, are covered as provided

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                            for in the Women’s Health and Cancer Rights Act of 1998 and do not require Prior
                            Authorization. Such coverage is subject to co-payments that are consistent with those
                            established for other benefits under this plan. Please refer to Section 4 for information on co-
                            payments.

  Additional Notes

  Prior Authorization       Certain surgical procedures must receive Prior Authorization from us before they are performed
  Requirements              (see Section 7: Health Care Services Program).

  •   Multiple Surgical     When multiple surgical services are performed at the same time, we will pay full benefits for the
      Services              primary surgical service. Benefits for the secondary surgical service will be paid only when UHA
                            determines that the secondary surgical service was necessitated by the complexity and risk of the
                            primary surgical service. If benefits are determined to be payable, allowances for the secondary
                            Surgical Services will be based on the additional complexity and risk.

  •   Oral Surgery          Covered, but only for certain oral surgical services provided by a physician or a dentist. Services
                            of a dentist (DDS or DMD) are covered services only when:
                            (a) the dentist is performing emergency service (for an accidental injury) or surgical services,
                                 and
                            (b) these covered services could also be performed by physicians (MD or DO)

                            Coverage is limited to: the removal of tumors and cysts; surgery to correct injuries; cutting and
                            draining of cellulitis; cutting of sinuses, salivary glands, or ducts; and reduction of dislocations.
                            These services, including those anticipated to require hospitalization if you have a serious
                            medical problem, require Prior Authorization (see Section 7: Health Care Services Program).

  •   Payment Based         If you choose to have a surgery as an inpatient in a hospital or other facility when it could have
      on Appropriate        been done safely and effectively in a physician's office or in an outpatient surgical center, the
      Place for Surgery     benefits we pay shall not exceed those for surgery in a physician's office or surgical center,
                            whichever is most appropriate. Similarly, if you choose to have a surgery in a surgical center
                            when it could have been done safely and effectively in a physician's office, the benefits we pay
                            shall not exceed those for surgery in a physician's office.

  •   “Stand By” Time       The services of another physician may be necessary during a surgery so that the physician must
                            "stand by" at the hospital. In this case, benefits will be paid for covered services that this
                            physician actually provides, but no payment will be made for the waiting or "stand by" time.



E. HOSPITAL SERVICES

  General                   Inpatient hospital services are covered up to 365 days per calendar year. The hospital facility
                            must hold current national accreditation with either the Joint Commission on Accreditation of
                            Healthcare Organizations (JCAHO) or the Commission on Accreditation of Rehabilitation Facilities
                            (CARF) for any level of care including acute inpatient, residential, partial hospitalization, or
                            intensive outpatient programs.

  Prior Notification        When and if you require hospital care, the hospital facility and your participating physician have a
                            responsibility to notify UHA of your admission. This is important as UHA’s Health Care Services
                            Department reviews all hospital admissions concurrently on your behalf to determine if the level of

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                            care being provided is appropriate, the quality of care you are receiving meets predetermined
                            standards and to participate in discharge planning.

                            If you have elected to receive your care from a Non-Participating provider, you become primarily
                            responsible for this prior notification to UHA.

  Hospital Room and         Covered, including:
  Board                     • room and board based on the participating facility’s semi-private medical/surgical room rate,
                               unless a private room is authorized by UHA. If the facility does not have semi-private rooms,
                               or is a non-participating facility, we will pay benefits based on our maximum allowable eligible
                               charge for semi-private rooms. You will be responsible for your coinsurance on the eligible
                               charge and any difference between our eligible charge for a semi-private room rate and the
                               facility’s room rate.
                            • special care units, such as intensive care, coronary care, isolation or intermediate telemetry
                               unit
                            • operating room, labor room, delivery room and recovery room
                            • general nursing care

  Hospital Ancillary        Covered, including surgical supplies, hospital anesthesia services and supplies, diagnostic and
  Services                  therapy services, drugs, dressings, oxygen, antibiotics, and hospital blood transfusion services

  Emergency Room            Covered, but only if the services provided are: (1) Emergency Services as defined in accordance
                            with the definition established in Hawaii Revised Statutes (sect. 432E-1) as services provided to
                            an individual when the individual has symptoms of sufficient severity, including severe pain, such
                            that a layperson could reasonably expect, in the absence of medical treatment, to result in placing
                            the individual’s health or condition in serious jeopardy, serious impairment of bodily functions,
                            serious dysfunction of any bodily organ or part, or death; (2) with respect to a pregnant woman, a
                            layperson could reasonably expect the absence of medical treatment to result in serious jeopardy
                            to the health of the woman and her unborn child; or (3) Emergency Services are defined in
                            accordance with federal law (the Patient Protection and Affordable Care Act, 42 U.S.C. § 300gg-
                            19a).

                            Examples of an emergency include:
                            • chest pain or other signs of a heart attack
                            • shortness of breath and/or difficulty breathing
                            • loss of consciousness, convulsions or seizures
                            • sudden onset of a severe and unexplained headache
                            • sudden weakness on one side of your body
                            • poisoning
                            • broken back, neck or other bones
                            • drug overdose
                            • significant loss of blood
                            • severe allergic reaction
                            • severe burn

                            Examples of non-emergencies are colds, flu, sore throat, medication refills, and using the
                            emergency room for your convenience for medical conditions that could be treated in your
                            doctor’s office.




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                            If you require emergency services, you should call 911 or go to the nearest emergency room.
                            Prior notification is not required.

                            If you are admitted to the hospital as an inpatient following a visit to the emergency room, hospital
                            inpatient benefits apply, not emergency room benefits.



F. SKILLED NURSING FACILITY SERVICES

  General                   Skilled Nursing Facility services are covered up to 120 days per calendar year

  Notification of           If either a participating or a non-participating physician recommends that you be admitted to a
  Admission                 skilled nursing facility, you or your physician must notify UHA’s Health Care Services department
                            within 72 hours of your admission.

  Room and Board            Covered, but only at the eligible charge for a semi-private room

  Ancillary Services        Covered, including routine surgical supplies, drugs, dressings, oxygen, antibiotics, blood
                            transfusion services, and diagnostic and therapy services

  Limitations               Eligibility for skilled nursing facility services requires that all of the following be true:
                            • you meet Medicare skilled nursing criteria
                            • the facility meets Medicare standards
                            • the admission is ordered by a physician
                            • you need skilled nursing services and are under the care of a physician during the admission
                            • we approve the admission
                            • the admission is not primarily for comfort, convenience, a rest cure, or domiciliary care
                            • if the stay exceeds 30 days, the attending physician submits a report showing the need for
                                 skilled nursing care at the end of each 30-day period
                            • the confinement is not for custodial care



G. HOME HEALTH CARE AND HOSPICE SERVICES

  Prior Authorization       Prior Authorization is required for home health care services after the first 12 visits (see Section
                            7: Health Care Services Program for information on prior authorization).

  Home Health Care          Covered, but only when all of the following statements are true:
                            • home care services are prescribed in writing by a physician for the treatment of an illness or
                               injury when you are homebound. Homebound means that due to an illness or an injury you
                               are unable to leave home unless you use devices or have assistance from another person
                               and you meet homebound standards defined by the federal Medicare program
                            • part-time skilled health care services are required
                            • home health care services are not more costly than other covered services that would be
                               effective for the treatment of your condition
                            • without home care, you would require inpatient hospital or skilled nursing facility care




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                                                                                                    Description Of Benefits


                            •    if you need home health care services for more than 30 days, a physician certifies that there
                                 is further need for the services and provides a continuing plan of treatment at the end of each
                                 30-day period of care
                            •    services do not exceed 150 visits per calendar year
                            •    services are provided by a qualified home care agency that meets Medicare requirements
                            •    we authorize home health care services

  Hospice Services          Covered, but only if services are received from a Medicare-approved Hospice program.

                            Covered services include:
                            • residential hospice room and board expenses directly related to the hospice care being
                               provided
                            • hospice referral visits during which a patient is advised of hospice care options, regardless of
                               whether the referred person is eventually admitted to hospice care

                            UHA endorses an “open access” model of hospice care in which palliative care and coordination
                            can be undertaken while members continue or initiate medical, surgical, radiologic and other
                            treatments for both life limiting and other medical conditions. Open access/concurrent hospice
                            care services are covered when the following criteria are met:
                            • Services are prescribed in writing by the prescribing physician
                            • Hospice services are provided by a Medicare-certified hospice under contract with UHA
                            • The patient carries the diagnosis of a disease which is active, progressive and irreversible
                                 and which has resulted in a greatly reduced life expectancy
                            • Interdisciplinary hospice care management is ongoing and documented

                            Please refer to the specific benefits for more information on those services.

                            A certification/attestation of a life expectancy of less than or equal to six months is NOT required.



H. DIAGNOSTIC TESTING, LABORATORY AND RADIOLOGY SERVICES

  Allergy Testing and       Covered
  Treatment Materials

  Diagnostic Testing        Covered, when related to an injury, illness, or maternity care. Examples of diagnostic testing
                            include:
                            • electroencephalograms (EEG)
                            • electrocardiograms (ECG or EKG)
                            • Holter monitoring
                            • stress tests

  Genetic Testing and       Covered, but genetic testing requires Prior Authorization (refer to Section 7: Health Care
  Counseling                Services Program for information on prior authorization)

  Laboratory and            Covered, when related to an illness, injury, or maternity care. Additional benefits for routine and
  Pathology                 preventive laboratory tests are described in the “Specific Benefits” categories later in this section




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     Radiology              Covered, when related to an illness, injury, or maternity care. Additional benefits for routine and
                            preventive radiology services are described in the “Specific Benefits” categories later in this
                            section

                            Examples of radiology services are:
                            • computerized tomography scans (CT Scan)
                            • diagnostic mammography
                            • nuclear medicine procedures
                            • ultrasound
                            • x-rays

                            Some radiology services, such as PET scans and CTCA require Prior Authorization. Please
                            refer to Section 7: Health Care Services Program for information on prior authorization.

     Tuberculin Test        Covered, for one tuberculin (TB) test per calendar year



I.    CHEMOTHERAPY AND RADIATION THERAPY

     Chemotherapy           Covered

                            Prior Authorization is not required unless the recommended treatment plan does not conform to
                            one of the nationally recognized oncology compendia.

                            Oral chemotherapy drugs are covered, but only when you do not have a prescription drug plan
                            which provides coverage for oral chemotherapy. If you have coverage for oral chemotherapy
                            drugs under a drug plan, there shall be no duplication of benefits between this plan and your drug
                            plan and this plan will pay secondary to the more specific coverage afforded by your drug plan.

     Radiation Therapy      Covered

                            Prior Authorization is required for certain treatments. Please refer to Section 7: Health Care
                            Services Program for information on prior authorization.



J. ORGAN TRANSPLANT SERVICES

     Organ and Tissue       Covered, but only as described in this Organ Transplant Services section
     Transplants
                            Prior Authorization is required for all transplants, except corneal.

                            In addition, transplant services must be provided by a facility that is under contract with us for that
                            type of transplant and that facility must accept you as a candidate.

                            Benefits are not available for any of the following:
                            • artificial (mechanical) organs, except for artificial hearts when used as a bridge to a
                               permanent heart transplant
                            • non-human organs


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                            •    the purchase of organs
                            •    organ or tissue transplants not listed in this Organ Transplant Services section

  Transplant                Covered, for transplants listed in this Guide, but only with our Prior Authorization
  Evaluations
                            Transplant Evaluation means those procedures, including laboratory and diagnostic tests,
                            consultations, and psychological evaluations that a facility uses in evaluating a potential
                            transplant candidate.

  Corneal Transplants       Covered

  Bone Marrow               Coverage is available only for treatment prescribed in accord with UHA’s medical payment
  Transplants               policies and requires Prior Authorization (see Section 7: Health Care Services Program)

  Heart Transplants         Covered, but only if you meet UHA’s criteria and obtain Prior Authorization (see Section 7:
                            Health Care Services Program)

  Heart and Lung            Covered, but only if you meet UHA’s criteria and obtain Prior Authorization (see Section 7:
  Transplants               Health Care Services Program)

  Kidney Transplants        Covered, but only if you meet UHA’s criteria and obtain Prior Authorization (see Section 7:
                            Health Care Services Program)

  Liver Transplants          Covered, but only if you meet UHA’s criteria and obtain Prior Authorization (see Section 7:
                             Health Care Services Program)

  Lung Transplants          Covered, but only if you meet UHA’s criteria and obtain Prior Authorization (see Section 7:
                            Health Care Services Program)

  Simultaneous              Covered, but only if you meet UHA’s criteria and obtain Prior Authorization (see Section 7:
  Kidney/Pancreas           Health Care Services Program)
  Transplants

  Small Bowel and           Covered, but only if you meet UHA’s criteria and obtain Prior Authorization (see Section 7:
  Multivisceral             Health Care Services Program)
  Transplants

  Organ Donor Services      Covered, but only with Prior Authorization (see Section 7: Health Care Services Program) and
                            when you are the recipient of the organ.

                            If you are donating an organ to someone else, then no benefits are available under this plan.

                            If you are the recipient of an organ from a living donor and the donor’s health coverage provides
                            benefits for organ(s) donated by a living donor, then this coverage is secondary and the living
                            donor’s coverage is primary. No benefits are available under this plan to the living donor for post-
                            transplant donor services.

                            Benefits for the screening of donors are limited to the expenses of the actual donor. No benefits
                            are available for screening expenses of candidates who do not become the actual donor.



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K. MENTAL HEALTH AND SUBSTANCE ABUSE SERVICES

  General                   Mental health and substance abuse services are covered if all of the following are true:
                            • you are diagnosed with a condition listed within the current version of the Diagnostic and
                               Statistical Manual of the American Psychiatric Association
                            • the services are provided under an individualized treatment plan subject to review and
                               approval by UHA or our designee
                            • the services are provided by a licensed physician, psychiatrist, psychologist, clinical social
                               worker, mental health counselor, marriage and family therapist, or advanced practice
                               registered nurse. Nutritional counseling services for the treatment of eating disorders is
                               covered, but only when the services are provided by a Registered Dietician (RD) or Certified
                               Nutrition Specialist (CNS)
                            • except for telehealth interactions as defined by Hawaii law and family psychotherapy
                               sessions as discussed below, you are physically present with the provider when the services
                               are provided. Standard telephone contacts, facsimile transmissions, or email text, in
                               combination or by itself, do not constitute a telehealth service
                            • each family psychotherapy session may only be billed to one family member, even if the
                               provider is seeing multiple members of the same family. Coverage will be provided for family
                               psychotherapy without the patient present
                            • the services are certified as medically or psychologically necessary at the least restrictive
                               appropriate level of care in accordance with Hawaii law

                            Conditions such as epilepsy, senility, intellectual disability, or other developmental disabilities,
                            and addiction to and use of intoxicating substances, do not in and of themselves constitute a
                            mental disorder. You are not covered for educational programs or other services performed by
                            mutual self-help groups, even if you are referred to such groups by your provider or the judicial
                            system.

                            You are not covered when someone else, including but not limited to any federal, state, territorial,
                            municipal, or other government instrumentality or agency, has the legal obligation to pay for your
                            care, and when, in the absence of this Agreement, you would not be charged.

                            You are covered for treatment provided by a marriage and family therapist but only for treatment
                            of mental illness or substance or drug abuse. You are not otherwise covered for services
                            rendered by a marriage and family therapist.

  Outpatient Mental         Covered, as follows:
  Health or Substance       • outpatient visits by a licensed physician, psychiatrist, psychologist, licensed clinical social
  Abuse Services               worker, licensed mental health counselor, marriage and family therapist, or advanced
                               practice registered nurse for mental health or substance abuse conditions. Nutritional
                               counseling services for the treatment of eating disorders is covered, but only when the
                               services are provided by a Registered Dietician (RD) or Certified Nutrition Specialist (CNS)
                            • outpatient psychological testing requires Prior Authorization (see Section 7: Health Care
                               Services Program).
                            • residential substance abuse services require Prior Notification (see Section 7: Health Care
                               Services Program)




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  Inpatient Mental          Covered, as follows:
  Health or Substance       • facility days for mental health or substance abuse conditions. Inpatient care is limited to
  Abuse Services               room, medically necessary care, and hospital ancillary services.
                            • inpatient visits by a licensed physician, psychiatrist, psychologist, licensed clinical social
                               worker, licensed mental health counselor, marriage and family therapist, or advanced
                               practice registered nurse for mental health or substance abuse conditions. Nutritional
                               counseling services for the treatment of eating disorders is covered, but only when the
                               services are provided by a Registered Dietician (RD) or Certified Nutrition Specialist (CNS)
                            • substance abuse services require Prior Notification (see Section 7: Health Care Services
                               Program)



L. SPECIFIC BENEFITS FOR CHILDREN

  Newborn                   Covered
  Circumcision

  Newborn Nursery           Newborn nursery length of stay, covered for up to:
  Care                      • 48 hours from the time of delivery for normal labor and delivery; or
                            • 96 hours from the time of delivery for a cesarean birth

                            Benefits for newborn care, nursery, circumcision, premature child care, and care for illness or
                            injury are only available if you add your child to your coverage within 31 days of birth (see Section
                            2: Eligibility and Enrollment).

                            Newborns with congenital defects and birth abnormalities are covered for the first 31 days of birth
                            to the extent required by Hawaii law. These newborns are covered after 31 days of birth only if
                            added to your coverage within 31 days of birth.

  Well Child Care           Please refer to Section 5.A: Preventive Care Services for more information.
  Physician Office Visits



M. SPECIFIC BENEFITS FOR WOMEN

  Birthing Room             Covered, but only for labor and delivery

  Cervical Cancer           Please refer to Section 5.A: Preventive Care Services for more information.
  Screening (Pap
  Smear)

  Family Planning           Covered, including abortion counseling and information on birth control
  Services

  Mammography for           Please refer to Section 5.A: Preventive Care Services for more information.
  Breast Cancer
  Screening



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  Maternity Care            Covered, including prenatal, false labor, delivery, and postnatal services provided by your
                            physician or Certified Nurse Midwife. Maternity care does not include related services such as
                            nursery care, labor room, hospital room and board, diagnostic testing, and other lab work and
                            radiology. Please refer to the specific benefits for more information on those services.

                            The eligible charge is a global fee related to a bundle of maternity care, which includes prenatal
                            and postnatal care. If payments for prenatal care are made separately prior to delivery, we will
                            consider those payments advance payments and will deduct them from the maximum allowance
                            for delivery. If a physician provides all or part of the antepartum and/or postpartum patient care
                            but does not perform delivery, separate co-payments may apply.

                            Maternity length of stay, covered for up to:
                            • 48 hours from the time of delivery for normal labor and delivery; or
                            • 96 hours from the time of delivery for a cesarean birth

   Prenatal Program         UHA may contract with vendors to reduce complications of pregnancy and improve quality of care
                            for expectant mothers with diabetes. For information about our current programs, please call our
                            Health Care Services department.

  Tubal Ligation            Covered, for only the initial surgery for tubal ligation. Reversal of a tubal ligation is not covered

  Termination of            Covered
  Pregnancy

  Well Woman Exam           Please refer to Section 5.A: Preventive Care Services for more information.

  Contraceptive             Covered, for selected brands and generics determined by UHA in accordance with Hawaii law, but
  Services and Supplies     only when:
                            • prescribed by your physician (except for emergency contraceptives);
                            • approved by the Food and Drug Administration; and
                            • you do not have a prescription drug plan which provides coverage for contraceptives.

                            You may obtain a copy of UHA’s Preferred Drug Listing by calling Customer Services. The Listing
                            also appears on our website at uhahealth.com.

                            Benefit payment for contraceptives is limited to one contraceptive method per period of
                            effectiveness. If you have coverage for contraceptives under a drug plan, there shall be no
                            duplication of benefits between this plan and your drug plan and this plan will pay secondary to the
                            more specific coverage afforded by your drug plan.

                            You are not covered for contraceptive foams, creams, condoms, or other non-prescription
                            substances or supplies used individually or in conjunction with any prescribed drug or device.

  Over-the-counter          Covered, for selected brands and generics determined by UHA in accordance with Hawaii law,
  (OTC) Contraceptives      but only when you receive a written prescription and when obtained from a licensed pharmacist.




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N. SPECIFIC BENEFITS FOR MEN

  Prostate Specific         Covered, for one prostate specific antigen test per calendar year for men age 50 or older
  Antigen (PSA) Test

  Vasectomy                 Covered, for only the initial surgery for a vasectomy. Reversal of a vasectomy is not covered

  Erectile Dysfunction      Covered, for services, supplies, prosthetic devices, and injectables to treat erectile dysfunction
                            due to organic cause as defined by UHA or as described in this section under Section 5.R: Other
                            Medical Services; Gender Identity Services.



O. SPECIFIC BENEFITS FOR MEMBER AND COVERED SPOUSE

  In Vitro Fertilization    Covered, to the extent required by Hawaii Law if the in vitro fertilization is for you and your spouse
                            or civil union partner. Coverage is limited to a one-time only benefit for one outpatient in vitro
                            fertilization procedure while you are a UHA member. If you receive benefits for in vitro fertilization
                            services under a UHA plan, you will not be eligible for in vitro fertilization benefits under any other
                            UHA plan.

                            One complete in vitro procedure is covered. Payment of benefits for an incomplete in vitro
                            procedure counts as meeting the one-time only benefit limitation. In vitro fertilization services
                            require Prior Authorization (See Section 7: Health Care Services Program).

                            In vitro fertilization services are not covered when a surrogate is used. The in vitro procedures
                            must be performed at a medical facility that conforms to the American College of Obstetrics and
                            Gynecology guidelines for in vitro fertilization clinics or to the American Society for Reproductive
                            Medicine minimum standards for programs of in vitro fertilization.

                            If you have a male spouse or civil union partner, you must meet all the following criteria:
                                 (a) You and your spouse or civil union partner have a five-year history of infertility or
                                     infertility is related to one or more of the following medical conditions:
                                          • Endometriosis;
                                          • Exposure in utero to diethylstilbesterol (DES);
                                          • Blockage of, or surgical removal of, one or both fallopian tubes (lateral or
                                                 bilateral salpingectomy); or
                                          • Abnormal male factors contributing to the infertility.
                                 (b) You and your male spouse or civil union partner have been unable to attain a successful
                                     pregnancy through other infertility treatments
                                 (c) Oocytes are fertilized with the spouse or civil union partner’s sperm

                            If you do not have a male spouse or civil union partner, you must meet the following criteria:
                                 (a) You are not known to be otherwise infertile, and
                                 (b) You have failed to achieve pregnancy following three cycles of physician-directed,
                                      appropriately timed intrauterine insemination




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P. SPECIFIC BENEFITS FOR DIABETES

  Diabetes Drugs,           Covered, but only when:
  Insulin, and Supplies     • prescribed by a health care professional authorized to prescribe the drug, insulin or supply;
                               and
                            • you do not have a prescription drug plan which provides coverage for diabetes drugs, insulin
                               and supplies.

                            If you have a drug plan which provides coverage for diabetes drugs, insulin and supplies, there
                            shall be no duplication of benefits between this plan and your drug plan and this plan will pay
                            secondary to the more specific coverage afforded by your drug plan.

                            Diabetes drugs, insulin, and supplies can be Generic, Preferred Brand or Non-Preferred
                            Brand.

                            Generic drugs are drugs prescribed or dispensed under their generic (chemical) name rather than
                            a brand name and which are not protected by a patent, or are drugs designated by us as generic.
                            Generic drugs must be approved by the FDA as safe and effective.

                            Preferred Brand drugs and insulin are brand name drugs or insulin identified as preferred by their
                            inclusion in UHA’s Preferred Drug Listing.

                            Non-Preferred Brand drugs and insulin are brand name drugs and insulin that are not listed in the
                            UHA Preferred Drug Listing.

                            You may obtain a copy of UHA’s Preferred Drug Listing by calling Customer Services. The
                            Listing also appears on our website at uhahealth.com.

                            Covered diabetic supplies include lancets, syringes and needles, sugar test tablets, test strips,
                            and blood glucose monitors.

  Diabetes Self-            Covered, through our Diabetes Education Program, but only through a Certified Diabetes
  Management Training       Educator (CDE), Registered Dietician (RD), or Certified Nutrition Specialist (CNS).
  and Education
                            Please contact the Health Care Services department for information about this program.

  Prenatal Program          UHA may contract with vendors to reduce complications of pregnancy and improve quality of care
                            for expectant mothers with diabetes. For information about our current programs, please call our
                            Health Care Services department.



Q. COMPLEMENTARY ALTERNATIVE MEDICINE

  Services Provided by      Covered, subject to the following:
  a Chiropractor or         • benefits are limited to treatment of conditions of the neuromusculoskeletal system, which
  Acupuncturist                 consists of the nerves, muscles and bones
                            • the service is provided by a qualified provider of chiropractic or acupuncture services. A
                                qualified provider is an individual who is licensed appropriately, performs within the scope of
                                his/her licensure and is recognized by UHA


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                             •   the plan pays 50% of the eligible charge for the first set of x-rays ordered by a participating
                                 Chiropractor. You are responsible for the balance of the eligible charge for the first set of
                                 x-rays and the full charge for any subsequent x-rays. The plan does not cover x-rays
                                 ordered by non-participating chiropractors.
                             •   the total maximum benefit paid by the plan per calendar year is $500 for combined services
                                 provided by either participating or non-participating chiropractic and acupuncture providers



R. OTHER MEDICAL SERVICES

  Ambulance                 Covered, for ground and intra-island or inter-island air ambulance services to the nearest hospital
                            equipped to treat your illness or injury, when all of the following apply:
                            • services to treat your illness or injury are not available in the hospital or skilled nursing facility
                                where you are an inpatient or in the emergency department where you are initially seen
                            • transportation begins at the place where an injury or illness occurred or first required
                                emergency care
                            • transportation ends at the nearest facility equipped to furnish emergency treatment
                            • transportation is for emergency treatment under circumstances where emergency room
                                services would be covered (see Emergency Room section above)
                            • transportation takes you to the nearest facility equipped to furnish emergency treatment

                            Air ambulance benefits are limited to inter-island and intra-island transportation within the State of
                            Hawaii.

  Applied Behavioral        Treatment and therapeutic care for members with clearly diagnosed autism is covered in
  Analysis for Autism       accordance with Hawaii law. These services require Prior Authorization (Section 7: Health Care
  Spectrum Disorders        Services Program) with a defined and personalized treatment plan after the diagnosis is
                            made. Services must be provided by licensed or certified providers as defined by the Hawaii
                            Revised Statutes. Medical necessity determinations rest upon complex diagnostic criteria and the
                            early involvement of pediatric psychiatrists and/or psychologists in making diagnoses and
                            originating treatment plans can simplify this process.

  Bariatric Surgery         Covered, but requires Prior Authorization (see Section 7: Health Care Services Program)

  Blood and Blood           Covered, including blood costs, blood bank services, and blood processing
  Products
                            You are not covered for peripheral stem cell transplants except as described in this section under
                            “Bone Marrow Transplants.”

  Dialysis and Dialysis     Covered
  Supplies

  Evaluations for           Covered, but only when you receive the evaluation for the use of a hearing aid in the office of a
  Hearing Aids              physician or an audiologist

  Gender Identity           Covered, subject to the limitations described in our medical payment policy. Certain services
  Services                  require Prior Authorization (see Section 7: Health Care Services Program); exclusions may
                            apply (see Section 6: Services Not Covered).



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                            The services listed below are covered, but only when deemed medically necessary to treat
                            gender dysphoria. Your co-payments and coinsurance may vary depending on the type of
                            service or supply you receive (see Section 4: Summary of Benefits and Payment Obligations).
                            Additional benefit information about the service or supply you receive can be found in other areas
                            of this section.
                            • Gender reassignment surgery
                            • Hospital room and board
                            • Hormone injection therapy
                            • Laboratory monitoring
                            • Other gender reassignment surgery related services and supplies which are medically
                                 necessary and not excluded. These include but are not limited to sexual identification
                                 counseling, pre-surgery consultations and post-surgery follow-up visits
                            • Otherwise covered services deemed medically necessary to treat gender dysphoria

  Growth Hormone            Covered, subject to the limitations described in our medical payment policy, but requires Prior
  Therapy                   Authorization (see Section 7: Health Care Services Program)

                            Benefits for human growth hormone therapy are available for eligible persons based on medical
                            necessity

  Home Infusion             Covered, for services and supplies for outpatient injections or intravenous administration of
  Therapy                   medication or nutrient solutions required for primary diet

                            Home total parenteral nutrition (TPN) for adults requires Prior Authorization (see Section 7:
                            Health Care Services Program).

  Hyperbaric Oxygen         Covered, but only with Prior Authorization
  Treatment

  Implants                  Covered, for surgical implants like pacemakers, stents, and screws

  Inhalation Therapy        Covered

  Injectable Medications    Covered, for outpatient services and supplies for the injection or intravenous administration of
                            medication or nutrient solutions required for primary diet, and travel immunizations in accord with
                            the guidelines set by the Advisory Committee on Immunization Practices (ACIP)

                            Some injections require Prior Authorization (see Section 7: Health Care Services Program).

  Medical Equipment         Covered, up to the eligible charge, only when ordered by your physician and subject to the
  and Appliances            following conditions:
                            Prior Authorization is required (see Section 7: Health Care Services Program) when the
                            purchase price for the item is greater than $500, or the rental fee for the item is greater than
                            $100/month. Examples include, but are not limited to:

                                        CPAP units, BIPAP units, Oxygen concentrators, wheelchairs and hospital-type beds

                            Hearing aids are covered up to the eligible charge for one device per ear, every five years. You
                            may be responsible for paying the provider the difference between UHA’s payment and the total



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                            actual charge. You are not covered for the replacement of hearing aids lost or broken within five
                            years from the date of purchase.

                            Benefit payment for the rental of appliances and medical equipment is limited to the eligible
                            charge to purchase the appliance or equipment.

                            Replacement appliances and medical equipment
                            • Will be covered only when ordered by your physician; and when in our opinion the first or
                               original one can no longer be used or repaired. UHA reserves the right to cover repair rather
                               than replacement if in our opinion it is the more cost-effective option. To “repair” means to fix
                               or mend and put equipment back into good condition after damage or wear, and includes
                               reasonable charges for parts and labor.

                            Repairs and maintenance of appliances and medical equipment
                            • Prior Authorization is required (Section 7: Health Care Services Program)

                            •    You are not covered for routine maintenance of any medical equipment or appliance,
                                 including periodic servicing (such as testing, cleaning, adjusting, regulating and checking of
                                 equipment); unless you establish that you are unable due to illness, injury or disability to
                                 perform the periodic servicing. More extensive maintenance is covered when, based on
                                 manufacturer’s recommendations, it should be performed by authorized technicians.

                            •    There is no coverage for repair or maintenance to the extent parts and/or labor is covered by
                                 a manufacturer’s or supplier’s warranty or by the rental contract.

                            •    If there is no coverage for the equipment or appliance under this Section, then there is no
                                 coverage for repair or maintenance of the equipment or appliance.

                            •    You are not covered for battery replacements or recharging related to any appliances or
                                 medical equipment.

  Medical Foods             Medical foods and low protein modified food products are covered when prescribed for the
                            treatment for an inborn error of metabolism in accord with Hawaii law.

  Ophthalmologists,         Services provided by ophthalmologists are only covered for treatment of medical conditions, such
  Services of               as glaucoma and cataracts. Corrective lenses prescribed as part of post-operative care following
                            surgery to correct a medical condition are covered under this section.

                            Services for vision care without a medical diagnosis, such as aniseikonic studies and
                            prescriptions, prescription eyeglasses or contact lenses are not covered by this plan. If your
                            employer offers vision care benefits, please refer to your vision plan brochure for specific
                            information about those additional benefits.

  Orthodontic               Covered, for medically necessary orthodontic services for the treatment of orofacial anomalies
  Treatment for             resulting from birth defects or birth defect syndromes to the extent required by Hawaii law only if
  Orofacial Anomalies       you meet UHA’s criteria and obtain Prior Authorization (Section 7: Health Care Services
                            Program).

                            Benefits are limited to a maximum of $5,500 per treatment phase.

  Orthotics                 Covered, when prescribed by your physician. Foot orthotics are only covered for diabetic
                            conditions and fractures.

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                            You are not covered for orthotics management and training. Coverage for orthotics fitting and
                            fabrication is included in the reimbursement for the orthotic itself.

  Physical and              Covered, but only when all of the following are true:
  Occupational Therapy      • the therapy is ordered by a Provider practicing within the scope of their license under an
                               individual treatment plan
                            • the therapy is for restoration of musculoskeletal function that was lost or impaired by injury or
                               illness
                            • the therapy can be reasonably expected to improve the patient's condition through short-term
                               care. Long-term maintenance therapy and group exercise programs are not covered
                            • the therapy is provided by a qualified provider of physical or occupational therapy services. A
                               qualified provider is an individual who is licensed appropriately, performs within the scope of
                               his/her licensure and is recognized by UHA

                            Prior Authorization is required following 32 units (1 unit = 15 minutes) or 8 one hour sessions
                            per calendar year. Payment is limited to 4 units/session (see Section 7: Health Care Services
                            Program)

                            Group exercise programs are not covered.

                            When you receive both occupational and physical therapies, the therapies should provide
                            different treatments and not duplicate the same treatment. Occupational therapy is limited to
                            services to achieve and maintain improved self-care and other customary activities of daily living.
                            Occupational therapy supplies are not covered.

  Prosthetics               Covered, but only when prescribed by your physician.

                            Examples of prosthetics are artificial limbs and eyes. Prosthetics require Prior Authorization
                            (see Section 7: Health Care Services Program) by us when cost is more than $500.

  Routine Care              Covered, in compliance with the Affordable Care Act. If you are eligible to participate in an
  Associated with           approved clinical trial, you are covered for all routine patient costs while enrolled in the trial.
  Clinical Trials           Routine patient costs are all items and services that would be covered under your UHA plan if you
                            were not participating in the clinical trial.

  Speech Therapy            Speech therapy is covered when all of the following are true:
                            • the therapy is ordered by a Provider practicing within the scope of their license under an
                               individualized treatment plan
                            • the therapy is necessary to restore speech or hearing function which was lost or impaired by
                               illness or injury
                            • the therapy is provided by a qualified provider of speech therapy services. A qualified
                               provider is an individual who is licensed appropriately, performs within the scope of his/her
                               licensure and is recognized by UHA
                            • the services are reasonably expected to improve the patient’s condition through short-term
                               care. (Long term maintenance programs are not covered.)
                            • the services require Prior Authorization (see Section 7: Health Care Services Program)

  Telehealth                Health services received via telecommunications (integrated electronic transfer of medical data,
                            including but not limited to real-time video conferencing-based communication, secure interactive


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                            and non-interactive web-based communication, and secure asynchronous information exchange)
                            are covered in accordance with Hawaii law, if they are for otherwise Covered Services under this
                            Agreement and are provided in accordance with generally accepted health care practices and
                            standards prevailing in the applicable professional community in Hawaii. Covered at level
                            applicable to service provided. Standard telephone contacts, facsimile transmissions, or email
                            text, in combination or by itself, do not constitute telehealth services.




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                                                                                                          Services Not Covered



SECTION 6: SERVICES NOT COVERED
Your medical benefits plan does not provide benefits for those procedures, services or supplies that are listed in this section.
Each of the procedures, services and supplies listed below are excluded from your plan.

Even if a service or supply is not specifically listed as an exclusion, it will not be covered unless it is described as a Covered
Benefit in Section 5: Description of Benefits and it meets all of the criteria for payment listed in Section 7: Health Care
Services Program. If you have any questions about whether a specific procedure, service or supply is a covered benefit,
please contact us (see Page 1) and we will assist you.

 Experimental or                    You are not covered for medical treatments, drugs, devices, or care, and all related services
 Investigative Treatment            and supplies, which cannot be designated as being reasonably necessary for your care
                                    relative to other well established available services or equipment, or when the potential
                                    therapeutic benefit of such treatments are judged to be of a degree insufficient to offset the
                                    risk to patient safety and cost. The Prior Authorization process for experimental and
                                    investigative treatments is designed to define and address these issues with consideration
                                    for each member’s individual circumstances.

                                    You are also not covered for the diagnosis and treatment of any complications as a result of
                                    previous experimental or investigative services not covered under this Agreement, regardless
                                    of how long ago such services were performed.

 Non-Routine Care                  You are not covered for any items and services associated with clinical trials except as stated
 Associated with Clinical          in Section 5: Description of Benefits. Non-routine patient costs include the investigational
 Trials                            item, device, or service itself; items solely for data collection; or services clearly inconsistent
                                   with accepted standard of care. These non-covered items and services are usually provided
                                   without cost by the clinical trial.

 FDA Approval Not Obtained          You are not covered for any service or supply that (i) cannot be legally marketed in the
                                    United States without the approval of the Food and Drug Administration (FDA) and such
                                    approval has not been granted; or (ii) is the subject of a current new drug or new device
                                    application on file with the FDA, that has not yet been approved by the FDA.

 Dental Services                    You are not covered for dental services except those services listed in Section 5: Description
                                    of Benefits under the headings “Oral Surgery” and “Orthodontic Treatment for Orofacial
                                    Anomalies.” The following exclusions apply regardless of the symptoms or illnesses being
                                    treated:
                                     • orthodontia
                                     • dental splints and other dental appliances
                                     • dental prostheses
                                     • maxillary and mandibular implants (osseointegration) and all related services
                                     • removal of impacted teeth
                                     • any other dental procedures involving teeth, structures supporting the teeth, or gum
                                          tissues
                                     • any services in connection with the treatment of temporomandibular joint (TMJ)
                                          problems or malocclusion of the teeth or jaw, except for limited medical services related
                                          to the initial diagnosis of TMJ or malocclusion.




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                                                                                                     Services Not Covered

 Drugs                           You are not covered for prescription drugs except as stated in Section 5: Description of
                                 Benefits.

 Vision Services,                You are not covered for vision services, including eyeglasses and contacts, except as stated
 Eyeglasses and Contacts         in Section 5: Description of Benefits. You are not covered for:
                                 • eyeglass and contact lenses
                                 • sunglasses
                                 • frames
                                 • prescription inserts for diving masks or other protective eyewear
                                 • non-prescription industrial safety goggles
                                 • exams for a fitting or prescription, including eye refraction
                                 • refractive eye surgery to correct visual acuity problems
                                 • vision training
                                 • aniseikonic studies and prescriptions
                                 • reading problem studies or other procedures determined to be unusual

 Cosmetic or Reconstructive      You are not covered for cosmetic or reconstructive services, supplies or procedures that are
 Services, Supplies or           primarily intended to improve your natural appearance and do not restore or materially
 Procedures                      improve a physical function. This exclusion applies to cosmetic or reconstructive services for
                                 a psychological or psychiatric reason. You are not covered for reconstructive surgery or
                                 services to correct congenital abnormalities (defects present from birth), unless the anomaly
                                 severely impairs or impedes normal, essential bodily functions.

                                 You are not covered for breast implants (except following mastectomy as described in
                                 Section 5: Description of Benefits), labioplasty, or rhinoplasty. You are not covered for
                                 excision of superficial benign tumors of the skin and subcutaneous tissue.

                                 UHA maintains a list of procedures which are determined to be cosmetic in most cases. For
                                 the most current list of cosmetic procedures, visit our website at uhahealth.com under
                                 “Member Forms”. The list is not exclusive, and UHA will deny coverage for any procedure
                                 determined to be cosmetic, whether or not it is on the list.

 Counseling Services             Except as described in Section 5: Description of Benefits, you are not covered for any
                                 counseling services, including, but not limited to the following:
                                 • bereavement counseling or services of volunteers or clergy
                                 • marriage, couples, or family counseling
                                 • sexual orientation counseling
                                 • parent, or other, training services

                                 You are not covered for nutritional counseling services, except as stated in Section 5:
                                 Description of Benefits.

 Autism Services                 You are not covered for autism services except as stated in Section 5: Description of
                                 Benefits. You are not covered for:
                                     • Care that is custodial in nature
                                     • Services and supplies that are not clinically appropriate
                                     • Services provided by family or household members
                                     • Treatments considered experimental
                                     • Services provided outside of the State of Hawaii


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                                                                                                       Services Not Covered

 Fertility/Infertility           You are not covered for services or supplies related to the diagnosis of infertility.

                                 Except as described in Section 5: Description of Benefits under “Special Benefits for Member
                                 and Covered Spouse,” you are not covered for services and supplies related to the treatment
                                 of infertility. This exclusion includes but is not limited to:
                                 • collection, storage and processing of semen
                                 • ovum transplants
                                 • gamete intrafallopian transfer (GIFT)
                                 • zygote intrafallopian transfer (ZIFT)
                                 • services related to conception by artificial means (such as intrauterine insemination)
                                 • hysterosalpingography
                                 • in vitro fertilization benefits when services of a surrogate or gestational carrier are used

 Reversal of Sterilization       You are not covered for reversal of sterilization.

 Reversal of Vasectomy           You are not covered for reversal of vasectomy.

 Growth Hormone Therapy          You are not covered for human growth hormone therapy except as stated in Section 5:
                                 Description of Benefits.

 Transplant and Donor            You are not covered for:
 Services                        • organ donor services if you are the organ donor
                                 • any expenses of transporting a living donor
                                 • mechanical or non-human organs and services related to them except for artificial hearts
                                     as a bridge awaiting heart transplant
                                 • the purchase of any organ
                                 • services rendered to the living donor for post-transplant donor services
                                 • transplant services or supplies or related services or supplies except as described in
                                     Section 5: Description of Benefits under “Organ Transplants Services.” Related
                                     Transplant Services or Supplies are those that would not meet payment criteria but for
                                     your receipt of the transplant.

 Exclusion by Type of            You are not covered for services or supplies provided by a provider who is a member of your
 Provider                        immediate family, meaning a parent, child, Spouse, Civil Union partner or yourself

 Emergency Room Visits for       You are not covered for any of the costs of care arising from an emergency room visit if your
 Non-Emergencies                 condition does not meet “emergency” standards as defined in Section 5: Emergency Room.

 When Someone Else Is            You are not covered when someone else, including but not limited to any federal, state,
 Responsible For Payment         territorial, municipal, or other government instrumentality or agency, has the legal obligation
                                 to pay for your care, and when, in the absence of this Agreement, you would not be charged.

                                 You are not covered for treatment of illness or injury related to military service when you
                                 receive treatment in a facility operated by an agency of the United States government. You
                                 are not covered for services or supplies that are required to treat an illness or injury received
                                 while you were on active status in the military service.

                                 You are not covered for services or supplies for an injury or illness for which you are entitled
                                 to receive disability benefits or compensation (or forfeit your rights thereto) under any



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                                                                                                      Services Not Covered

                                 Worker’s Compensation or Employer’s Liability Law, or entitled to receive Personal Injury
                                 Protection payment under a no-fault motor vehicle policy.

                                 You are not covered for services or supplies for an injury or illness that is a Third Party
                                 Liability situation, except as stated in Section 10: Coordination of Benefits & Third Party
                                 Liability. We have the right to deny coverage for any claim in a Third Party Liability situation
                                 if you fail to provide us with timely notice of the potential claim.

 Miscellaneous Exclusions

 •   Airline Oxygen              You are not covered for airline oxygen

 •   Air Ambulance               You are not covered for air ambulance benefits provided outside of the State of Hawaii or
                                 between Hawaii and other locations

 •   Biofeedback                 You are not covered for biofeedback or any related diagnostic testing

 •   Bionic Devices              You are not covered for Bionic Devices or related services

 •   Complications of a          You are not covered for the diagnosis and treatment of any complications of a treatment or
     Non-Covered                 procedure which is excluded from coverage under this Agreement, regardless of how long
     Treatment or Procedure      ago such services were performed and regardless of whether you were eligible for coverage
                                 under this Agreement at the time the services were performed. This exclusion applies to
                                 complications related to every category of excluded services under this Agreement.

 •   Complementary and           You are not covered for complementary and alternative medicine except as stated in Section
     Alternative Medicine        5: Description of Benefits. You are not covered for x-rays ordered by non-participating
                                 chiropractors.

 •   Custodial Care              You are not covered for custodial care, sanatorium care, or rest cures provided in a hospital,
                                 skilled nursing facility, or other facility

                                 Custodial care consists of training in personal hygiene, routine nursing services, and other
                                 forms of personal care, such as help in walking, getting in and out of bed, bathing, dressing,
                                 eating and taking medicine. Also excluded are supervising services by a physician or a
                                 nurse for a person who is not under specific medical, surgical, or psychiatric treatment to
                                 improve that person’s condition and to live outside a facility providing this care.

 •   Effective Date              You are not covered for services or supplies that you receive before the effective date of this
                                 coverage, or after the effective date of termination of this coverage

 •   Erectile Dysfunction        You are not covered for services and supplies (including prosthetic devices) related to
                                 erectile dysfunction except if due to an organic cause or to treat gender dysphoria as
                                 described in Section 5: Description of benefits; Gender Identity Services. This includes, but
                                 is not limited to, penile implants. You are not covered for drug therapies related to erectile
                                 dysfunction except certain injectables approved by us to treat erectile dysfunction due to an
                                 organic cause or to treat gender dysphoria as described in Section 5: Description of benefits;
                                 Gender Identity Services.

 •   False Statements            You are not covered for services or supplies obtained due to a false statement or other
                                 misrepresentation made in an application for membership or in any claims for benefits

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                                                                                                      Services Not Covered


                                 If we pay such benefits to you or a provider before learning of any false statement or other
                                 misrepresentation, you are responsible for reimbursing us.

 •   Foot Orthotics              You are not covered for foot orthotics except for diabetic conditions and fractures

 •   Hair Loss and Baldness      You are not covered for services and supplies, including hair transplants and topical
                                 medications, for the treatment of male and female pattern hair loss or baldness

 •   Home Health and             You are not covered for home health and hospice services except as stated in Section 5:
     Hospice                     Description of Benefits

 •   Massage Therapy             You are not covered for massage therapy services except when provided within the course of
                                 rehabilitative services as defined in Section 5: Description of Benefits; Physical and
                                 Occupational Therapy.

 •   Medical Equipment and       You are not covered for equipment and appliances that are not primarily medical in nature
     Appliances                  such as environment control equipment or supplies (e.g. air conditioners, humidifiers,
                                 dehumidifiers, air purifiers or sterilizers, water purifiers, vacuum cleaners, supplies such as
                                 filters, vacuum cleaner bags and dust mite covers); hygienic equipment; exercise equipment;
                                 items primarily for participation in sports or leisure activities, and education equipment except
                                 as stated in Section 5: Description of Benefits

 •   Medical Foods               You are not covered for medical foods and low protein modified food products except as
                                 stated in Section 5: Description of Benefits

 •   Miscellaneous Supplies      You are not covered for miscellaneous supplies billed separately by your provider. This
                                 includes but is not limited to gauze, batteries, surgical trays, diapers, and tape

 •   Motor Vehicle Accident      You are not covered for injuries or illness due to a motor vehicle accident (including arising
                                 from operation, maintenance or use of a motor vehicle), except for medical costs exceeding
                                 the personal injury protection mandatory coverage amount specified by state law, as
                                 described in Section 10: Coordination of Benefits & Third Party Liability

 •   Motor Vehicles              This plan does not cover the cost of purchase or rental of motor vehicles, such as cars or
                                 vans, or the equipment and costs associated with converting a motor vehicle to
                                 accommodate a disability

 •   Naturopathy                 You are not covered for medical treatments, drugs, devices, care, or ancillary services (to
                                 include laboratory testing and imaging) that are not the most appropriate delivery or level of
                                 service, or are not known to be effective in improving health outcomes

 •   Orthotics                   You are not covered for orthotics management and training

 •   Personal Convenience        You are not covered treatments, services or supplies that are prescribed, ordered or
     Items                       recommended primarily for your comfort or convenience, or the comfort or convenience of
                                 your provider or caregiver. Such items may include home remodeling, hot tubs, ramps,
                                 swimming pools, or personal supplies such as surgical stockings and disposable underpads

 •   Physical Examinations       Physical examinations specifically for job-related or sports program-related purposes are not
                                 covered

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                                                                                                      Services Not Covered



 •   Physical and                You are not covered for physical and occupational therapy except as stated in Section 5:
     Occupational Therapy        Description of Benefits. You are not covered for occupational therapy supplies

 •   Preventive Care             You are not covered for preventive care services except as stated in Section 5: Description of
                                 Benefits

 •   Private Duty Nursing        You are not covered for private duty nursing services

 •   Repair/Replacement          You are not covered for the replacement of hearing aids lost or broken within five years from
                                 the date of purchase. You are not covered for replacement, or repairs and maintenance of
                                 medical equipment and appliances except as stated in Section 5: Description of Benefits

 •   Reversal of Gender          You are not covered for reversal of gender reassignment surgery, except in the case of a
     Reassignment Surgery        serious medical barrier to completing gender reassignment or the development of a serious
                                 medical condition requiring a reversal

 •   Self-Help or Self-Cure      You are not covered for self-help and self-cure programs and equipment. You are not
                                 covered for the educational programs or other services performed by mutual self-help
                                 groups, even if you are referred to such groups by your provider or the judicial system.

 •   Skilled Nursing             You are not covered for skilled nursing services except as stated in Section 5: Description of
                                 Benefits

 •   Social Work Services        You are not covered for treatment provided by a social worker except as defined in Section 5:
                                 Description of Benefits; Mental Health and Substance Abuse Services

 •   Speech Therapy              You are not covered for speech therapy except as stated in Section 5: Description of Benefits

 •   Stand-by Time               You are not covered for a provider’s waiting or stand-by time

 •   Third Party Liability       You are not covered for services or supplies for an injury or illness that is a Third Party
                                 Liability situation, except as stated in Section 10: Coordination of Benefits & Third Party
                                 Liability. We have the right to deny coverage for any claim in a Third Party Liability situation
                                 if you fail to provide us with timely notice of the potential claim.

 •   Travel or Lodging           You are not covered for the costs of travel or lodging
     Costs

 •   Weight Reduction            You are not covered for weight reduction programs and supplies (including dietary
     Programs                    supplements, food, equipment, laboratory testing, examinations, and drugs), whether or not
                                 weight reduction is medically appropriate.

 •   Wigs                        You are not covered for wigs




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SECTION 7: HEALTH CARE SERVICES PROGRAM
 Payment Determination           In order for us to pay for a covered service, all of the following payment determination criteria
 Criteria                        must be met
                                 • the service must be listed as a covered benefit and not be excluded as a benefit by this
                                      plan
                                 • the service must be medically necessary for the diagnosis or treatment of your illness or
                                      injury
                                 • the service must be provided in an appropriate setting and at an appropriate level of care
                                 • when required under this plan, the service must be prior authorized

                                 The fact that a physician or other provider may prescribe, order, recommend, or approve a
                                 service or supply does not in itself mean that the service or supply meets these payment
                                 criteria, even if the service or supply is listed as a covered service in this Agreement.

 Medical Payment Policies        Additional and more clinically specific information about your coverage may be obtained by
                                 reviewing our Medical Payment Policies with your healthcare provider. They may be found
                                 on our website at uhahealth.com.

 The Health Care Services        It is the responsibility of the Health Care Services department to determine if a recommended
 Department                      service is medically necessary.

 Medically Necessary             This plan pays benefits for services that are covered benefits under the member’s health plan
                                 and that are medically necessary.

                                 In making the determination of medical necessity, UHA follows the definition established in
                                 Hawaii Revised Statutes (sect. 432E-1.4):

                                  “(a) For contractual purposes, a health intervention shall be covered if it is an otherwise
                                 covered category of service, not specifically excluded, recommended by the treating licensed
                                 health care provider, and determined by the health plan's medical director to be medically
                                 necessary as defined in subsection (b). A health intervention may be medically indicated and
                                 not qualify as a covered benefit or meet the definition of medical necessity. A managed care
                                 plan may choose to cover health interventions that do not meet the definition of medical
                                 necessity.
                                 (b) A health intervention is medically necessary if it is recommended by the treating physician
                                 or treating licensed health care provider, is approved by the health plan's medical director or
                                 physician designee, and is:
                                       (1) For the purpose of treating a medical condition;
                                       (2) The most appropriate delivery or level of service, considering potential benefits and
                                       harms to the patient;
                                       (3) Known to be effective in improving health outcomes; provided that:
                                            (A) Effectiveness is determined first by scientific evidence;
                                            (B) If no scientific evidence exists, then by professional standards of care; and
                                            (C) If no professional standards of care exist or if they exist but are outdated or
                                            contradictory, then by expert opinion; and
                                       (4) Cost-effective for the medical condition being treated compared to alternative health
                                       interventions, including no intervention. For purposes of this paragraph, cost-effective
                                       shall not necessarily mean the lowest price.”



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 Health Care Services Tools      To assure to the extent possible that a recommended service is medically necessary, UHA
                                 utilizes three levels of case review and management: concurrent review, Prior
                                 Authorization and retrospective review. All participating providers agree to cooperate with
                                 UHA in its efforts to make these determinations on your behalf. To be successful we need
                                 your cooperation.

 Prior Notification of           To work effectively, UHA must be aware of services recommended by your provider that
 hospital admissions and         require hospitalization, that are likely to require ongoing care after discharge and which may
 concurrent review               require services or supplies to facilitate discharge from the hospital.

                                 Once UHA is made aware of a member’s hospitalization, Health Care Services Nurses
                                 monitor your care, concurrently assisting with discharge planning and case management. In
                                 order for this review process to work for your benefit, UHA requires that you or your providers
                                 notify the Health Care Services Department:
                                 • at least 72 hours in advance of elective admission to a hospital or rehabilitation facility
                                 • for provision of any Substance Abuse Services

                                 If you are under the care of a non-participating provider, you are responsible for providing
                                 Prior Notification.

 Prior Authorization             Prior authorization is a special pre-approval process to ensure that certain treatments,
                                 procedures, or supplies are medically necessary covered services.

                                 In determining whether to provide prior authorization, we may use guidelines that include
                                 clinical standards, protocols, or criteria regarding treatment of specific conditions or providing
                                 certain services or supplies. If you are requesting prior authorization and want a copy of any
                                 guidelines that we use for a particular condition or treatment, contact our Health Care
                                 Services department at the address below.

                                 Those services that require prior authorization are listed below. If you are under the care of a
                                 UHA participating provider, he or she should obtain our prior authorization for you and he or
                                 she will accept any penalties for failure to obtain authorization. If you are under the care of a
                                 non-participating provider, you are responsible for obtaining prior authorization. If you do not
                                 obtain prior authorization, benefits may be denied.

                                 Penalties for not obtaining prior authorization do not apply toward meeting the annual
                                 maximum out-of-pocket.

 How to Obtain Prior             Prior authorization may be requested by writing or faxing the request to UHA’s Health Care
 Authorization                   Services department at:

                                          UHA
                                          Health Care Services Department
                                          700 Bishop Street, Suite 300
                                          Honolulu, HI 96813-4100

                                          Phone: 532-4006 (or 1-800-458-4600, extension 300, from the neighbor islands)
                                          Fax: (866) 572-4384

                                 The Health Care Services department is open from 8:00 a.m. to 4:00 p.m. Monday through
                                 Friday.

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                                 Prior Authorization Request forms may be downloaded from our website: uhahealth.com.

                                 If you submit a request without use of this form, your request for prior authorization must
                                 include the following information:
                                 • member name, address, birthdate, and UHA member number
                                 • requesting provider’s name, specialty, phone and fax numbers
                                 • information about the member’s other health insurance, if any
                                 • name of the provider of requested service
                                 • name of the facility where the requested service will be performed
                                 • diagnoses, procedures, and supporting medical information
                                 • information whether the member’s condition is employment- or automobile-related
                                 • if the prior authorization is for a drug override: the name of the drug and the reason for
                                      the override
                                 • provider acknowledgment that the requested service meets the definition of medically
                                      necessary as specified in the glossary of this Guide

                                 You must provide sufficient information to allow us to make a decision regarding your
                                 request. If you do not provide the information we request, or if the information you provide
                                 does not show entitlement to coverage under this plan, your request may be denied.

                                 If you want to designate a representative to make a request for prior authorization on your
                                 behalf, you may do so by filing an Authorization For Release of Information form with us.
                                 Contact us at the phone number above for an authorization form. If a healthcare provider
                                 with knowledge of your condition makes a request for an expedited decision on your behalf,
                                 we do not require an Authorization For Release of Information form from you.

 Our Decision on your            We will make a decision on your request for prior authorization within 15 days of receipt of
 Request                         your request.

                                 This period may be extended if you fail to submit information necessary for us to determine
                                 your request, and in that event we will tell you what additional information we need and will
                                 provide you at least 45 days after our notice to provide us the additional information. We
                                 may also extend this period one time for up to 15 days, if the extension is necessary for
                                 reasons beyond our control, and in that event we will notify you of the circumstances
                                 warranting extension and the date by which we plan to render a decision. If we denied the
                                 request or any part of it, we will provide an explanation, including the specific reason for
                                 denial and reference to the health plan terms on which our denial is based. If you disagree
                                 with our denial, you may file an appeal in accordance with the appeal procedures in Section
                                 9: If You Disagree With Our Decision.

                                 If your health or ability to regain maximum function could be seriously harmed by waiting 15
                                 days for a decision, then you or your provider may make a request for an expedited decision
                                 on prior authorization. If we find, or your treating physician states, that your health or ability
                                 to regain maximum function could be seriously harmed by waiting 15 days for a decision,
                                 then we will make a decision within 72 hours of receipt of your request for expedited decision
                                 and all required information.

                                 You may make your request for an expedited review orally or in writing at the contact
                                 information listed above. The information we require to process your request includes the


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                                   same information as required on our Prior Authorization Request form, as described above.
                                   If you qualify for an expedited decision but we do not have sufficient information on which to
                                   make an expedited decision, we will inform you within 24 hours of our receipt of your request
                                   and will provide you at least 48 hours to provide us the required information.

The following list summarizes UHA’s prior authorization requirements. These requirements are subject to change. You may
contact UHA’s Health Care Services department at 532-4006 (or 1-800-458-4600, extension 300, from the neighbor islands)
for the most current list, or review the list on our website at uhahealth.com. UHA requires that all participating providers
participate with its prior authorization, concurrent, and retrospective review activities.

We will make a decision on your request for prior authorization within 15 days of receipt of your request.

Note: Penalties for not obtaining prior authorization do not apply toward meeting the Annual Maximum Out-of-
Pocket.

THE FOLLOWING SERVICES REQUIRE PRIOR AUTHORIZATION:
    Inpatient and Ambulatory (Outpatient) Surgical Procedures
    • All ablative treatment for atrial fibrillation
    • Ambulatory surgery proposed to be done in an inpatient setting
    • Anesthesia services for gastrointestinal endoscopy
    • Arthroscopy, hip, surgical; with removal of loose body or foreign body – with femoroplasty, acetabuloplasty, or labral
        repair
    • Artificial disc insertion in cervical spine (lumbar NON-COVERED)
    • Autologous chondrocyte implantation (knee)
    • Bariatric surgery
    • Blepharoplasty and repair of blepharoptosis
    • Cardiac catheter ablation procedures
    • Electromagnetic navigation bronchoscopy
    • Emerging technology (T codes)
    • Gender identity reconstructive surgery
    • Hepatic resection, radiofrequency ablation and cryotherapy; chemoembolization, and microsphere radiocolloid
        infusion/embolization
    • Hyperbaric oxygen treatment
    • Intrasomal corneal ring segments
    • In vitro fertilization services
    • Kyphoplasty and vertebroplasty
    • Lung volume reduction
    • Organ, bone marrow, and stem cell transplant services: transplant evaluations, organ donor services, transplant
        procedures
    • Osteochondral allograft
    • Panniculectomy and abdominoplasty
    • Photodynamic therapy for actinic keratoses and other skin lesions (Limitations and guidelines apply)
    • Prophylactic mastectomy
    • Radiofrequency ablation of miscellaneous solid tumors (Limitations and guidelines apply)
    • Reduction mammaplasty (not related to breast reconstruction following mastectomy for cancer)
    • Rhinectomy; partial
    • Sleep apnea treatment (See Sleep Apnea Medical Payment Policies for limitations and guidelines)
    • Spinal cord stimulator for pain management
    • Spinal injections for pain management

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THE FOLLOWING SERVICES REQUIRE PRIOR AUTHORIZATION (continued):
    •   Stereotactic radiosurgery (SRS) and fractionated stereotactic body radiotherapy (SRBT)
    •   Thoracic sympathectomy for hyperhidrosis
    •   Tissue-engineered skin substitutes (Limitations and guidelines apply)
    •   Transcatheter mitral valve repair
    •   Transcatheter pulmonary valve implantation
    •   Transmyocardial laser revascularization
    •   Treatment of hepatic neoplasms that are being considered for treatment outside of systemic chemotherapy alone
    •   Treatment of operable prostate cancer
    •   Treatment of varicose veins (Limitations and guidelines apply)

    COSMETIC PROCEDURES ARE NON-COVERED SERVICES. For the most current list of cosmetic procedures, visit our
    website at uhahealth.com under “Member Forms”. If a procedure or service could conceivably be considered to be
    cosmetic or investigational in nature, a prior authorization review is required. If a denial for services is issued and
    complications result in additional medical procedures, members may be financially responsible for those additional
    services.

    Diagnostic Testing and Radiology Procedures
    • Charged-particle (Proton or Helium Ion) radiation therapy
    • CTCA – Computerized Tomography of the Coronary Arteries (computed tomography, heart, without contrast
        material, with quantitative evaluation of coronary calcium is NON-COVERED)
    • CCTA – Coronary Computed Tomography Angiography
    • Genetic testing (CYP450 genotyping does not require Prior Authorization, but limitations and guidelines apply)
    • Oncotype DX
    • PET scans
    • Psychological testing
    • Sleep studies (See Sleep Apnea Medical Payment Policies for limitations and guidelines)
    • Virtual colonoscopy (Limitations and guidelines apply)

    Medical Equipment and Appliances and Supplies
    • Continuous glucose monitoring system
    • Custom fabricated medical items
    • External insulin pump
    • Home ventilator
    • Medical equipment and appliances purchase greater than $500
    • Medical equipment and appliances rental greater than $100/month
    • Negative pressure wound therapy
    • Oscillatory device for bronchial drainage
    • Oxygen and oxygen equipment for home use
    • Positive airway pressure devices for the treatment of obstructive sleep apnea
    • Power mobility devices and push-rim activated power assist devices
    • Pulse oximeter for home use (children and adult)
    • Repair and maintenance of medical equipment and appliances
    • Spinal cord stimulators for pain management
    • Wheelchairs: pediatric and adult




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THE FOLLOWING SERVICES REQUIRE PRIOR AUTHORIZATION (continued):
    Out-Of-State Services
    • For members living in Hawaii, ALL out-of-state requests (require at least 2 weeks for processing)
    • For members on the mainland, in addition to services listed here: ALL ASC or hospital based elective procedures,
        ALL advanced imaging

    Prosthetics
    • Prosthetics with cost greater than $500
    • Endoskeletal knee-shin system

    Rehabilitative Services
    • Habilitative services
    • Intensive Cardiac Rehabilitation (Ornish) (Prior Authorization required for participation in the program. No Prior
       Authorization needed for referral for initial evaluation)
    • Physical and occupational therapy (following 32 units [1 unit = 15 minutes] or 8 sessions; per calendar year)
       Payment is limited to 4 units/session
    • Residential treatment for chemical dependence (only for facility non-participating providers and out-of-state
       treatments)
    • Speech therapy
    • Applied behavior analysis for autism spectrum disorders (See ABA policy for limitations and guidelines)

    Home Health Services
    • Home health services after the first 12 visits
    • Home oxygen therapy (after initial three months only)
    • Home total parenteral nutrition for adults
    • Home IV antibiotic therapy when not ordered and supervised by Infectious Diseases Specialist

    Miscellaneous Services
    • Cologuard as a choice for Colorectal Cancer Screening (Limitations and guidelines apply)
    • Growth hormone therapy
    • Hepatitis C treatment (Limitations and guidelines apply)
    • Orthodontic services for orofacial anomalies
    • Oral surgery
    • Gender identity services
    • Experimental and investigational services

    PRESCRIPTION DRUG PRIOR AUTHORIZATION
    For a list of prescription medications that require prior authorization, please refer to our website at uhahealth.com under
    “List of Drugs that Require Prior Authorization”

THE FOLLOWING SERVICES REQUIRE ADVANCE NOTIFICATION:
    Elective Hospital Admissions
    72 hours advance notification is required for elective hospital admissions (including skilled nursing facilities and
    rehabilitation facilities) when possible. UHA requires notification of emergency and non-elective admissions within one (1)
    business day of admission.

    Chemical Dependency/Substance Abuse Residential Treatment
    72 hours advance notification is required for chemical dependency/substance abuse treatment.



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                                                                                          Health Care Services Program



OTHER HEALTH CARE SERVICES PROGRAMS:
 Retrospective Review            All claims for reimbursement are subject to retrospective review to determine if the services
                                 provided were:
                                 • covered benefits,
                                 • medically necessary, and
                                 • provided in an appropriate setting at an appropriate cost, and
                                 • for a person properly eligible to receive benefits under this Agreement.

                                 This includes claims for services provided in an Emergency Department. To determine if
                                 these visits are covered, UHA uses the definition of Emergency Services provided in Hawaii
                                 Revised Statutes (sect. 432E-1) and in the Glossary of this document.

                                 If it is determined that an emergency room visit does not meet this standard, payment for
                                 these benefits will be denied. In this circumstance, members may be billed by the provider
                                 for payment for those services.




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                                                                                                              Filing Claims


SECTION 8: FILING CLAIMS FOR PAYMENT
 Filing Claims              When you receive services from any provider, be sure to show them your UHA Identification
                            Card.

                            When you visit a UHA participating provider, the provider will file a claim for payment on your
                            behalf. We will send payment to the provider and we will send you an Explanation of Benefits
                            (EOB).

                            When you visit a Non-Participating Provider, the provider may file a claim on your behalf or give
                            you the claim to file with UHA. The provider of service must sign the claim form. We will send
                            payment to you along with a Remittance Advice (RA).

                            In no event will the amount we pay to a non-participating provider exceed the amount which we
                            would pay to a comparable participating provider for like services rendered.

                            If we require any additional information, such as medical records or reports, in order to process
                            the claim, we will request the information from the provider. We will not pay the claim unless we
                            receive all necessary information.

                            We will not pay claims for services that are not Covered benefits or were not actually received.

                            If you have any questions after reading this section, please contact your personnel department, or
                            call us. Our telephone number appears in the front of this guide.

 Payment Determination      In order for us to pay for a covered service, all of the following payment determination criteria
 Criteria                   must be met:
                            • the service must be listed as a covered benefit and not be excluded as a benefit by this plan
                            • the service must be medically necessary for the diagnosis or treatment of your illness or
                                 injury
                            • the service must be provided in an appropriate setting and at an appropriate level of care
                            • when required under this plan, the service must be prior authorized

                            The fact that a physician or other provider may prescribe, order, recommend, or approve a
                            service or supply does not in itself mean that the service or supply meets these payment criteria,
                            even if the service or supply is listed as a covered service in this Agreement.

 Information Required       Any claim for services submitted to us for payment must include the following information:
 on a Claim                 • your subscriber number, which appears on your membership Identification Card
                            • the provider’s full name and address
                            • the patient’s name
                            • the date(s) services were received
                            • the date of injury or beginning of an illness
                            • the charge for each service (in U.S. currency)
                            • a description of each service (UHA uses the nationally accepted CPT-4 and HCPCS
                                procedure codes)
                            • a diagnosis or type of illness or injury (UHA uses the nationally accepted ICD-10 diagnostic
                                codes)
                            • the location where you received the service (office, outpatient center, hospital, etc.)
                            • if applicable, information about any other health coverage you have

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                                                                                                              Filing Claims


                            The provider’s signature must be on the claim. The claim must be in English. Receipts are not
                            acceptable. We have a right to require that you provide sufficient information to allow us to make
                            a decision regarding your claim. If you do not provide the information we request, or if the
                            information you provide does not show entitlement to coverage under this plan, your claim may
                            be denied.

                            To be eligible for payment, service codes must conform to nationally accepted coding standards.

 Where to Send Claims       Claims should be sent to:
                                    UHA
                                    700 Bishop Street, Suite 300
                                    Honolulu, HI 96813

 Late Claims                Claims should be submitted to us as soon as possible after the date of service. All claims for
                            payment for services must be filed with UHA within one year of the date of service. We will not
                            make payment on any claim received more than one year after the date on which you received
                            the service.

 Explanation of Benefits    Explanation of Benefits (EOB) are generated after your claim has been processed. You have
                            access to them via our member portal, which is through our website at uhahealth.com. The EOB
                            tells you how we processed the claim, including the services performed, the amount charged, our
                            eligible charge, the amount we paid, and the amount, if any, that you owe. If we denied the claim
                            or any part of it, the EOB will provide an explanation for the denial.

                            Be sure to keep your EOB for filing with your secondary insurance carrier when applicable.

                            If you would like your EOBs mailed to you, have any questions about the document, or think that
                            we made an error in paying a claim, please call or write to Customer Services (see page 1). If
                            after contacting Customer Services you are not satisfied and think that we made an error in
                            determining benefits or paying your claim, you may request a formal review by writing to us.
                            Please refer to Section 9: If You Disagree With Our Decision for information on how to file an
                            appeal.




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                                                                                                            If You Disagree



SECTION 9: IF YOU DISAGREE WITH OUR DECISION
 Requesting Informal        If you are dissatisfied with the services you receive under this plan or if you believe that we
 Reconsideration of an      incorrectly denied a claim, paid an incorrect amount, incorrectly determined that a service is not a
 Adverse Decision           Covered Benefit, or incorrectly rescinded your coverage under this plan, you may contact
                            Customer Services and explain your concern (see page 1). If we cannot resolve your concern on
                            the telephone, the Representative will refer it for informal reconsideration and inform you of the
                            decision as promptly as possible.

                            Requests or referrals for an informal reconsideration must be made within one year of the date
                            you were informed of the adverse decision.

                            If you are dissatisfied with a denial which was based in whole or in part on a medical judgment,
                            including determinations of whether a procedure was experimental or investigational, or whether it
                            was medically necessary or appropriate, your informal reconsideration is limited to a peer-to-peer
                            clinical review (telephonic, in person, or electronically) between UHA and the treating provider.
                            For a peer-to-peer clinical review, you may contact UHA’s Health Care Services department.

                            Requests for a peer-to-peer clinical review must be made within one month of the date you were
                            informed of the adverse decision.

 Requesting a Formal        If you are not satisfied with the response to your concern, or do not wish to request informal
 Appeal                     reconsideration under the above procedure, you may appeal the decision by writing to:

                                        Appeals Coordinator
                                        UHA
                                        700 Bishop Street, Suite 300
                                        Honolulu, HI 96813-4100

                            We must receive your written appeal within one year of the date that UHA informed you of the
                            decision you wish to appeal. The appeal should include the following information:
                            • the date of your request
                            • your name and member identification number from your identification card
                            • the date of service you believe we denied or paid in error, or the date of the contested action
                                or decision
                            • provider name
                            • a description of the facts related to your appeal and why you believe our action or decision
                                was in error
                            • any other details about your appeal. This may include written comments, documents, and
                                records relating to your appeal you would like us to review

                            You should keep a copy of the request for your records. It will not be returned to you.

                            Upon your written request to the address above, you will be provided:
                            • a free copy of all documents, records, and information relevant to your claims for benefits, or
                               rescission of coverage, as defined by federal ERISA rules
                            • any rule, guideline, or protocol we relied upon in making the decision at issue



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 Who May Request an         You or your authorized representative may request an appeal. Authorized representatives
 Appeal                     include:
                            • any person you authorize to act on your behalf as long as you follow our procedures. This
                                 includes filing a form with us. To get a form to authorize a person to act on your behalf,
                                 please call Customer Services. (Requests for appeal from an authorized representative who
                                 is a provider must be in writing unless you are asking for an expedited appeal)
                            • a court-appointed guardian or agent under a health care proxy
                            • a person authorized by law to provide substituted consent for you or to make health care
                                 decisions on your behalf
                            • a family member or your treating health care professional if you are unable to provide
                                 consent

 Appeal of Our              If your appeal concerns a UHA denial which was based in whole or in part on a medical judgment,
 Decisions                  including determinations of whether a procedure was experimental or investigational, or whether it
                            was medically necessary or appropriate, we will respond within 30 days of our receipt of your
                            appeal. We will respond to your appeal within 60 days of our receipt of your appeal for all other
                            appeals.

                            Unless you qualify for expedited external review of our initial decision, before requesting external
                            review, you must have exhausted UHA’s internal appeals process or show that UHA violated
                            federal rules related to claims and appeals unless the violation was 1) de minimis; 2) non-
                            prejudicial; 3) attributable to good cause or matters beyond UHA’s control; 4) in the context of an
                            ongoing good-faith exchange of information; and 5) not reflective of a pattern or practice of non-
                            compliance.

 Expedited Appeals          You may request an expedited appeal if the standard time (30 or 60 days, as set forth above) for
                            completing an appeal would
                             • seriously jeopardize your life or health,
                             • seriously jeopardize your ability to regain maximum functioning, or
                             • subject you to severe pain that cannot be adequately managed without the care or treatment
                                requested

                            Expedited appeals are only appropriate when a denial affects care that is in progress or to be
                            initiated. Expedited appeals do not apply to payment denials for services already rendered.

                            You may make your request for expedited appeal by calling UHA’s Health Care Services
                            department at 808-532-4006 (or 1-800-458-4600, extension 300, from the neighbor islands).

                            If a health care provider with knowledge of your condition makes a request for an expedited
                            appeal on your behalf, we do not require a written authorization from you.

                            If we determine, or your health care provider states, that the above standards for expedited
                            appeal are met, we will respond to your request for expedited appeal within 72 hours.

                            You may request expedited external review of our initial decision if you have requested an
                            expedited internal appeal and the adverse benefit determination involves a medical condition for
                            which the completion of an expedited internal appeal would meet the requirements above.

                            The process for requesting an expedited external review is discussed below.



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 Appeals Committee          UHA’s Appeals Committee will review your appeal request. We will notify you in writing of the
                            decision within the time frames specified above.

                            Your appeal will be reviewed by staff not involved in the original decision (nor a subordinate to the
                            original decision maker) and will not give deference to the initial decision. If the appeal concerns a
                            matter of medical judgment about an otherwise covered category of service that is not expressly
                            excluded by the member’s plan, it will be reviewed by an independent licensed practitioner with
                            appropriate expertise and experience in the field of medicine involved in the medical judgment,
                            and who was not previously consulted in connection with the original decision. The review will
                            take into account all comments, documents, records, and other information submitted by you or
                            your authorized representative relating to the claim, or considered as relevant by UHA, without
                            regard to whether such information was submitted or considered in the initial benefit
                            determination.

                            If we consider, rely upon or generate any new or additional evidence in our appeal review, we will
                            provide you, free of charge, that evidence as soon as possible and sufficiently in advance of the
                            date our decision on appeal is due to provide you a reasonable opportunity to respond prior to
                            that date.

                            If we intend to base our decision on appeal on a new or additional rationale, we will provide you,
                            free of charge, the rationale as soon as possible and sufficiently in advance of the date our
                            decision on appeal is due to provide you a reasonable opportunity to respond prior to that date.

                            If our appeal decision denies your request or any part of it, we will provide an explanation,
                            including an identification of the claim or service denied, the specific reason for denial, reference
                            to the health plan terms on which our decision is based, a statement of your external review
                            rights, and other information regarding our denial. The notice to you of our decision will also
                            include the date of service, the health care provider, and the claim amount. Upon request, we will
                            also provide the treatment and diagnosis codes for the claim and their corresponding meanings.
                            You may request this information by contacting Customer Services.

 If You Disagree with       If UHA has denied a request for coverage based on medical necessity, appropriateness, health
 Our Appeals Decision       care setting, level of care or effectiveness, or on the basis that the service requested is
 Regarding Medical          experimental or investigational, and you disagree with the decision, you may request external
 Necessity and              review of the decision by a physician reviewer selected by an independent review organization.
 Experimental or            The request must be in writing and must be received by the Insurance Commissioner of the State
 Investigational            of Hawaii within 130 days from the date of the letter notifying you of UHA’s decision. The request
 Services                   should be submitted to:

                                        Hawaii Insurance Division
                                        Attn: Health Insurance Branch – External Appeals
                                        335 Merchant Street, Room 213
                                        Honolulu, HI 96813
                                        Telephone: 808-586-2804

                            Your request for external review must include: (1) a copy of the adverse benefit determination you
                            wish to have reviewed; (2) a signed authorization for release of your medical records relevant to
                            the review; (3) a disclosure for conflicts of interest; and (4) a filing fee of $15, which will be
                            reimbursed if the decision is reversed on external review. The authorization and disclosure forms
                            are available on UHA's website (uhahealth.com) or by calling Customer Service (see page 1).


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                            The Commissioner may waive the filing fee if payment of the fee would impose a financial
                            hardship. You are not required to pay more than $60 in any plan year.

                            UHA will pay for the services of the independent review organization and its physician reviewer if
                            you make a timely request.

                            If the decision that is the subject of the external review is based on a determination by UHA that
                            the service is experimental or investigational, your request for external review must also include a
                            written certification from your treating physician that standard health care services or treatments
                            have not been effective in improving your medical condition or are not medically appropriate for
                            you, or that there is no available standard health care service or treatment covered by UHA that is
                            more beneficial than the service or treatment that is the subject of the external review. Your
                            treating physician must certify in writing that the service recommended is likely to be more
                            beneficial to you, in the physician’s opinion, than any available standard health care service or
                            treatment, or your licensed, board certified or board eligible physician must certify in writing that
                            scientifically valid studies using accepted protocols demonstrate the service that is the subject of
                            the external review is likely to be more beneficial to you than any available standard health care
                            services or treatment.

                            You will be notified by the Insurance Division when an independent review organization (“IRO”) is
                            assigned your external review. You may submit additional written information to the IRO at the
                            address provided in the notice. The IRO shall consider any additional information submitted
                            within five (5) business days after you receive the notice, and may consider additional information
                            received after that date. If any additional information is submitted, it will be shared with UHA in
                            order to give UHA an opportunity to reconsider its denial.

                            The IRO will be provided all information considered by UHA (including any prior submissions by
                            you) in making the decision that is the subject of the external review, your request for external
                            appeal and any accompanying documentation you provided with your request, and any other
                            documentation deemed pertinent by us. The IRO will render a decision within 45 days of its
                            receipt of the request for external review.

 Expedited External         You may request expedited external review by the IRO of a final adverse determination involving
 Review of Decisions        issues of medical necessity: (1) if you have a medical condition for which the completion of a
 Based on Medical           standard external review would seriously jeopardize your life, health or ability to regain maximum
 Necessity or               functioning, or would subject you to severe pain that cannot be adequately managed without the
 Experimental or            care or treatment that is the subject of the external review; or (2) if the final adverse determination
 Investigational            concerns an admission, availability of care, continued stay, or health care services for which you
 Services                   received emergency services, provided you have not been discharged from a facility for health
                            care services related to the emergency services.

                            If the decision that is the subject of the external review is based on a determination by UHA that
                            the service is experimental or investigational, you may request expedited external review if your
                            treating physician certifies, in writing, that the health care service or treatment that is the subject
                            of the request would be significantly less effective if not promptly initiated. You may make your
                            request orally, but it must be followed promptly by your treating physician’s written certification.

                            Immediately upon being notified of a request for expedited external review, UHA and the
                            Commissioner will review the request and determine whether you are eligible for expedited
                            external review. If you are not eligible for expedited external review, the Commissioner will notify
                            you and us as soon as possible. If the external review is accepted as an expedited review, UHA

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                            will provide the IRO with all documents and information it considered in making the decision that
                            is the subject of the expedited external review. The IRO will provide notice of the final external
                            review decision as soon as the medical circumstances require but not more than 72 hours after
                            the external reviewer receives the request for expedited external review of a medical necessity
                            determination or not more than 7 days for a decision regarding experimental or investigational
                            services. The notice of the external review decision may initially be provided orally but must be
                            confirmed in writing by the reviewer within 48 hours of the oral notice.

                            The IRO’s decision regarding the issue in the external review shall be binding on you and us
                            except to the extent that the other remedies may be available to either you or us under applicable
                            State or Federal law. If you elect to have a review by an IRO, then the parties waive their right to
                            an arbitration for the services in question.

 Other Procedures for       If UHA’s decision was based on a determination other than one of medical necessity,
 External Review            appropriateness, health care setting, level of care or effectiveness, or on the basis that the
                            service requested is experimental or investigational, and you disagree with the decision, or if
                            UHA’s decision was based on medical necessity or on the basis that the service is experimental
                            or investigational but you elected not to request review by an IRO, you may either 1) request
                            binding arbitration before a mutually selected arbitrator, or 2) file a lawsuit against UHA under
                            section 502(a) of ERISA. If you do not know whether your plan is subject to ERISA, contact your
                            plan administrator.

 Arbitration                If you select arbitration, you must submit a written request for arbitration to:

                                        Appeals Coordinator
                                        UHA
                                        700 Bishop Street, Suite 300
                                        Honolulu, HI 96813-4100

                            Your request for binding arbitration will not affect your rights to any other benefits under this plan.
                            You must have complied with UHA’s appeals procedures as described above and we must
                            receive your request for arbitration within one year of the date of the letter notifying you of UHA’s
                            decision. In arbitration, one person (the arbitrator) reviews the positions of both parties and
                            makes the final decision to resolve the disagreement. The arbitration is binding and the parties
                            waive their right to a court trial and jury.

                            Before arbitration actually starts, both parties (you and UHA) must agree on the person to be
                            arbitrator. The arbitration will be administered by Dispute Prevention and Resolution, and the
                            arbitrator will be selected from its panel of neutrals. If we both cannot agree within 30 days of
                            your request for arbitration, either party may ask a court of appropriate jurisdiction to appoint an
                            arbitrator. There shall be no consolidation of parties in arbitration.

                            The arbitration hearing shall be in Hawaii. The questions for the arbitrator shall be whether we
                            were in violation of the law, or acted arbitrarily, capriciously, or in abuse of our discretion. The
                            arbitration shall be conducted in accord with the Hawaii Arbitration Act, HRS Chapter 658A, and
                            the arbitration rules of Dispute Prevention and Resolution, to the extent not inconsistent with that
                            Act or this Agreement.

                            The arbitrator will make a decision and will give both parties a copy of this decision. The decision
                            of the arbitrator is final and binding and no further appeal or court action can be taken except as
                            provided under the Hawaii Arbitration Act.

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                            The arbitrator’s fees and costs will be shared, with UHA to pay two-thirds and member to pay
                            one-third. You must pay your attorney’s and witnesses’ fees, if you have any, and we must pay
                            ours. The arbitrator will decide who will pay any other costs of the arbitration.

                            UHA waives any right to assert that you have failed to exhaust administrative remedies because
                            you did not select arbitration.

 ERISA Rights               See Section 11: ERISA Information for further information about your rights if you are enrolled in
                            an employer group plan governed by ERISA.




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                                                                                                  Coordination of Benefits



SECTION 10: COORDINATION OF BENEFITS & THIRD PARTY LIABILITY
 Coordination of            If you have other insurance coverage, for example through your Spouse, Civil Union partner, or
 Benefits                   Medicare, that provides benefits similar to those of this plan, we will “coordinate” the benefits of
                            the two plans. When benefits are coordinated, the benefits paid under this plan, when combined
                            with the benefits paid under your other coverage, will not exceed the lesser of:
                            • 100% of the eligible charge
                            • the amount payable by your other coverage plus any deductible and co-payment you would
                                 owe if the other coverage were your only coverage

                            Any co-payment you owe under this plan will first be subtracted from the benefit payment. You
                            remain responsible for the deductible and co-payment owed under this plan, if any.

 Your Responsibility        When you enroll, please let us know on the enrollment form if you or your dependents have other
                            coverage, which might include other group benefit plans, Medicare, or other governmental
                            benefits. You should also inform us if this information changes by calling Customer Services (see
                            page 1).

                            When you receive services, please be sure to inform the provider of any other insurance you may
                            have. This may include automobile insurance or other insurance if you are being treated as a
                            result of an injury.

                            We may send you a letter asking about other insurance coverage before we pay a claim. If you
                            do not respond, your claims may be delayed or denied.

 Our Responsibility         We will coordinate benefits for you based on the information you provide. There are certain rules
                            we follow to determine which plan pays first when there is similar coverage.

 General Rules              Some general rules governing coordination of benefits are:
                            • coverage afforded by a specific benefit plan (i.e., drug or specified disease) pays first before
                               the coverage afforded by this plan
                            • the coverage you have as an employee pays first before any coverage you have as a
                               Spouse, Civil Union partner, or dependent
                            • the coverage you have as an active employee pays before coverage you have as a retiree or
                               under which you are not actively employed
                            • when both coverages are employer-sponsored plans and one plan has no coordination of
                               benefits rules and the other does, the plan without coordination of benefits rules pays first
                            • when no other rule applied, the coverage with the earliest continuous effective date pays first

                            The coverage that pays first is called “primary” and the coverage that pays second is called
                            “secondary.”

 Rules for Children         For a child who is covered by both parents who are not separated or divorced, the “birthday rule”
                            applies, that is, the coverage of the parent whose birthday occurs first in a calendar year pays
                            first.

                            If the child’s parents are separated or divorced and a court decree says which parent has health
                            insurance responsibility, that coverage pays first.



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                                                                                                 Coordination of Benefits

                            If the child’s parents are divorced or separated and there is no court decree stipulating which
                            parent has health insurance responsibility, the coverage of the parent with custody pays first. The
                            payment order for this dependent child is as follows:
                            1. custodial parent
                            2. Spouse or Civil Union partner of custodial parent
                            3. other parent
                            4. Spouse or Civil Union partner of other parent

                            If none of these rules apply, the parent’s coverage with the earliest continuous effective date pays
                            first.

 Motor Vehicle Accident     For injuries or illness due to a motor vehicle accident (including arising from operation,
 Coverage                   maintenance or use of a motor vehicle), any motor vehicle insurance will be considered primary
                            for payment, and those benefits will be applied first before any benefits of this plan apply. No
                            benefits are payable under this plan until after the motor vehicle personal injury protection
                            mandatory coverage amount as specified by state law has been exhausted. Only amounts
                            incurred in excess of that mandatory amount are payable as benefits under this plan (and any
                            other motor vehicle insurance benefits available in excess of the mandatory amount must be
                            applied first before any benefits of this plan apply). The exhaustion of the mandatory amount may
                            be calculated by UHA in accordance with the fee schedule applicable to HRS chapter 431, article
                            10C.

                            You are responsible for any cost-sharing payments and/or deductibles required under any motor
                            vehicle insurance coverage. This plan does not cover any personal injury protection cost sharing
                            arrangements and/or deductibles.

                            Before we pay benefits under this coverage for any motor vehicle accident-related injury, you
                            must provide us a list of expenses paid by any motor vehicle insurance. This list must include the
                            date the services were provided, the provider of each service, and the amount paid for each
                            service by motor vehicle insurance. We will verify that any motor vehicle coverages have been
                            exhausted. Covered services you received which exceed the personal injury protection
                            mandatory coverage amount may then be eligible for payment in accord with this coverage.

 Medicare Coordination      If you have both this group coverage and Medicare, federal rules determine which plan pays first.
 Rules                      These rules apply to the working aged, the disabled, or patients with end stage renal disease
                            (ESRD). For the working aged and disabled, these rules take into consideration the employment
                            status of the employee covered by the employer group health plan as well as the number of part-
                            time and full-time employees of the employer group plan.

                            If your employer or group employs 20 or more employees and you are 65 or older and eligible for
                            Medicare only because of your age, this coverage will pay before Medicare, as long as your
                            coverage is based on your status as a current active employee or the status of your Spouse or
                            Civil Union partner as a current active employee.

                            If you are under age 65 and eligible for Medicare only because of end-stage renal disease
                            (ESRD), coverage under this plan will pay first before Medicare, but only for the first 30 months of
                            your ESRD coverage. After 30 months, the amount that this plan pays will be reduced by the
                            amount that Medicare pays for the same services.

                            If your employer or group employs 100 or more employees and if you are under 65 and eligible
                            for Medicare only because of a disability (and not ESRD), this plan pays first before Medicare as

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                            long as your group coverage is based on your status as a current active employee, or the status
                            of your Spouse or Civil Union partner as a current active employee, or the current active
                            employment status of the person for whom you are a dependent.

                            When Medicare is allowed by law to be the primary payer, coverage under this plan will be
                            reduced by the amount paid by Medicare for the same covered services. Benefits under this plan
                            will be paid up to either the Medicare-approved charge for services by a Medicare-participating
                            provider, or the lesser of our eligible charge or the limiting charge (as defined by Medicare) for
                            services rendered by a provider who does not participate with Medicare.

                            If you are entitled to Medicare benefits, we will begin paying benefits after all Medicare benefits,
                            including all lifetime reserve days, are exhausted.

                            If you have coverage under Medicare Part B only, we will pay inpatient benefits based on our
                            eligible charge less any Medicare Part B benefits for inpatient diagnostic, laboratory and radiology
                            services.

                            When services are rendered by a provider or facility that is not eligible or entitled to receive
                            reimbursement from Medicare, and Medicare is entitled by law to be the primary payer, we will
                            limit payment to the amount that would have been payable by Medicare had the provider or
                            facility been eligible to receive such payments, regardless of whether or not Medicare benefits are
                            paid.

 Benefit Payments           When this plan is determined to be the primary payer, we will pay benefits in accordance with the
 Under Coordination of      provisions of this Agreement.
 Benefits Rules
                            When this plan is determined to be the secondary payer, we will base our payment on the eligible
                            charge, and deduct from our payment:
                            • any unpaid co-payment that you owe under this plan
                            • the benefit amount paid by the primary plan

                            We will not pay benefits unless the service in question is a covered service. We also will not pay
                            benefits for the difference in cost between a private and a semiprivate hospital room, even if such
                            private room is a benefit under the primary plan. Any payment by this plan as secondary will not
                            exceed the amount that would have been paid for covered services you received had this plan
                            been your only coverage. Any payment by this plan as secondary payer will count towards
                            applicable benefit maximums of this plan. Even if no payment is made by this plan as secondary,
                            the service for which payment is made by the primary plan shall count toward applicable service
                            maximums of this plan.

 Third Party Liability      Third party liability situations occur when you are injured or become ill and:
 Rules                      • the injury or illness is caused or alleged to have been caused by someone else and you have
                                or may have the right to recover damages or receive payment in connection with the illness
                                or injury
                            • you have or may have the right to recover damages or receive payment from someone else
                                for your injury or illness, without regard to fault

                            When third party liability situations occur, UHA's plan will provide benefits only as set forth in the
                            following Rules.



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                            If you have or may have coverage under workers’ compensation insurance, such coverage will
                            apply instead of the coverage under this plan. Medical expenses arising from injury or illness
                            covered under workers’ compensation insurance are excluded from coverage under this plan. If
                            you are in a motor vehicle accident, you must exhaust the motor vehicle personal injury protection
                            mandatory coverage amount specified by state law first, before the coverage under this plan will
                            apply. See Motor Vehicle Accident Coverage terms under this section for conditions and
                            procedures that apply.

                            In third party liability situations, you must cooperate with UHA by doing the following:

                            1. give UHA timely notice of each of the following, no later than 30 calendar days after their
                               occurrence:
                                 a. your knowledge of any potential claim or source of recovery related to your injury or
                                     illness
                                 b. any written claim or demand (including initiation of legal proceedings) made by you or on
                                    your behalf
                                 c. any monetary recovery (including any settlement, judgment, award, insurance proceeds,
                                    or other payment) from any source of recovery in connection with your illness or injury,
                                    including the amount and source of any recovery
                            2. sign and deliver to UHA all liens, assignments, and other documents it requires to secure its
                               rights to recover payments. You hereby authorize and direct any person or entity making or
                               receiving any payment on account of such injury or illness to pay to UHA so much of such
                               payment as needed to discharge your reimbursement obligations described above;
                            3. provide UHA any information reasonably related to its investigation of liability for coverage and
                               rights to repayment, including medical records and documents related to any legal claims;
                            4. do not release or otherwise impair UHA's rights to repayment, without UHA’s express written
                               consent; and
                            5. cooperate in protecting UHA's rights under these rules, including giving notice of our rights to
                               repayment as part of any written claim or demand made against any other person or party or
                               other source of recovery

                            Any notice required by these Rules must be sent to:

                                    TPL Administrator
                                    UHA
                                    700 Bishop Street, Suite 300
                                    Honolulu, HI 96813-4100

                            Failure to comply with any of these Rules may result in delay in payment or denial of your claims,
                            and will entitle UHA to reimbursement of its payments to the extent that your actions result in
                            erroneous payment or prejudice UHA’s rights to repayment. If you know or reasonably should
                            know that you may have a third-party claim for recovery of damages and you fail to provide timely
                            notice to UHA of your potential claim as specified in these Rules, you waive your rights to any
                            benefits under this plan for the third-party injury or illness, and UHA shall have a right to recover
                            from you any past benefits paid for the injury or illness and to refuse to reimburse any past,
                            present or future medical expenses arising from the third-party injury or illness. If UHA is entitled
                            to reimbursement of payments under these Rules and does not promptly receive full
                            reimbursement pursuant to its request, it shall have a right of set-off from any future benefits
                            payable under this plan.


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                            Subject to the limitations and conditions described above, UHA will pay benefits in accordance
                            with this Plan and these Rules. However, any benefits paid in third party liability situations must
                            be repaid from any recovery received by you, your estate, a family member, special needs trust,
                            or any other person or party, arising from or related to such injury or illness, even if the award
                            does not specifically include medical expenses, or is described as general damages only, or is
                            less than the total actual or alleged loss suffered by you due to the injury or illness, or occurs
                            without any admission or finding of liability or fault, or is paid to some person or entity other than
                            you. UHA shall have a first lien against any such recovery to the extent of its total payment of
                            benefits related to the injury or illness. This lien will attach to and follow any recovery proceeds
                            even if the proceeds are distributed to another person or entity. UHA may file notice of its lien
                            with the court, the other person or party or other source of recovery, or any person or entity
                            receiving the proceeds, including your attorney. You must inform any attorney representing you
                            of these Rules, as your attorney may be subject to professional disciplinary action and liability to
                            UHA if your attorney does not comply with these Rules. You hereby authorize and direct any
                            person or entity making or receiving any payment arising from your injury or illness to pay to UHA
                            so much of such payment as is necessary to fulfill your payment duties described in these Rules.

                            If UHA is not reimbursed for its total payment of benefits in connection with your illness or injury,
                            UHA shall have a right of subrogation (substituting UHA to the member’s rights of recovery) for all
                            causes of action and all rights of recovery you have against such other person or party or other
                            source of recovery, to the extent of UHA’s unreimbursed payments on your behalf.

                            UHA’s rights of reimbursement, lien, and subrogation described above are in addition to all other
                            rights of equitable subrogation, constructive trust, equitable lien and/or statutory lien UHA may
                            have for repayment of benefits paid, all of which rights are preserved and may be pursued at
                            UHA’s option against you or any other appropriate person or entity.

                            No reductions for attorneys’ fees, costs, or other expenses may be made from the amounts owing
                            to UHA under these Third Party Liability Rules.

                            For any payment made by UHA under these rules, you will still be responsible for co-payments,
                            timely submission of claims, and other duties under this plan.

                            If you comply with the above requirements and if you have made reasonable efforts to obtain
                            recovery for your illness or injury, but receive a final dismissal or denial of all your legal claim(s)
                            without receiving any recovery for your illness or injury, then no reimbursement is owing to UHA
                            for covered benefits paid for the illness or injury.




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SECTION 11: OTHER PLAN PROVISIONS
 Confidentiality            Any information about you that we collect, including claims and medical record information, is
                            confidential. By receiving benefits under this plan, you agree to provide to us, and to authorize
                            your providers to provide to us, information about your medical condition and treatment necessary
                            for us to fulfill our obligations under this Agreement for the purposes of determining benefits,
                            paying claims, assuring quality, managing utilization, credentialing providers, complying with
                            government regulations, and other responsibilities we have for administering this plan. We may
                            use your information as needed for these and other activities described in our Notice of Privacy
                            Practices.

 Dues Payment               You or your employer must pay us the monthly premium due on or before the first of each
                            month to which the premium applies.

                            If you or your employer fails to make the monthly payments by the first of the month, we may
                            terminate this Agreement as of the last day of the month for which dues were paid, unless all
                            dues are brought current within 10 days of our written notice of default to your employer or plan
                            sponsor and the State of Hawaii Department of Labor and Industrial Relations.

                            We are not liable for benefits for services received after the termination date of this Agreement.
                            This includes benefits for services you receive if you are enrolled in this coverage under the
                            provisions of the:
                            • Consolidated Omnibus Budget Reconciliation Act of 1985 (COBRA), or
                            • Uniformed Services Employment and Reemployment Rights Act of 1994 (USERRA)

 Authority to Terminate     Your employer has the authority to terminate this coverage by providing us 60 days written notice.
 or Amend Coverage          If your employer terminates this coverage, you are not eligible to receive benefits under this
                            coverage after the termination date. Other circumstances of termination and ineligibility of
                            coverage for You and your Group are described in Section 2, see particularly sections on When
                            Coverage Ends, Termination for Fraud, and Eligibility and Termination Rules for Member Groups.

                            We also have the authority to modify this Agreement provided that we give 60 days prior written
                            notice to your employer.

 Governing Law              To the extent not superseded by the laws of the United States, this coverage will be construed in
                            accord with and governed by the laws of the State of Hawaii. Any court action brought because
                            of a claim regarding this coverage or arising out of this plan, will be litigated in the state or federal
                            courts located in the State of Hawaii and in no other.

 Payment in Error           If for any reason we make a payment under this coverage in error or due to any false
                            statement, false claim or fraud, we may recover the amount we paid, and may offset any
                            amounts we give to you by the amount of reimbursement you owe to us, as well as pursue any
                            other remedies provided by law.

 Severability               If any court or arbitrator rules that any part or term of our Agreement is illegal, invalid or
                            unenforceable, then the validity of the remaining portions of this Agreement shall remain valid and
                            binding as if the Agreement did not contain the part or term held to be unenforceable.



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 Liability                  UHA is not an insurer against nor liable for the negligence or other wrongful act or omission of
                            any provider, provider's employee, your employer, or plan sponsor or other person, or for any act
                            or omission of any eligible person.

 No Guarantee               UHA does not guarantee the availability or quality of any services of any third party, including the
                            availability of participating providers.

 Continued Coverage         When your coverage ends under this Agreement, you may have the opportunity to continue your
 Under Federal Law -        group coverage for a limited time under the Consolidated Omnibus Budget Reconciliation Act
 COBRA                      (COBRA). This Act only applies to employers with 20 or more employees.

 Qualifying Events          COBRA entitles you and your eligible dependents, if already covered, to continue this coverage if
                            coverage is lost due to any of the following qualifying events:
                            • employer or plan sponsor from whom you retired files bankruptcy under federal law
                            • death of the employee covered under this coverage
                            • divorce or legal separation
                            • child no longer meets our eligibility rules
                            • enrollment in Medicare
                            • termination of employment for reasons other than gross misconduct, or if your work hours are
                                reduced to the point you are no longer eligible for coverage

                            Please note that dependents covered as domestic partners are not eligible for COBRA coverage.

                            If you lose your coverage, contact your employer or plan sponsor immediately. You are entitled
                            to receive a COBRA election form within 44 days if the qualifying event is a termination of
                            employment or reduction in hours. If the qualifying event is divorce, legal separation, or a child
                            ceasing to be a dependent child, the form and notice must be provided to you within 14 days after
                            you notify your employer of the event.

                            Please note: You or your spouse is responsible for notifying your employer or plan sponsor of
                            your divorce or legal separation, or if a child loses eligibility status under our rules for coverage.

                            If you or your spouse believes you have had a qualifying event and you have not received your
                            COBRA election form on a timely basis, please contact your employer.

 Payment of COBRA           If you or your dependents are entitled to and elect COBRA continuation coverage, you must pay
 Premiums                   UHA the premiums which may be up to 102% of group rates (unless you or your dependents
                            qualify for a COBRA premium subsidy from the federal government as described below). In the
                            case of a disabled individual whose coverage is being continued for 29 months, you or your
                            dependents may be required to pay up to 150% of group rates for any month after the 18th month.

                            Within 45 days of the date you elect COBRA coverage, you must pay an initial COBRA premium
                            to cover the period between the date of your qualifying event and the date of your election. If you
                            fail to make the initial payment or any subsequent payment in a timely manner (a 30 day grace
                            period applies to late subsequent payments), your COBRA coverage will terminate.

                            If you are involuntarily terminated (except for gross misconduct) from your employment, you and
                            your qualifying dependents may be eligible for a COBRA premium subsidy from the federal
                            government pursuant to the American Recovery and Reinvestment Act of 2009,Fiscal Year 2010
                            Defense Appropriations Act, or other applicable federal law. These laws may alter the election


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                            requirements and the duration of coverage specified in COBRA as stated in this Section for those
                            eligible for a subsidy. Please contact your employer regarding eligibility and applying for the
                            COBRA premium subsidy. Please note that if you are eligible for and claiming a COBRA
                            premium subsidy, you must send all COBRA premiums directly to your former employer and not
                            to UHA.

 What You Must Do           If you wish to elect COBRA, you must complete an election form and submit it to your employer
                            within 60 days of the later date:
                            • you are no longer covered
                            • you are notified of the right to elect COBRA continuation coverage

                            You or your dependents must notify your employer in the following circumstances:
                            • if coverage for you or your dependents is being continued for 18 months under COBRA and it
                                is determined under Title XVI of the Social Security Act that you or your dependent was
                                disabled on the date of, or within 60 days of, the event which would have caused coverage to
                                terminate, then you or your dependent must notify your employer of such determination
                                Notice must be provided within 60 days of the determination of disability. Notice must also
                                be given within 30 days of any notice that you or your dependent is no longer disabled.
                            • If coverage for a dependent would terminate due to your divorce, a legal separation, or the
                                dependent’s ceasing to be a dependent under this plan, then you or your dependent must
                                provide notice to your employer of the event. This notice must be given within 60 days after
                                the later of the occurrence of the event or the date coverage would terminate due to the
                                occurrence of the event.

                            If notice is not provided on time, COBRA coverage will not be available to you or your
                            dependents.

 Adding Your Child          If during the period of COBRA coverage, a child is born to you or placed with you for adoption and
                            you are on COBRA because you terminated employment or had a reduction in hours, the child
                            can be covered under COBRA and can have election rights of his or her own. Please be aware
                            that dependent children of domestic partners are not eligible for COBRA continuation coverage.

 Length of Coverage         Continuation coverage ends at the earliest of one of these events:
 Under COBRA                • the last day of the 18-, 29-, or 36-month maximum coverage period, whichever is applicable
                                If you or any of your dependents who have elected COBRA coverage are determined to be
                                disabled under the Social Security Act during the first 60 days of continuation coverage, your
                                COBRA coverage may continue for up to 29 months. The 29-month period will apply to you
                                and your eligible dependents who elected COBRA coverage. You must provide notice of the
                                disability determination to your employer within 60 days after the determination.
                            • the first day (including grace periods, if applicable) on which timely payment is not made by
                                you
                            • the date on which the employer ceases to maintain any group health plan (including
                                successor plans)
                            • the date the Qualified Beneficiary enrolls in Medicare benefits. Qualified beneficiary
                                means, with respect to a covered employee under a group health plan, any other individual
                                who, on the day before the qualifying event for the employee, is a beneficiary under the plan
                                (i) as a spouse of the covered employee, or (ii) as the dependent child of the covered
                                employee
                            • the first day on which a beneficiary is actually covered by any other group plan

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                                 However, if the new group plan contains an exclusion or limitation relating to a preexisting
                                 condition of the beneficiary, then coverage will end on the earlier of the satisfaction of the
                                 waiting period for preexisting conditions contained in the new group plan, or the occurrence
                                 of any one of the other events stated in this section.

                            If the new group plan contains a preexisting condition exclusion, the preexisting condition
                            exclusion period will be reduced by the qualified beneficiary’s preceding aggregate periods of
                            creditable coverage, if any. The creditable coverage is applicable to the qualified beneficiary as
                            of the enrollment date in the new group health plan as long as there has been no interruption of
                            coverage longer than 63 days. Creditable coverage means any of the following:
                            • a group health plan
                            • health insurance coverage
                            • Part A or B of Medicare
                            • Medicaid
                            • Chapter 55 of Title 10, United States Code
                            • a medical care program of the Indian Health Service or of a tribal organization
                            • a state health benefits risk pool
                            • a health plan offered under Chapter 89 of Title 5, United States Code
                            • a public health plan as defined in government regulations
                            • a health benefit plan under Section 5(e) of the Peace Corps Act

 ERISA Information          Your Plan is designed, established and maintained as a Plan governed by the Employee
                            Retirement Income Security Act of 1974 (ERISA), unless otherwise stated in your employer’s
                            agreement with UHA. Your plan administrator under ERISA is your employer (or plan sponsor).
                            As a participant in your Plan, you are entitled to certain rights and protections under ERISA.
                            ERISA provides that all plan participants shall be entitled to:

                            •   Receive Information About Your Plan and Benefits
                                Examine, without charge, at the plan administrator's office, all documents governing the plan,
                                including any insurance contracts and collective bargaining agreements, and a copy of the
                                latest annual report (Form 5500 Series) filed by the plan with the U.S. Department of Labor
                                and available at the Public Disclosure Room of the Pension and Welfare Benefit
                                Administration.

                                Obtain, upon written request to the plan administrator, copies of documents governing the
                                operation of the plan, including any insurance contracts and collective bargaining
                                agreements, and copies of the latest annual report (Form 5500 Series) and updated
                                summary plan description. The plan administrator may make a reasonable charge for the
                                copies.

                                Receive a summary of the plan's annual financial report. The plan administrator is required
                                by law to furnish each participant with a copy of this summary annual report.

                            •   Continue Group Health Plan Coverage
                                Continue health care coverage for yourself, spouse or dependents if there is a loss of
                                coverage under the plan as a result of a qualifying event and your employer is of a size to
                                trigger COBRA rights. You or your dependents may have to pay for such coverage. Review
                                this Medical Benefits Guide and the documents governing the Plan on the rules governing
                                COBRA continuation coverage rights. See also Certificates of Creditable Coverage section
                                below.

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                            •   Prudent Actions by Plan Fiduciaries
                                In addition to creating rights for plan participants, ERISA imposes duties upon the people who
                                are responsible for the operation of your health plan. The people who operate your plan,
                                called "fiduciaries" of the plan, have a duty to do so prudently and in the interest of you and
                                other plan participants and beneficiaries. No one, including your employer, your union, or
                                any other person, may fire you or otherwise discriminate against you in any way to prevent
                                you from obtaining a Plan benefit or exercising your rights under ERISA.

                            •   Enforce Your Rights
                                If your claim for a Plan benefit is denied or ignored, in whole or in part, you have a right to
                                know why this was done, to obtain copies of documents relating to the decision without
                                charge, and to appeal any denial, all within certain time schedules.

                                Under ERISA, there are steps you can take to enforce the above rights. For instance, if you
                                request a copy of plan documents or the latest annual report from the plan administrator and
                                do not receive them within 30 days, you may file suit against the plan administrator in a
                                Federal court. In such a case, the court may require the plan administrator to provide the
                                materials and pay you up to $110 a day until you receive the materials, unless the materials
                                were not sent because of reasons beyond the control of the plan administrator. If you have a
                                claim for benefits which is denied or ignored, in whole or in part, you may file suit in a state or
                                Federal court. In addition, if you disagree with the plan's decision or lack thereof concerning
                                the qualified status of a domestic relations order or a medical child support order, you may
                                file suit in Federal court. If it should happen that plan fiduciaries misuse the plan's money, or
                                if you are discriminated against for asserting your rights, you may seek assistance from the
                                U.S. Department of Labor, or you may file suit in a Federal court. The court will decide who
                                should pay court costs and legal fees. If you are successful the court may order the person
                                you have sued to pay these costs and fees. If you lose, the court may order you to pay these
                                costs and fees, for example, if it finds your claim is frivolous.

                            •   Assistance with Your Questions
                                If you have any questions about your plan, you should contact the plan administrator. If you
                                have any questions about this statement or about your rights under ERISA, or if you need
                                assistance in obtaining documents from the plan administrator, you should contact the
                                nearest office of the Employee Benefits Security Administration, U.S. Department of Labor,
                                listed in your telephone directory or the Division of Technical Assistance and Inquiries,
                                Employee Benefits Security Administration, U.S. Department of Labor, 200 Constitution
                                Avenue N.W., Washington, D.C. 20210. You may also obtain certain publications about your
                                rights and responsibilities under ERISA by calling the publications hotline of the Employee
                                Benefits Security Administration.

                            •   Maternity and Newborn Infant Coverage Law
                                Group health plans and health insurance issuers generally may not, under Federal law,
                                restrict benefits for any hospital length of stay in connection with childbirth for the mother or
                                newborn child to less than 48 hours following a vaginal delivery, or less than 96 hours
                                following a caesarean section. However, Federal law generally does not prohibit the mother's
                                or newborn's attending provider, after consulting with the mother, from discharging the
                                mother or her newborn earlier than 48 hours (or 96 hours as applicable). In any case, plans
                                and issuers may not, under Federal law, require that a provider obtain authorization from the
                                plan or the insurance issuer for prescribing a length of stay not in excess of 48 hours (or 96
                                hours).

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                            Your Plan is an ERISA employee welfare benefit plan for pre-paid health care, contributions for
                            which are supplied by your employer and by the employee to the extent required by the
                            employer’s rules for contribution. This Plan is also governed by the Hawaii Prepaid Health Care
                            Act, H.R.S. Chapter 393.

 Certificates of            A Certificate Of Creditable Coverage is a document that certifies your prior health care coverage.
 Creditable Coverage        For former UHA members, the certificate can be given to your new employer or your new health
                            insurance company to certify that you had previous UHA coverage for the period noted on the
                            certificate. You may obtain a Certificate Of Creditable Coverage, free of charge, from your group
                            health plan or health insurance issuer when you lose coverage under this Plan, if you become
                            entitled to elect COBRA continuation coverage, or when any COBRA continuation coverage
                            ceases, without evidence of creditable coverage, you may be subject to a preexisting condition
                            exclusion for 12 months (18 months for late enrollees) after your enrollment date in any plan
                            issued by your new employer or new health insurance company, unless that plan has pre-existing
                            condition exclusions. The Health Insurance Portability and Accountability Act (HIPAA) requires
                            UHA to issue you a Certificate Of Creditable Coverage when you lose UHA eligibility. In addition,
                            you may request a Certificate Of Creditable Coverage from UHA if you are currently covered by a
                            UHA health plan or if your coverage under a UHA health plan ceased within the past 24 months.
                            Please mail your written request to the following address:

                                        Attn: Employer Services
                                        UHA
                                        700 Bishop Street, Suite 300
                                        Honolulu, HI 96813-4100

                            Requests may also be faxed to UHA at 1-877-222-3198.

                            The request must include the following information:
                                • UHA member’s name and date of birth for whom the certificate is requested
                                • Name of the requestor (if different from member for whom the certificate is requested),
                                    and relationship of requestor to member
                                • Address where the certificate should be sent
                                • Signature of the requestor




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                                                                                                              Glossary of Important Terms



GLOSSARY OF IMPORTANT TERMS
 Actual Charge             The amount a provider actually bills for a service or supply

 Acupuncturist             A licensed health care professional who practices stimulation of acupuncture points on the human body for the purpose
                           of controlling and regulating the flow and balance of energy in the body

 Agreement                 This Medical Benefits Guide, any amendments or riders, any enrollment form or application form you submit to us, and
                           the agreement between us and your employer or plan sponsor

 Ambulatory Surgical       A facility that provides Surgical Services on an outpatient basis for patients who do not need to occupy an inpatient
 Center                    hospital bed

 Ancillary Services        Charges by a facility for other than room and board. Examples are charges by a hospital for drugs, dressings, or
                           surgical supplies

 Anesthesia                The administration of anesthetics to produce loss of feeling or consciousness, usually in conjunction with forms of
                           medical treatment such as surgery

 Annual Maximum Out-       The maximum amount you pay for most covered services in a calendar year. The out-of-pocket maximum is reached
 of-Pocket                 from applicable co-payments and coinsurance amounts you pay in any given calendar year

 Assistant Surgeon         A physician who actively assists the physician in charge during a surgical procedure

 Benefit(s)                Those medically necessary physician services, surgical services, hospital services, skilled nursing facility services,
                           home health care and hospice services, diagnostic testing, laboratory and radiology services, chemotherapy and
                           radiation therapy services, organ transplant services, mental health and substance abuse services, specific benefits for
                           children, women, men, and member and covered spouse, complementary alternative medicine services, and other
                           medical services that qualify for payment under the terms of this Agreement

 Bionic Devices            Electronic or electromechanical devices which replace missing body parts and/or which enhance one’s existing strength
                           and ability

 Calendar Year             The period beginning January 1 and ending December 31 of any year. The first Calendar Year for a person covered
                           under this plan begins on that person's Effective Date and ends on December 31 of the same year

 Certified Nurse Midwife   A registered nurse licensed in the State of Hawaii who is appropriately certified and licensed to provide midwifery
                           services by the proper governmental authority and who renders services within the lawful scope of such license

 Chiropractor              A licensed health care professional who practices the system of healing through spinal manipulation and specific
                           adjustment of body structures

 Civil Union               A civil union between two individuals that is legally recognized by Chapter 572B, Hawaii Revised Statutes

 Civil Union Partner       An individual who is a party to a civil union established pursuant to Chapter 572B, Hawaii Revised Statutes

 Claim                     A written request for payment for benefits for covered services

 Coinsurance               The amount you pay as your share of the eligible charge for medical care, calculated as a percent.

 Consultation              A formal discussion (deliberation) between physicians on a case or its treatment

 Co-payment                The amount you pay as your share of the eligible charge for medical care



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                                                                                                                 Glossary of Important Terms

 Cosmetic Services        Services primarily intended to improve your natural appearance and which do not restore or materially improve physical
                          function

 Covered Services         Any benefit that is medically necessary, is not specifically excluded by this plan, and meets our payment determination
                          criteria

                          Benefits are listed in Section 5: Description of Benefits

 Dependent                A member’s Spouse, Civil Union partner, and/or eligible child or children

 Effective Date           The date on which you are first eligible to receive benefits under this Agreement

 Eligible Charge          The charge determined by UHA according to the terms of this Agreement and the charge used to calculate the benefit
                          payment and the amount of your co-payment for a covered service

 Emergency Services       Is defined (1) in accordance with the definition established in Hawaii Revised Statutes (sect. 432E-1) as services
                          provided to an individual when the individual has symptoms of sufficient severity, including severe pain, such that a
                          layperson could reasonably expect, in the absence of medical treatment, to result in placing the individual’s health or
                          condition in serious jeopardy, serious impairment of bodily functions, serious dysfunction of any bodily organ or part, or
                          death; or (2) with respect to a pregnant woman, a layperson could reasonably expect the absence of medical treatment
                          to result in serious jeopardy to the health of the woman and her unborn child; or (3) Emergency Services as defined in
                          accordance with federal law (the Patient Protection and Affordable Care Act, 42 U.S.C. § 300gg-19a).

 ERISA                    The Employee Retirement Income Security Act of 1974, a federal law that governs this Agreement and protects your
                          rights under this coverage

 Gender Identity          A person’s internal sense of being male, female, a gender different from the gender assigned at birth, a transgender
                          person, or neither male nor female

 Gender Dysphoria         The distress experienced when a person’s gender assigned at birth does not match their gender identity

 Gender Transition        The process of a person changing the person’s outward appearance, including sex characteristics, to accord with the
                          person’s gender identity

 Generic Drug             Drugs prescribed or dispensed under their generic (chemical) name rather than a brand name and which are not
                          protected by a patent, or are drugs designated by us as generic

                          Generic drugs must be approved by the FDA as safe and effective.

 Guidelines               Clinical standards, protocols, or criteria for treatment of specific conditions or for providing certain services and supplies,
                          as often used in our prior authorization process

 Home Health Agency       A licensed entity which provides skilled nursing care in your home

 Home Infusion Therapy    Treatment provided in the home involving the administration of drugs, nutrients and fluids intravenously or through a
                          feeding tube

 Hospice                  A program that provides care in a comfortable setting, such as home, for patients who are terminally ill and have a life
                          expectancy of six months or less

 Hospital                 An institution that provides inpatient acute care for the diagnosis and treatment of an illness or injury

 Immunization             An injection with a specific antigen to promote antibody formation to make you immune to a disease or less susceptible
                          to a contagious disease

 Inpatient Admission      A stay, usually overnight, in a hospital, skilled nursing facility or other facility


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                                                                                                               Glossary of Important Terms


 Maternity Care           Routine obstetric care including antepartum care, delivery, and postpartum care in uncomplicated maternity cases

 Maximum Benefit          The maximum benefit amount allowed for certain covered services. A maximum benefit may limit the dollar amount, the
                          duration, or the number of visits for a covered service.

 Medically Necessary      Is defined in accordance with the definition established in Hawaii Revised Statutes (sect. 432E-1.4):
                          “(a) For contractual purposes, a health intervention shall be covered if it is an otherwise covered category of service, not
                          specifically excluded, recommended by the treating licensed health care provider, and determined by the health plan's
                          medical director to be medically necessary as defined in subsection (b). A health intervention may be medically
                          indicated and not qualify as a covered benefit or meet the definition of medical necessity. A managed care plan may
                          choose to cover health interventions that do not meet the definition of medical necessity.
                          (b) A health intervention is medically necessary if it is recommended by the treating physician or treating licensed health
                          care provider, is approved by the health plan's medical director or physician designee, and is:
                                      (1) For the purpose of treating a medical condition;
                                      (2) The most appropriate delivery or level of service, considering potential benefits and harms to the patient;
                                      (3) Known to be effective in improving health outcomes; provided that:
                                                (A) Effectiveness is determined first by scientific evidence;
                                                (B) If no scientific evidence exists, then by professional standards of care; and
                                                (C) If no professional standards of care exist or if they exist but are outdated or contradictory, then
                                                by expert opinion; and
                                      (4) Cost-effective for the medical condition being treated compared to alternative health interventions,
                                      including no intervention. For purposes of this paragraph, cost-effective shall not necessarily mean the
                                      lowest price.”

 Member                   The person who meets and maintains the eligibility requirements and executes the enrollment form that is accepted by
                          us to become eligible for benefits under this Agreement

 Member Group             An employer or plan sponsor of the Plan, which meets the Eligibility and Termination Rules for Member Groups set forth
                          in Section 2 of this Guide

 Non-Participating        A provider who does not have a contract with UHA, for example an out-of-state provider
 Provider

 Non-Preferred Brand      Brand name drugs that are not listed in the UHA Preferred Drug Listing
 Drugs

 Our                      Refers to UHA

 Outpatient               Care received in a practitioner’s office, the home, the outpatient department of a hospital, or an ambulatory surgical
                          center

 Participating Provider   That a physician, hospital, or other licensed health care provider has signed a contract with UHA to provide benefits
                          under this plan, that requires that the provider collect only:
                          • the eligible charge paid by UHA for the covered services delivered
                          • the applicable co-payment
                          • the applicable state excise tax, based on the eligible charge

 Partner                  An individual who is a party to a civil union established pursuant to Chapter 572B, Hawaii Revised Statutes

 Payment Determination    Care, treatment, service, or supply that is a covered service and which is all of the following:
 Criteria                 • the service must be listed as a covered benefit and not be excluded as a benefit by this plan
                          • the service must be medically necessary for the diagnosis or treatment of your illness or injury
                          • the service must be provided in an appropriate setting and at an appropriate level of care
                          • when required under this plan, the service must be prior authorized


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                                                                                                                Glossary of Important Terms

 Physician                  A doctor of medicine (M.D.), doctor of osteopathy (D.O.), or doctor of podiatric medicine (D.P.M.),
                            who is appropriately licensed to practice by the proper governmental authority and who renders services within the
                            lawful scope of such license

 Physician Assistant        A nationally certified and state-licensed medical professional who provides care under the supervision of a physician

 Plan                       The Agreement between you and us regarding your health care coverage

 Preferred Brand Drug       Brand name drugs identified as preferred by their inclusion in UHA’s Preferred Drug Listing

 Prior Authorization        A review process by which we determine if a service or supply is a medically necessary covered service that meets our
                            payment determination criteria, prior to the provision of the service or supply

 Provider                   A provider of health care services or supplies who is appropriately licensed or certified by the proper governmental
                            authority to practice or provide such services, or dispense such supplies, and who renders services or dispenses
                            supplies within the lawful scope of such license or certification

 Psychiatrist               A Physician who is certified by or has at least three years of psychiatric training acceptable to the American Board of
                            Psychiatry and Neurology, and whose practice is limited solely to psychiatry or psychiatry and neurology

 Psychologist               A person who is appropriately certified and licensed to provide psychodiagnostic or psychotherapeutic services by the
                            proper governmental authority and who renders services within the lawful scope of such license

 Qualified Beneficiary      With respect to a covered employee under a group health plan, any other individual who, on the day before the
                            qualifying event for that employee, is a beneficiary under the plan:
                            • as the Spouse or Civil Union partner of the covered employee
                            • as the dependent child of the covered employee

 Repair                     To fix or mend and put equipment back into good condition after damage or wear, and includes reasonable charge for
                            parts and labor

 Service Area               The State of Hawaii

 Sexual Identification      Psychotherapy for a person with gender dysphoria
 Counseling

 Sexual Orientation         Treatment of an enduring pattern of emotional, romantic and/or sexual attractions to men, women or both sexes.
 Counseling                 Sexual orientation also refers to a person’s sense of identity based on those attractions, related behaviors and
                            membership in a community of others who share those attractions

 Skilled Nursing Facility   An inpatient care facility which is licensed as such by the appropriate governmental authority, certified as such by the
                            JCAHO, CARF or HCFA, recognized as such by UHA and under contract with or approved by UHA for the delivery of
                            covered services

 Specialty Facility         An inpatient or outpatient facility which is not a Hospital or Skilled Nursing Facility, but which provides specialized
                            medical care, including, but not limited to, psychiatric hospitals, physical rehabilitation hospitals, sanitaria for the
                            treatment of certain diseases, residential treatment facilities, free-standing urgent/emergent care centers, clinics,
                            community health clinics, and ambulatory surgery centers, and is licensed as such by the appropriate governmental
                            authority, certified as such by the JCAHO, CARF or HCFA, recognized as such by UHA and under contract with or
                            approved by UHA for the delivery of covered services

 Spouse                     Your husband or wife as a result of a marriage that is legally recognized in the State of Hawaii

 Surgical Services          Professional services necessarily and directly performed by a physician in treatment of an injury or illness requiring
                            cutting; suturing; diagnostic and therapeutic endoscopic procedures; debridement of wounds including burns; surgical
                            management or reduction of fractures and dislocations; orthopedic casting; manipulation of joints under general

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                                                                                                             Glossary of Important Terms

                          anesthesia; or destruction of localized surface lesions by chemotherapy (excluding silver nitrate), cryotherapy, or
                          electrosurgery

 Third Party Liability    Our right to reimbursement when you or your family members receive medical services for an illness or injury and you
                          have a lawful claim against another party or parties for compensation, damages, or other payment

 Transgender Person       A person who has gender identity disorder or gender dysphoria, received health care services related to gender
                          transition, adopts the appearance or behavior of the opposite sex, or otherwise identifies as a gender different from the
                          gender assigned to that person at birth

 Transplant Evaluation    Those procedures, including laboratory and diagnostic tests, consultations, and psychological evaluations that a facility
                          uses in evaluating a potential transplant candidate

 Us, We                   UHA

 You, Your                You and your family members eligible for coverage under this Agreement




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 1                            CERTIFICATE OF SERVICE
             UNITED STATES DISTRICT COURT – CENTRAL DISTRICT
 2
        The Regents of the University of California v. University Health Alliance, et al.
 3
         I am employed in the County of Los Angeles, State of California. I am over
 4
   the age of 18 and not a party to the within action; my business address is 555 South
 5 Flower Street, Suite 2900, Los Angeles, California 90071. My electronic service
   address is sara.villamarin@wilsonelser.com.
 6
 7          On July 16, 2021, I caused the document described below as NOTICE OF
     REMOVAL TO FEDERAL COURT BY DEFENDANT UNIVERSITY
 8
     HEALTH ALLIANCE PURSUANT 28 U.S.C. §§ 1331, 1332, 1441 AND 1446
 9   (Diversity and Federal Question - ERISA) to be served on the interested parties in
     this action by placing a true copy thereof enclosed in sealed envelopes addressed as
10
     follows:
11                           SEE ATTACHED SERVICE LIST
12
     [X]     (BY E-MAIL OR ELECTRONIC TRANSMISSION) Based on a court
13           order or an agreement of the parties to accept service by e-mail or electronic
14           transmission, I caused the document(s) to be sent from e-mail address
             sara.villamarin@wilsonelser.com to the persons at the e-mail addresses listed
15           in the Service List. I did not receive, within a reasonable time after the
16           transmission, any electronic message or other indication that the transmission
             was unsuccessful.
17
18 []        (BY CM/ECF NOTICE OF ELECTRONIC FILING) I electronically filed
             the document(s) with the Clerk of the Court by using the CM/ECF system.
19           Participants in the case who are registered CM/ECF users will be served by
20           the CM/ECF system. Participants in the case who are not registered CM/ECF
             users will be served by mail or by other means permitted by the court rules
21
22       I declare under penalty of perjury under the laws of the United States of
   America that the foregoing is true and correct and that I am employed in the office
23 of a member of the bar of this Court at whose direction the service was made.
24
             Executed on July 16, 2021, at Los Angeles, California.
25
26
27
                                                 Sara K. Villamarin
28
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     256646925v.1
                                      NOTICE OF REMOVAL
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 1                           CERTIFICATE OF SERVICE
            UNITED STATES DISTRICT COURT – CENTRAL DISTRICT
 2
       The Regents of the University of California v. University Health Alliance, et al.
 3                         Wilson Elser File No. 17360.00011
 4
         Joy Stephenson-Laws, Esq.               Attorneys for Plaintiff
 5       Richard A. Lovich, Esq.                 THE REGENTS OF THE
         Sarkis S. Yeretsian, Esq.               UNIVERSITY OF CALIFORNIA
 6
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                                     NOTICE OF REMOVAL
